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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Stay In My Home, P.A.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA Stopa Law Firm, P.A.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  447 3rd Ave. N., #405                                           P.O. Box 1371
                                  Saint Petersburg, FL 33701                                      Tampa, FL 33606
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Pinellas                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Stay In My Home, P.A.                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5411

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
                                        Chapter 11. Check all that apply:
                                                         Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known




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Debtor   Stay In My Home, P.A.                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or       No
    have possession of any
    real property or personal    Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                            Other        Client files, some of which are involved in pending litigation
                                                                            600 N. Willow Ave., #101
                                           Where is the property?           Tampa, FL, 33606-0000
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?

                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                                                                     50,001-100,000
                                                                                 5001-10,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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    /s/ Scott A. Stichter                             10/1/2018
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                                            Abbenzeller, Robert                           Abbenzeller, Viviette
A'Brunzo, Bethany & Shri Prashad            Viviette Abbenzeller                          415 S Lane Street
13575 58th St. N. Suite 300                 7910 Pierce Harwell Rd.                       Blissfield, MI 49228
Clearwater, FL 33760                        Plant City, FL 33565



Abbey, Allan                                Abbey, Dennis                                 Abdelqader, Lamih
Christina Abbey                             Diane Tesmer                                  Reyad Zaben
2613 Sunnyside Cir.                         3705 Smoke Hickory Ln.                        18013 Forest Retreat Lane
Palm Harbor, FL 34684                       Valrico, FL 33596                             Tampa, FL 33647



Abdilla, Julie                              Abner, Michael & Wendy                        Abuarau, Hisham
Marilyn Abdilla                             5747 43rd Court East                          18111 Emerald Bay St.
6306 Goldfinch St.                          Bradenton, FL 34203                           Tampa, FL 33647
Sarasota, FL 34241



Accocella, Dominic                          Acevedo, Richard                              Acker, Cindy
8784 Ashworth Drive                         Sol Acevedo                                   1700 66th St. N. #104-136
Tampa, Fl 33647                             1326 Waikiki Way                              St. Petersburg, FL 33710
                                            Tampa, FL 33619



Ackerman, Mary                              Acosta, Nilia                                 Acuna, Jessica
Larry A. Searle                             7902 N. Mulberry St.                          Mauricio Lopez
565 Portside Dr                             Tampa, FL 33604                               11950 SW 31st Place
North Port, FL 34287                                                                      Davie, FL 33330



Adams, Heather & Jesse                      Adams, Michael & Donna                        Adams, Patricia
9395 Mallard St                             12635 Farmetts Road                           4708 17th Ave. N.
Spring Hill, FL 34606                       Lakeland, FL 33809                            St. Petersburg, FL 33713




Adams, Robert & Sheila                      Addiss, Patricia                              Adeigbola, Yao & Maria
5693 Marmion Lane                           749 59th Ave.                                 213 East Cluster Ave.
Cincinnati, OH 45212                        St. Pete Beach, FL 33706                      Tampa, FL 33604




Adriance, Karen                             Aebi, Michael & Stephanie                     Aebi, Stephanie
2052 Sunset Pointe Rd. #46                  31718 Spoonflower Circle                      Michael Aebi
Clearwater, FL 33765                        Wesley Chapel, FL 33545                       31718 Spoonflower Circle
                                                                                          Wesley Chapel, FL 33545



Afdjeinia, Letty                            Agnew, Dennis                                 Aguiar, Olga
1901 Landside Drive                         Michele Agnew                                 4915 Cresthill Drive
Valrico, FL 33594                           5700 Camino Del Sol # 205                     Tampa, FL 33615
                                            Boca Raton, FL 33433



Aguilera, Ricardo & Rosa Marie              Ahwal, Issam                                  Ajao, Ayodele & Johnson
10525 Opus Dr                               1150 Arbor Glen Circle                        15813 Penninyton Rd
Riverview, FL 33579                         Winter Springs, FL 32708                      Tampa, FL 33624
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                                           Alaway, Brian                                Albano, Jamie
Akyol, Isleymun & Leyla                    206 S. Obrien St                             5001 N. Coolidge Ave.
3369 Zack Dr.                              Tampa, FL 33609                              Tampa, FL 33614
Dunedin, FL 34698



Albano, Lawrence                           Alberts, Edward                              Albonico, Robert
Dolores Albano                             6182 44th Ave N                              Angie Albonico
11439 Dorian Court                         Kenneth City, FL 33709                       PO Box 1152
New Port Richey, FL 34654                                                               Spearfish, SD 57783



Albopore, Inc.                             Alcantara, Ramona                            Alcicek, Zeki & Natalie
18612 Chemille Dr.                         10104 Chimney Hill Ct.                       2815 Dairy Road
Lutz, FL 33558                             Tampa, FL 33615                              Melbourne, FL 32904




Alcuizar, Richard                          Alderson, Jan                                Aleman, Hector & Margaret
Jay Love                                   Natalie Alcicek                              3749 Pendlebury Drive
12466 92nd Way                             8410 Orient Way, NE                          Palm Harbor, FL 34685
Largo, FL 33781                            St. Petersburg, FL 33702



Alexander, Nicky                           Alexandre Caldera, Maria                     Alfaro, Marina
P.O. Box 8751                              13917 Fairway Island Dr Apt 911              4771 Tuscan Loon Drive
Jupiter, FL 33468                          Oralndo, FL 32837                            Tampa, FL 33619




Alfonso, Charles & Alicia                  Alfonso, Sheila & Jesus                      Alfonso, Sheila & Jesus
1215 Windsor Circle                        16226 Livingston Ave                         1470 Lake Shore Ranch Drive
Brandon, FL 33510                          Lutz, FL 33559                               Seffner, FL 33584




Alfonso, Stacey and Alfred                 All Legal Staff                              Allen (Woodard), Cynthis
947 Bonaparte Landing Court                3314 Henderson Blvd., Suite 100-I            570 Ave E SE
Jacksonville, FL 32218                     Tampa, FL 33609                              Winter Haven, FL 33880




Allen, Bradley & Holly                     Allen, James & Eva                           Allen, Jane
3841Buttercup Circle South                 780 South Sapadillo Ave #204                 4019 Constantine Loop
Palm Beach County, FL 33410                West Palm Beach, FL 33067                    Wesley Chapel, FL 33543




Allen, Michael                             Allen, Pauline                               Allender, Robert & Tammie
Maria Jose Vera                            2250 NW 78th Ave                             4128 Little Gap Loop
5718 Sheer Bliss Loop                      Sunrise, FL 33322                            Ellenton, FL 34222
Land O' Loop, FL 34639



Allman, Joyce                              Allo, Anthony & Vera                         Almanza, Mariela
3366 Camelot Drive Apt 13                  4821 Calasans Ave.                           18821 NW 42nd Ave.
Largo, FL 33771                            Osceola, FL 34771                            Miami Gardens, FL 33055
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                                            Almonte, David & Carmen                       Aloi, Diane & Cathy Luttier
Almeira, Liliana
                                            4608 E. Seward St.                            7345 Hiawatha Pkwy
Evelyn Miranda
                                            Tampa, FL 33617                               Spring Hill, FL 34606
8018 N. Gomez Ave.
Tampa, FL 33614



Alonso, Jose                                Alquero, Ronnie & Marilyn                     Altemeyer, Richard & Kim
8833 West Broad Street                      2125 N. Mango Ave                             13670 Brynwood Lane
Tampa, FL 33615                             Chicago, IL 60639                             Ft. Myers, FL 33912




Alterman, Paul                              Alvardo, Gladys & John                        Alvarez, Danilo
Sheila Alterman                             9508 Lark Bunting Road                        Dania Alvarez, Lucely Alvarez & Arguemir
7850 NW 5th Place                           Tampa, FL 33647                               2806 Manor Hill Dr.
Plantation, FL 33324                                                                      Brandon, FL 33511



Alvelo, Hector & Lizette                    Alves, Jorge                                  Alves, Jorge
21401 Tree Park Ct.                         815 West 181st. Apt B                         2219 Pantucket Dr,
Clermont, FL 34715                          New York, NY 10033                            Wesley Chapel, FL 33543




Alvey, Carol J.                             Amico, Michael                                Amnay, Ivan
9342 Tradewinds Avenue                      1905 Oyster Catcher Ln. Apt. 914              4670 Grand Preserve Plave
Seminole, FL 33776                          Clearwater, FL 33762                          Palm Harbour, FL 34684




Anderson, Charles & JoAnn                   Anderson, Christopher                         Anderson, Valerie
6021 Fauna Lane                             2709 SW 4th Ave.                              3533 Anniversary Court
Apollo BEach, FL 33572                      Cape Coral, FL 33914                          New Port Richey, FL 34653




Andrews, Brian & Susan                      Andrews, Derek & Amanda                       Andrews, Derek & Amanda
6506 Butlers Crest Dr.                      492 Crystal DR                                333 79th Ave
Bradenton, FL 34203                         Madeira Beach, FL 33708                       St. Pete Beach, FL 33708




Andrews, Stacy                              Anello, Adrienne & James Martin               Anello, AJ
1427 Madison Court                          106 Pine Side Dr.                             19340 Waymouth Drive
Mt. Pleasant, SC 29466                      Bebary, Fl 32713                              Land O'Lakes, FL 34638




Angeles, Hernani & Maria                    Angelow, Amos & Jane                          Angle, Scott
8116 Canterbury Lake Blvd                   3750 Habana Street                            3317 West Paris St
Tampa, FL 33619                             New Port Richey, FL 34652                     Tampa, FL 33614




Anglero, Francisco & Pilar                  Anneroo, Bayne & Sursatte                     Anthem Reporting
4605 Copper Lane                            6589 SE 96th Place Rd.                        101 S. Franklin St., Suite 101
Plant City, FL 33566                        Belleview, FL 34420                           Tampa, FL 33602
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                                            Appel, Donna                                  Appelquist, Frederick & Joyce
Aponte, Jose                                506 SW 33rd ave.                              4672 Riverwalk Village Ct #8408
739 Pelican Ct                              Cape Coral, FL 33991                          Ponce Inlet, FL 32127
Poinciana, FL 34759



Arape, Gustavo & Glenda                     Arbelaez, Fernando                            Arca, Karen
12661 Castle Drive                          PO Box 770249                                 36147 Serbia Spruce Dr.
Tampa, FL 33624                             Orlando, FL 32877                             Dade City, FL 33525




Arca, Karen                                 Arce, Joseph & Anastacia                      Arcelay, Moises & Rosa D.
2149 Arrowgrass Dr. #103                    19919 Tamiami Ave                             123 Dalton Court
Wesly Chapel, FL 33544                      Tampa, FL 33647                               Davenport, FL 33897




Ardell, Alvin                               Arfmann, Neil & Betsy                         Arkady, Arnold & Laura Khalafyan
Julie Willis                                35246 US Hwy 19 North #208                    3811 Nonie Way
225 Golf Aire Blvd                          Palm Harbor, FL 34684                         Jacksonville, FL 32257
Haines City, FL 33844



Armas, Elizabeth                            Armstrong, Annette & Mark Ruttowski           Armstrong, Beverly
2505 Roy Hanna Drive S.                     5500 Sand Lake Drive                          136 Padgett Place South
St. Pete, FL 33712                          Melbourne, Fl 32934                           Lakeland, FL 33809




Armstrong, Bruce & Kim                      Armstrong, Leslie & Martin                    Arnold, Darius & Rita Jane
9809 Old Plank Rd.                          3155 Hyde Park Drive                          11239 Oysterbay Circle
Jacksonville, FL 32220                      Clearwater, FL 33761                          New Port Richey, FL 34654




Arnold, Keneatha                            Arrajj, James & Brandy                        Arroyo, Juan
2710 W. LaSalle St.                         2204 Rosewood Dr.                             1850 Tinker Dr
Tampa, FL 33607                             Melbourne Beach, FL 32951                     Lutz, FL 33559




Arteaga, Mark & Jacqueline                  Arth, Mark & Ageela                           Artiga, Edward & Anna
1936 Floresta View Dr.                      3901 W. Angeles St.                           13307 Waterford Run
Tampa, FL 33618                             Tampa, FL 33629                               Riverview, FL 33569




Arvanaghi, Elaheh                           Asa, Steven                                   Ash, Steve & Marianne
1048 Rector Lane                            12873 Pennell Pines Blvd.                     160 N. Grandview Ave.
Mclean, VA 22102                            Boynton Beach, FL 33436                       Hernando, FL 34442




Ashby, Ann                                  Ashford-Frix, Catherine & Nathan C.           Ashmeade, Andre
132 Big Oak Bend                            8303 75th Ave. N                              9843 N. 52nd St.
Chuluota, FL 32766                          Largo, FL 33777                               Tampa, FL 33617
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                                           Assis, Antonio                               Astacio, Daniel & Melinda
Ashworth, Todd                             6165 Sandcrest Cir.                          7004 Crown Lake Drive
800 NE 18th Street                         Orlando, FL 32819                            Gibsonton, FL 33534
Ft. Lauderdale, FL 33305



Aston, Kay                                 Atkinson, Charles                            Atkinson, Emily
11494 Sedate St.                           208 Gates St. SW                             1708 Main St
Brooksville, FL 34614                      Palm Bay, FL 32908                           Valrico, FL 33594




Atkinson, Jason                            Atkinson-Baker, Inc.                         Atwell, Jason & Rachel
1700 Main Street                           500 N. Brand Blvd., Third Floor              5221 Lowell Rd
Valrico, FL 33594                          Glendale, CA 91203-4725                      Tampa, FL 33624




Aubrey, Dale                               Aumann, Gregory                              Auri, Rita
930 4th Street West Unit #34               13475 Lawrence Street                        7903 George Washington Ln
Stanley, ND 58784                          Spring Hill, FL 34609                        Tampa, FL 33637




Aurie, Robert                              Austin, Eileen                               Austin, George and Maxine
8704 Christi Ct.                           9726 Rainelle lane                           1222 Winding Meadows Road
Tampa, FL 33637                            New Port Richey, FL 34668                    Odessa, FL 32955




Austin, Jessica                            Austin, John & Kristine                      Avery, Lisa
1754 Paladino Court                        1732 Powderridge dr.                         Troy Brandt
Odessa, FL 33556                           Valrico, FL 33594                            PO Box 16156
                                                                                        Clearwater, FL 33766



Ayers, John                                Ayora-Castro, Teresa & Pablo                 Ayoub, Victor
Karen Ayers                                12701 North 53rd Street                      Jeanne Hayek
508 Smokerise Blvd                         Temple Terrace, FL 33617                     838 Field Street
Longwood, FL 32779                                                                      Oviedo, FL 32765



Babcock, Arlene                            Babor, Paige                                 Baburam, Anna
Thomas Babcock                             PO Box 991                                   86 North Drive
6409 Eldorado Dr                           Ellenton, FL 34222                           Valley Stream, NY 11580
Tampa, FL 33615



Baclawski, Ronald & Jamie                  Baclwaski, Jamie                             Bacon, Marcia
15717 Allmandi Drive                       7302 Hatteras Drive                          1428 Delano Trust St.
Hudson, FL 34667                           Hudson, FL 34667                             Ruskin, FL 33570




Badertscher, James & Darlene               Badish, Patricia & Randy                     Badnell, June & Leonard
121 Devon Dr.                              1657 SE Burning Ln                           21 Crescent Ridge Rd.
Clearwater Beach, FL 33767                 Port St. Lucie, FL 34952                     Davenport, FL 33837
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                                           Baez, Jennie & Isidro                          Bagala, Jack & Maria
Badolato, Andrew                           1502 Tyringham Rd.                             3212 Azalea Blossom Dr.
3108 Casey Key Rd                          Eustis, FL 32726                               Plant City, Fl 33567
Nokomis, FL 34275



Bagwell, Calvin & Doris                    Bahnsen, Lawrence                              Bailey, David & Debra
2025 Wekiua Reserve Blvd.                  5318 Palmetto Point Drive                      5508 WO Griffin Road
Apopka, FL 32703                           Palmetto, Fl 34221                             Plant City, FL 33567




Bailey, Deborah                            Bailey, James & Brenda                         Baillargeon, Gary R.
6034 Crestridge Road                       708 E. Richmere Street                         2251 Hillandale Avenue
Tampa, FL 33634                            Tampa, FL 33612                                Spring Hill, FL 34608




Baillie, Haydee & Anthony                  Baker, Charles                                 Baker, Christina & Michael
1304 Holly Glen Run                        129 Maxcy Lane                                 1712 Balmoral Drive
Apopka, FL 32703                           Frostproof, FL 33843                           Clearwater, FL 33756




Baker, Coral & Daniel                      Baker, Diana & Lashawna                        Baker, Diane
3200 Bellericay Ln.                        1021 Briarwood Ave.                            4017 Eagle court
Land O' Lakes, FL 34638                    Tampa, FL 33613                                Palm Harbor, FL 34684




Baker, John                                Baker, Lisa & Stephen                          Baker, William
5418 Worthington Loop                      928 Church Street                              4823 1st Ave. Dr. NW
Palm Harbor, FL 34685                      Venice, FL 34285                               Bradenton, FL 34209




Balado, Jose & Ana                         Balkaransingh, Ramnarine                       Ball, Marisa
5366 Dornich Drive                         Sara Toonda                                    608 4th Ave. SW
Auburndale, FL 33823                       101-40 103rd Street                            Ruskin, FL 33570
                                           Ozone Park, NT 11416



Ball, Ronald                               Balladares, Richard & Elsa                     Ballard, Deanna
513 55th Ave                               2312 Lyncrest Court                            5707 North Ola Ave
St. Pete Beach, FL 33706                   Valrico, FL 33596                              Tampa, FL 33604




Baluja, Margarita                          Banks, Allan & Holly                           Banks, Carole
Marcos Flores                              2948 Sunset Pt. Rd.                            9937 Sago Point Dr
30135 Mossbank Dr.                         Clearwater, FL 33759                           Seminole, FL 33777
Wesley Chapel, FL 33543



Banks, Shawn                               Bansee, Marolyn & Sham                         Banuchi, Arthur & Olga
3501 5th Ave North                         16404 93rd Road North                          3504 Chessington Dr.
St. Pete, FL 33713                         Loxahatchee, FL 33470                          Land O' Lakes, FL 34638
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                                          Baran, Madeline                              Barber, James & Karen
Barajas, Alma                             11215 North Roble Terrace                    10120 Magnolia Creek Dr
1013 Orange Creek Lane                    Dunnellon, FL 34434                          Lithia, Fl 33547
Sebring, FL 33870



Barber, Patrick & Cheryl                  Barbera, Steve                               Barbosa, Ferdinand & Yesenia
7104 Hazelhurst Ct.                       13575 58th St. N. Suite 300                  7724 Jodi Lynn Drive
Tampa, FL 33615                           Clearwater, FL 33760                         Tampa, FL 33615-1547




Barcena, Patti                            Bardsley, David & Michelle                   Bare, Kelly
7605 Coarsey Drive                        1501 Suzanne Way                             6221 NW 36th Terrace
Tampa, FL 33604                           Longwood, FL 32779                           Gainesville, FL 32652




Barish, Mark                              Barker, Tammy & Robert                       Barnar, Ernesto & Sandra
1525 West River Shore Way                 1840 NE 62nd Street                          4514 Devonshire Road
Tampa, FL 33603                           Ocala, FL 34479                              Tampa, FL 33634




Barnes, James D. & Kim                    Barnes, Kerri & Erik                         Barnes, Ronald
701 Pinewalk Drive                        12137 Rambling Oak                           1750 Sweetspire Drive
Brandon, FL 33510                         Orlando, FL 32832                            Trinity, FL 34655




Barnes, Wendy & Thomas                    Barnes, Wendy & Thomas                       Barnhill, Kimberly
755 Sienna Palm Dr.                       1150 Wilde Dr.                               11624 Constance Drive
Kissimmee, FL 34747                       Kissimmee, FL 34747                          Port Richey, FL 34668




Baron, Margaret                           Barone, Gina                                 Barra, Isidro & Patricia
2002 Hidden Alley                         3426 West Heiter Street                      30714 Sonnet Glen Dr.
Alpharetta, GA 30009                      Tampa, FL 33607-6650                         Wesley Chapel, FL 33543




Barrancotto, James                        Barrett, Kevin                               Barrie, Dan & Lynne
500 80th Ave.                             315 West Seminole Drive                      12724 Circle Lake Drive
St. Petersburg, FL 33706                  Venice, FL 34293                             Hudson, FL 34669




Barriera, Gladys                          Barrington, Joseph                           Barrios, Rosa
9203 Camino Villa Blvd                    3573 West Promontory Drive                   4922 El Dorado Dr.
Tampa, FL 33635                           Beverly Hills, FL 34465                      Tampa, FL 33615




Barrow, Wendy & Jerry                     Barry, Richard                               Barse, Robert & Michelle
3682 Missouri Ave.                        7034 Potomac DR                              1910 Nadine Road Apt 108
Dade City, FL 33523                       Port Richey, FL 34668                        Wesley Chapel, FL 33544
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                                           Barzydlo, William                              Basantes, Ana
Bartunek, Julia                            (Spring Bayou)                                 (Cortez - Finotti)
2645 Meadowood Dr                          6047 Deltona Blvd.                             8011 SW 29th Street
New Port Richey, FL 34655                  Spring Hill, FL 34606                          Davis, FL 33328



Basgall, John & Lydia                      Baskett, William                               Bason, Edward & Resa
12354 Autumnbrook Tri West                 15406 Sir Maxwell Ct.                          5 Landaulette Ct.
Jacksonville, FL 32258                     Odessa, FL 33556                               Melville, NY 11747




Bass, Mary & Jacqueline Fletcher           Bass, Robin & Dianna Bass                      Bassi, Cathy
1718 25th St.                              8686 Andrews Ave.                              2187 Orangewood Way
Sarasota, FL 34234                         Fort Pierce, FL 34945                          Clearwater, FL 33764




Bastone, Angelo & Christine                Bates, Garrett                                 Battaglia, Katie
1030 N. Tower Ln.                          109 Orange Ridge Drive                         4121 E. Busch Apt. 1010
Lake Wales, FL 33853                       Longwood, FL 32779                             Tampa, FL 33617




Batten Williams & Sean Schrieber           Battles, Barbara                               Bauder, Richard & Shari
1116 East Oakwood Street                   Judith Reardon                                 175 69th ave N
Tarpon Springs, FL 34689                   4920 38th Way South # 104                      St. Petersburg, FL 33702
                                           St. Petersburg, FL 33711



Bauer, Kenneth & Raya                      Baughman, Donald & Theresa                     Baumgartner, Eleanore & Thomas
653 Lakemont Drive                         4714 W. Tribley Ave                            2937 163 Ave N.
Brandon, FL 33510                          Tampa, FL 33616                                Clearwater, FL 33760




Baxter, Joshua & Patricia                  Bay, Jeffrey & Yekaterina Kim                  Bazarian-Chestine, Holly
4901 Grove Manor Ct.                       12519 Saulston Place                           14278 Copeland Way
Plant City, FL 33565                       Hudson, FL 34669                               Spring Hill, FL 34604




Beaman, Grazyna                            Beasley, Jesse                                 Beauchamp, Anthony
8374 Market St., #426                      27 Sun air Blvd                                8610 Twin Farms Place
Bradenton, FL 34202                        Haines City, FL 33844                          Tampa, FL 33635




Beaudin, David & Melanie                   Beaver, Phyllis & William                      Bedient, Marjorie
11805 Derbyshire Drive                     4707 Cypress Ridge Place                       325 Kimberly Ct
Tampa, FL 33626                            Tampa, FL 33624                                Sanford, FL 32771




Beeman, Randolph & Clare                   Beg, Marjorie & M.A                            Behm, Paul, Trustee
1050 Lena Lane                             520 Keith Pointe Dr.                           11254 Lazy Lane
Sarasota, FL 34240                         Sarasota, FL 34236                             Brooksville, FL 34601
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                                           Beiswenger, Bruce & Lora                       Beles, Jason & Maria
Beilstein, Matthew & Tara                  95 S. Golf Harbour Path                        3020 Bishpham Rd.
7115 Colonial Lake Drive                   Inverness, FL 34450                            Sarasota, FL 34231
Riverview, FL 33569



Bell, David & Kimberly                     Bell, Frankie & Catherlyn                      Bell, Mark & Darlene
5945 Jaegerglen Dr.                        1312 E. 32nd Ave.                              9422 Leatherwood Avenue
Lithia, FL 33547                           Tampa, FL 33603                                Tampa, FL 33647




Bell, Matthew & Darla                      Belton, Barbara                                Beninati, Robert
1262 S. Anne Shrine Rd.                    6045 Crafton Dr.                               17939 Bahama Ilse Dr.
Lake Wales, FL 33898                       Lakeland, FL 33809                             Tampa, FL 33641




Benn, Doreen                               Bennett, Darrick                               Bennett, Gordon & Jennifer
11340 West Gem Street                      2231 Yorkville Court                           8277 Chesebro Ave
Crystal River, FL 34428                    Ocoee, FL 34761                                North Port, FL 34287




Bennett, Lisa                              Bennetti, Pamela & Darren                      Bent, Delroy & Sandra
8698 1st Street N                          23131 Geneva Road                              15706 Muirfield Dr
St, Petersburg, FL 33702                   Land O'Lakes, FL 34639                         Odessa, FL 33556




Benton, Christopher & Latisha              Benton, Matthew & Sheila                       Beresford, Stanley & Heather
112 Arlington Court                        414 Cedarwood Ct                               13425 Bolton Court
Haines City, FL 33844-5435                 Winter Springs, FL 32708                       Spring Hill, FL 34609




Berger, Lucas & Clare                      Bergmann, Brian                                Bernabe, Isidro
12922 Sandburst Lane                       2451 Deltona Blvd.                             7451 Trovita Rd.
Hudson, FL 34667                           Spring Hill, FL 34606                          Land O'Lakes, FL 34637




Bernardini, Heather (Amaya) & Frank        Bernotas, Paul & Cheryl                        Bertelt, Victoria
3532 Anniversary Court                     823 North Gulf Drive                           15125 Heathridge Drive
New Port Richey, FL 34653-6043             Hollywood, FL 33021                            Tampa, FL 33625




Bertz, Ramona                              Best-Banks, Tawana L.                          Betancourt, Robert & Ada
3215 North 12th Street                     5239 Sunset Canyon Drive                       1621 80th St. N.
Tampa, FL 33605                            Kissimmee, FL 34758                            Tampa, FL 33604




Bethune, Shepherd & Michelle               Bettin, Patrick                                Beverly, Osborne
2830 Ivanhoe Way South                     3410 Jodi W. Dr.                               Rodney & Ruth
St. Petersburg, FL 33705                   Dade City, FL 33523                            6117 Woodette Way
                                                                                          Jacksonville, FL 32277
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                                        Bezabeh, Azeb                                 Bhola, Deosaran & Sashtri
Bevilacqua, Louis & Theresa Curry       Tewodros Habtemarian                          513 S. Beuna Vista Ave
16205 Bridgepark Dr.                    9519 Baytree Ct.                              Orlando, FL 32835
Lithia, FL 33547                        Tampa, FL 33615



Bhowanidin, Ganase                      Bickford, Daniel & Gina                       Bienaime, Wendy
7143 Winding Lake Cir.                  8201 131st Way N.                             1913 Gregory Dr.
Oviedo, FL 32765                        Seminole, FL 33776                            Tampa, FL 33612




Billings, Virgil                        Billiris, Theodore                            Bingham, Phillip & Rose
Terri L. Dunn                           321 Athens St.                                14916 61st Court North
1913 Gregory Dr.                        Tarpon Springs, FL 34689                      Loxahatchee, FL 33490
Deltona, FL 32738



Birch, Michael                          Birdsall, Jeremy & Lynn                       Birmingham, Justin & Melissa
7209 Arbor View Lane                    741 Legacy Park Dr.                           26915 Magnolia Blvd
New Port Richey, FL 34653               Casselberry, FL 32707                         Lutz, FL 33559




Bischoff, Frederick                     Bishay, Nadia                                 Bishop, Joyce
P.O. Box 16088                          2014 Midyette Road Apt 408                    4118 Key Thatch Dr.
St. Petersburg, FL 33733-6088           Tallahassee, FL 32301                         Tampa, FL 33610




Bishop, Melinda                         Bishop, Melinda                               Bisnath, Anna W.
69 Meadows Creek Lane                   William Meares                                2105 South Village Ave
Sencia, GA 30276                        5422 12th Ave. N.                             Tampa, FL 33612
                                        St. Petersburg, FL 33710



Bisono, Teresa                          Bissette, Robert                              Bittner, Duane & Sherri
6215 Tigerflower Ct.                    6254 Florida Cir. E.                          739 County Line Road
Land O'Lakes, FL 34639                  Apollo Beach, FL 33572                        Zephyrhills, FL 33540




Bittong, Esperanza                      Bittong, Esperanza                            Black Point Assets
7123 Foster Lane                        423 Hwy 466 Apt 203                           13014 North Dale Mabry Hwy # 357
Orlando, FL 32818                       Lady Lake, FL 32159                           Tampa, FL 33618




Black, Bruce & Kathi                    Black, Michele                                Black-Flood, Sandra
11201 Mistmoor Ct.                      1037 Calumet Street                           34 Ellis Ave, Floor 1
Riverview, FL 33569                     Clearwater, FL 33755                          Irvington, NJ 07111




Blackburn, Janet                        Blackwell, Harold & Lucy                      Blair, Tiffany
3012 Fawn Way                           4736 W. Wisconsin Ave.                        3938 43rd Terrace North
Zephyrhills, FL 33542                   Tampa, FL 33616                               St. Petersburg, FL 33714
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                                          Blanck, Gary                                 Bland, Larissa
Blake, Dayle & Laura                      PO Box 272388                                6788 63rd Way N.,
1960 De La Palma Ave                      Tampa, Fl 33688-2388                         Pinellas Park, FL 33781
Bartow, FL 33830



Blanton, Emily                            Blemur, Webster                              Blevins, Tony & Kimberly
69 Waterbridge Place                      Marie Renee Jean                             3900 Trapnell Ridge Drive
Ponta Verda, FL 32082                     19052 NW 54 Court                            Plant City, FL 33567
                                          Miami Gardens, FL 33055



Bliss, Douglas and Karyn Reid             Bobik, Craig and Dana                        Bogan, Dale & Celestine Oliver
3931 Miramar Way South                    1224 Lake Como Drive                         5214 Winding Brook Trail
St. Petersburg, FL 33705                  Lutz, FL 33558                               Wesley Chapel, FL 33544




Boman, Byron and Vilma & Bradley          Bondell, Cynthia                             Bonomi, Emil & Margaret
6513 Skyler Jean Drive                    12121 Little Road #170                       159 Massini Ave
Jacksonville, FL 32244                    Hudson, FL 34667                             Palm Bay, FL 32907




Bonville, Rita & Bridget                  Bookram, Devand                              Boone, Gregory & Sharon
115 Ozona Drive                           6760 Hickory Hammock Cir.                    10426 Hunters Haven Blvd.
Palm Harbor, FL 34683                     Brandenton, FL 34202                         Riverview, FL 33578




Borchert, David & Rosa                    Boriboun, Songpraseuth                       Boring, Ronald & Melanie
10713 Dark Water Court                    8091 81st Way N.                             4732 Wolfram Lane
Clermont, FL 34715                        Largo, FL 33777                              New Port Richey, FL 34653




Bosman, Mark & Laura Wellington           Bouquio, Maureen                             Bowden, Laronda
136 Village Green Ave.                    11261 NW 16th CT                             PO Box 1983
St. Johns, FL 32259                       Pembroke Pines, FL 33026                     Palmetto, FL 34220-1983




Bowen, Donald & Cynthia                   Bowering, David                              Bowers, James & Margaret
4440 Crested Butte Ct.                    2711 Betty Place                             PO Box 1112
Jacksonville, FL 32210                    Holiday, FL 34691                            Okeechobee, FL 34973-1112




Bowman, Raymond & Lisa                    Bowman, Rose Marie                           Boyd, Angela
4455 Edwards Road                         9633 Orange Grove Drive                      1223 Sweet Gum Dr.
Plant City, FL 33567                      Tampa, FL 33618                              Brandon, FL 33511




Boyd, David                               Boyd, James                                  Boyer, Dawn & Muguel
Katheryn Ann Boyd Lewis                   Deborah Greenough                            709 West Orient Street
2104 Dumas Drive                          610 Barber St. SE                            Tampa, FL 33603
Deltona, FL 32738                         Palm Bay, FL 32909
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                                            Bozanich, Sam & Kierstin Arntsen              Bracciale, Christopher
Boyer, Jacquie Kuntz                        14163 Waterville Circle                       Cynthia Bondell
1004 State Street East                      Tampa, FL 33626                               8921 Promise Drive
Oldsmar, FL 34677                                                                         Tampa, FL 33626



Bracewell, David & Rochelle                 Brackin, John & Leslee Carter                 Bradham, Willie
5 Logo Vista Court                          1306 W. Plymouth St.                          PO Box 11604
Davenport, FL 33837                         Tampa, FL 33603                               St. Petersburg, FL 33733-1604




Bradley, Orlee & Scott                      Bradshaw, Janet                               Bradshaw, Larry & Deborah
1353 Cedarwood Way                          2709 Portchester Court                        3227 Alcott Ave.
Palm Harbor, FL 34683                       Kissimmee, FL 34744                           Plant City, FL 33566




Brakke, Melissa & David                     Brakke, Melissa & David                       Brame, Sherry
2121 Alemanda Dr.                           251 78th Ave. N.E.                            5450 Wellfield Rd
Saint Petersburg, FL 33702                  St. Petersburg, FL 33702                      New Port Richey, FL 34655




Brand, Hunt                                 Brandner, Harold                              Brangan, Patrick
3024 Del Rio Drive                          79 Standish Dr.                               1700 Cedar Springs Road #1716
Largo, FL 33770                             Ormond Beach, FL 32176                        Dallas, TX 75202




Brannon, Lois                               Braswell, James                               Brause, Dale & Linda
705 NW 1st Ave                              404 West Violet St                            6969 Briarwood Ave N
Mulberry, FL 33860-2051                     Tampa, FL 33603                               Pinellas Park, FL 33781




Brcka, Deborah and Gary                     Brennan, Francis & Judith                     Brennan, Michelle
P. O. Box 20646                             5334 Boca Marina Circle North                 200 NE 8th St.
St. Petersburg, FL 33742-0646               Boca Raton, FL 33487                          Pompano Beach, FL 33060




Brennick, Michael J.                        Bressman, Edward                              Brew, Justin
613 Fieldstone Dr.                          3853 Hollycrest Street                        12810 Morris Bridge Road
Brandon, FL 33511                           Ft. Myers, FL 33905                           Thonotosassa, FL 33597




Brewer, Crystal                             Brien, Randall & Laurie                       Brignac, Steve & Linda
9199 Beasley Lane                           4344 Bahia Drive                              8632 Oakwood Drive
Thonotosassa, FL 33592                      Zephyrhills, FL 33541-2802                    Lakeland, FL 33810




Brindise, Suzanne & Brendan                 Brink, Jacob                                  Brioso, Ana
16353 Coco Hammock Way                      8140 37th Ave N,                              3309 SE 180th Street
Ft. Myers, FL 33908                         St. Pete, FL 33710                            Summerfield, FL 34471
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                                         Britton, Ian                                  Britton, Vilma & George
Brishetto, Todd & Jennifer               375 114th North Unit 1                        4236 53rd Ave N
3500 Martell Street                      St. Pete, FL 33716                            St. Petersburg, FL 33714
New Port Richey, FL 34655



Brock, William                           Bromley, Carl (John) & Rona Bradley           Brook, David
5890 Golden Gate Pkwy.                   16271 S.E. 16th Place                         Lorin Brook
Naples, FL 34116                         Ocklawaha, FL 32179                           9160 136th Way N.
                                                                                       Seminole, FL 33776



Brophy, Patrick                          Broughan, Connie                              Brower, Janet
7601 Spinea Drive                        24449 Painter Drive                           12833 Pointsetta Rd
Port Richey, FL 34668                    Land O'Lakes, FL 34639                        Seminole, FL 33776




Brown, Alan & June Mary                  Brown, Brenda & Timothy                       Brown, Kevin
4505 Gulfview Blvd - Apt 602             5220 Ashmeade Road                            Delphia Brown
Clearwater, FL 33767                     Orlando, FL 32810                             5016 Nautica Lake Circle
                                                                                       Green Acres, FL 33463



Brown, Kimberly                          Brown, Luis                                   Brown, Marsha
2411 Woody Trace Lane                    Mirta Morento Brown                           2121 Ardenwood Dr.
Tampa, FL 33612                          4341 SW 25th Ct                               Spring Hill, FL 34609
                                         Cape Coral, FL 33914



Brown, Monica                            Brown, Phillip                                Brown, Ralph & Anne
1706 15th Street N                       2886 NE 26th Place                            13412 Barlington Street
Winter Haven, FL 33881                   Ft. Lauderdale, FL 33306                      Spring Hill, FL 34609




Brown, Richard & Kathleen                Brown, Richard & Lori                         Brown, Tommy
24889 Valdez Court                       5304 West 17th Street                         4690 Laurel Oak Lane
Bonita Springs, FL 34135                 Bradenton, FL 34207                           St. Petersburg, FL 33703




Brown, Truman                            Brown, William & Shirley                      Brown, Yohana & Kamilah
10506 Alambra Ave                        333 Pennsylvania Ave.                         10958 Keys Gate Dr
Tampa, FL 33619                          Winter Garden, FL 34787                       Ruverview, FL 33579




Brubaker, Timothy & Joyellen             Brunache, Jean & Gina                         Bruner, Dean & Carolyn Lewia
16021 Timberwood Drove                   17906 Bahama Isle Dr                          PO Box 470686
Tampa, FL 33625                          Tampa, FL 33647                               Celebration, FL 34747-0686




Brunot, Brandon                          Brusa, Anthony & Keri Tsakanikas              Bryan, Marcell
Natacha Laurore                          10119 North Highland Ave.                     10918 Ancient Futures Drive
32732 Yasmine Loop                       Tampa, FL 33612                               Tampa, FL 33646
Wesley Chapel, FL 33543
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                                          Bryan, Shana C.                               Bryan, Sovet
Bryan, Shana C.                           148 Ivy Mills Rd                              6513 Royal Tern Street
2010 E. Palm Ave, Unit # 15212            Glen Mills, PA 19342                          Orlando, FL 32810
Tampa, FL 33605



Bryant, Betty                             Bryce, Kenneth                                Brzak, Robert & Kelli
7810 Robert E. Lee Road                   12261 Hallmark Ave                            7 Booth Blvd.
Tampa, FL 33637                           Brooksville, FL 34613                         Safety Harbor, FL 34695




Bucci, Rocco & Diana Monahon              Buchanan, Dolan & Rosalyn                     Buchy, Michael & Kimberly
PO Box 2466                               29425 Schinnecock Hills Lane                  6190 Soffel Dr.
Palm Harbor, FL 34682-2466                San Antonio, FL 33576                         Brooksville, FL 34602




Buckingham, Nancy                         Buckmaster, Dede & James                      Buecker, Matthew
20301 Adore Lane                          4752 S. Cranberry Blvd                        3400 Heartwood Ln.
Estero, FL 33928                          North Port, FL 34286                          Melbourne, FL 32934




Bukiet, James & Michelle                  Bullock, Alex & Tasha                         Bullock, Kathy
12709 Shadowcrest Court                   11705 Raintree Village Blvd-Apt C             5520 24th Street
Riverview, FL 33569                       Tampa, FL 33617                               Bradenton, FL 34203




Bullock. Matthew & Kathy                  Bulzone, Anthony, Trustee                     Bumbarger, William
13744 Fareham Road                        Kimberly Harrell                              33829 Shady Acres Rd
Odessa, FL 33556                          5233 Wellfield Rd.                            Leesburg, FL 34788
                                          New Port Richey, FL 34655



Bunton, Charles                           Burch, Angela                                 Burchenson, Krysta-Gaye
4127 Rolling Springs Drive                4526 Grainary Ave                             Monzar Martin
Tampa, FL 33624                           Tampa, FL 33624                               3602 Wilshire Way Rd. #248
                                                                                        Orlando, FL 32829



Burchette, Donald & Joan                  Burdett, Sheryl & Joseph                      Burger, Alice
6773 Old Melbourne Hwy                    528 Wynnwood Dr.                              5868 Linden Road
St. Cloud, FL 34771                       Brandon, FL 33511                             Haines City, FL 33844




Burgess, Mike                             Burgess, Mike                                 Burgess, Ricky & D'Aishia
11487 Seminole Blvd                       5931 42nd Ave N                               3181 Winchester Estates Loop
Largo, FL 33778                           St.Pete, FL 33709                             Lakeland, FL 33810




Burgess, Sandy                            Burgess, Steve                                Burgos, Juan & Yolanda
506 Richard St                            201 Austin St                                 6597 Cresent Loop
Leesburg, FL 34748                        Longwood, FL 32750                            Winter Haven, FL 33884
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                                           Buric, Mike & Nijole                           Burke, Arthur & Alma
Burgueno, Lia                              8180 Hoopwell Ct.                              850 Victor Herbert Dr.
1912 Hampton Ave.                          Largo, FL 33777                                Largo, FL 33771
Augusta, GA 30904



Burke, Ed & Dorothy                        Burks, Matthew & Tiffany                       Burnham, Alice
6320 8th Ave South                         2687 Brookside Bluff Loop                      Dorothy Burke
Gulfport, FL 33707                         Lakeland, FL 33813                             500 Cerromar Dr.
                                                                                          Venice, FL 34293



Burns, Curtis & Teresa                     Burtoft, David & Elizabeth                     Bush, Kevin
5541 NW 52nd Circle                        11639 Huggins Street                           Marchand Tebbe
Coconut Creek, FL 33073                    Leesburg, FL 34788                             116 Roscoe Blvd N
                                                                                          Ponte Verda Beach, FL 32082



Business Records Management                Busquets, Jose Carlos & Adrienne               Bustamante, Orlando & Maria
PO Box 629                                 18126 Swan Lake Drive                          15802 Hounds Horn lane
Clearwater, FL 33757-0629                  Lutz, FL 33549                                 Tampa, FL 33624




Butcher, Kevin & Leliah                    Butler, Florence aka Ruby Martin               Butler, James
10229 Widgeon Way                          503 Wylley Ave.                                6120 Balboa Street
New Port Richey, FL 34654                  Sanford, FL 32773                              Cocoa, FL 32927




Butler, Jennifer                           Butler, John & Sandra                          Butler, Sabrina & Reginald
1303 E. Curtis St.                         5582 Superior Dr.                              8443 River Dune St. N.
Tampa, FL 33603                            Lakeland, FL 33805                             Tampa, FL 33617




Butner, Metro & Suzzanne                   Byars, David & Byars                           Byrd, Bernadette & Paul Kuhlman
3828 Cheverly Drive West                   1807 Hitching Post Place                       3938 Claremont Drive
Lakeland, FL 33813                         Plant city, FL 33566                           New Port Richey, FL 34652




Caicedo, Jose & Maria Caicedo              Cain, Frances (Morales)                        Caitak, Doris
5825 Hornet Drive                          Brian Cain                                     Luca Martinazzi
Orlando, FL 33634                          2017 Gold Spring Cove                          1198 Weybridge Lane
                                           Kissimmee, FL 34743                            Dunedin, FL 34698



Calabrese, Steven & Judi                   Calderbank, Christopher                        Caldwell, David
53rd Court North                           7825 4th Ave South                             761 Meadowside Court
Royal Palm Beach, FL 33411                 St. Pete, FL 33707                             Orlando, FL 32825




Callahan, Patricia & Phil                  Callahan, Patricia & Phil                      Callaway, Deborah
7263 Orkney Ave N                          3107 Rex Ave                                   701 Hills St. South
St. Petersburg, FL 33709                   Dover, Fl 33527                                Gulfport, FL 33707
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                                          Calvert, Derek                                 Cameron, Timothy & Karen
Calle, Ruthy
                                          1002 Parker Drive                              2031 Secret Graden Lane #404
Christian Jimenez
                                          Ruskin, FL 33570                               Fleming Island, FL 32003
8708 Pawnee Ave
Tampa, FL 33617



Cammons, James                            Campbell, Teresa                               Campbell, Teresa
1185 Brafforton Way                       13146 Meadow Swallow Ave.                      4607 Sheringham Court
Tallahassee, FL 32311                     Brooksville, FL 34613                          Spring Hill, FL 34609




Campeau, Luc                              Campisciano, Sergio & Amelia                   Campolong, Eugene & Gregory
1166 Hickory Drive                        575 Vista Ridge Dr,                            4815 Scott Rd.
Largo, FL 33770                           Ruskin, FL 33570                               Lutz, FL 33558




Campos, Florante & Maria Luz Licong       Candia, Evelyn & Pablo Paniagua                Cannizzo, Theresa & Christopher
2796 Woodstream Circle                    8521 Lincoln Cove Dr. 102A                     6020 Shakerwood Circle(108)
Kissimmee, FL 34743                       Tampa, FL 33614                                Tamarac, FL 33319




Cano, Ivan & Cano                         Cape, Jennifer (Kroessig)                      Caples, Gary & Wendy
4614 Whitetail Lane                       1501 Thistle Down Drive                        529 Sans Souci Avenue
New Port Richey, FL 34653                 Brandon, FL 33510                              Deland, FL 32720




Capobianco, Anthony & Patricia            Capobianco, Brian & Heather                    Capon, Richard & Laurie
8359 Golden Prarie Dr.                    7911 Foxcatcher Court                          2768 Treasure Cove Circle
Tampa, FL 33647                           Odessa, FL 33556                               Ft. Lauderdale, FL 33312




Capps, Dennis & Marjorie                  Carcary, Shona & Shaun                         Cardoza, Lucy
4405 Coconut Cove Place                   2935 Westlawn Dr.                              Jerry Crosby
Valrico, FL 33596                         Tampa, FL 33611                                415 Dunaway Dr.
                                                                                         Valrico, FL 33594



Carle, Florence                           Carlson, Jessica                               Carlson, Michael
4103 Woodside Manor blvd                  4111 West Grace Street                         2220 Harborview Dr.
Tampa, FL 33624                           Tampa, FL 33607                                Dunedin, FL 34698




Carmichael, David & Beth                  Carol                                          Carpenter, Marilyn
6925 N. 300th Ave.                        616 Omaha St.                                  11205 NW 46th Drive
Clearwater, FL 33761                      Palm Harbor, FL 34683                          Coral Springs, FL 34957




Carr, Daniel                              Carr, Elsaida & Leroy                          Carr, John
209 Red Cedar Pl. Ste #209                11 Wilson Ave.                                 635 Morris Avenue Apt 346
Brandon, FL 33510                         Windsor, CT 06095                              Bronx, NY 10451
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                                          Carreira, Steve & Tamara                      Carrera, David
Carr, Thomas E                            330 Plymouth Ave                              5840 Red Bug Lake Road # 605
3016 Bonaventure Cir. Apt #203            Fort Walton Beach, FL 32547                   Winter Springs, FL 32708
Palm Harbor, FL 34684



Carroll, Lisa & Tim                       Carroll, Marshall & Naldita                   Carrubba, Nunzio & Chantel
21451 Cormorant Cove Dr                   6635 Hidden Beach Circle                      15098 Newport Rd.
Land O'Lakes, FL 34637                    Orlando, FL 32819                             Clearwater, FL 33764




Cartagena, Jose & Wanda                   Carter, Christopher & Lana                    Carter, David & Debbie
2507 Brookstone Drive                     3719 South Alabama Ave                        6060 99th Ave
Kissimmee, FL 34744                       Homosassa, FL 34448                           Pinellas Park, FL 33782




Carter, Richard                           Carter, Steven                                Carter, Steven & Josephine
7330 New York Ave                         13014 N. Dale Mabry Hwy # 357                 2411 80th Street N
Hudson, FL 34667                          Tampa, FL 33618                               St. Petersburg, FL 33710




Carter, William                           Carullo, Brock                                Carvallo, Bethany
3004 N. Ola Ave                           10405 Happy Hallow Ave                        267 West Lake Rd
Tampa, FL 33603                           Odessa, FL 33556                              Palm Harbor, FL 34684




Carver, Chad Allen & Charline             Case, Brian                                   Case, Theresa & Joyce Jenkins
2108 Carroll Place                        7824 Knight Drive                             2877 Hidden Harbour Court
Tampa, FL 33612                           New Port Richey, FL 34653                     Dania Beach, FL 33312




Cason, Chrisitine & Stephen               Cassidy, Troy & Natalie                       Castaneda, Kimberly & Blas
4135 Grant Blvd.                          7941 SW 88th Lane                             1511 W. Blue Springs Ave.
Orlando, FL 32804                         Gainesville, FL 32608                         Orange City, FL 32763




Castillo, Everlee                         Castillo, Everlee & Dana                      Castro, John & Naomi
6971 Miss Muffet Lane south               631 20th Street SW                            1402 Tomahawk Trail
Jacksonville, FL 32210                    Vero Beach, FL 32962                          Lakeland, FL 33813




Catalano, Jack & Cynthia                  Catalfu, Louis & Shirley                      Cato, Justin
2598 Reid Dr.                             10447 Fly Fishing St.                         2506 South Golfview
Chatanooga, TN 37421                      Riverview, FL 33569                           Plant City, FL 33566




Cavallo, Sally                            Cavanaugh, Mark                               Cavicchi, Jeff & Lauren
10130 Deercliff Dr.                       3621 Chillingham Court                        1927 Dyer Road
Tampa, FL 33647                           Pleasanton, CA 94588                          Tampa, FL 33618
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                                          Cenozier, Enock                              Centore, Andrew & Tanya
Cawthon, Michael & Carolyn                12316 fairlawn drive                         19653 Ellendale Drive
1121 5th Ave                              Riverview, FL 33579                          Land O'Lakes, FL 34638
Opalaka, AL 36801



Cerpa, Lydia                              Cerullo, Peter                               Cessna (Erdt), Diana & Michael
1340 Lincoln Road #200                    1725 Marumbi Court                           1536 Rolling Meadow Drive
Miami Beach,, F 33139                     Wesley Chapel, FL 33544                      Tampa, FL 33506




Chace, William                            Chaikin, Dawn                                Chakos, Timothy
Michelle Shull                            9423 Wisconsin Ave.                          Anne Chakos
1351 W Hart Road                          Bethesda, MD 20814                           1539 7th Ave. W.
Geneva, FL 32732                                                                       Bradenton, FL 34205



Chamberlain, Mary & Anthony               Chambers, Allyson                            Chambers, Robert and Cathy
3333 Castle Rock Circle                   323 Cordon Road                              215 Horizon Ridge Drive
Land O'Lakes, FL 34639                    West Palm Beach, FL 33401                    Orange City, FL 32763




Champ, Leslie                             Champagne, Kathleen                          Champagne, Laguerra
3809 Florida Ranch Blvd.                  Ronnie & Daniel Champagne                    1443 Brooksbend Dr.
Zephyrhills, FL 33541                     5407 Marlwood Ct.                            Wesley Chapel, FL 33543
                                          Tampa, FL 33624



Champeau, Kristina                        Chancey, Janette                             Changela, Mahendra
7197 Davenport Ave                        30 Cactus Circle East                        9128 Isles Cay Drive
Spring Hill, FL 34606                     Winter Haven, FL 33880                       Del Ray Beach, FL 33446




Chanthavongsa, Somphone & Manivong        Chapman, Kurt & Yuliana                      Chapman, Mark & Shelley
5280 86th Ave N                           1110 River Road                              322 Kentucky Blue Circle
Pinellas Park, FL 33782                   North Ft. Myers, FL 33903                    Apopka, FL 32712




Chapman, Scott                            Chappell, Fredda & Francis                   Chappell, Robert
1905 Maple Drive                          11035 Wedgemere Drive                        1905 Maple Drive
La Grange, KY 40031                       Trinity, FL 34655                            Trinity, FL 34655




Charlebois, Audie                         Charles, Charleus & Marie                    Charles, Paul
18603 San Rio Cir                         12915 Cattail Shore Ln.                      PO Box 2894
Lutz, FL 33549                            Riverview, FL 33579                          Clearwater, FL 33757-2894




Charron, David & Leandra                  Chastain, Claudia                            Chaves, Wanda
12915 Cattail Shore Ln.                   12915 Cattail Shore Ln.                      1187 Elkcam Blvd.
Plant City, FL 33565                      Riverview, FL 33579                          Deltona, FL 32725
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                                           Cheatham, Jeff                               Cheese, Ronald & Lora
Chavez, Albert C                           16023 Magdalena RD                           7360 Ulmerton Road #21b
7008 W. Pocahontas Ave                     Weekie Wachie, FL 34614                      Largo, FL 33771
Tampa, FL 33634



Chenoweth, John                            Cherney, William &C ynthia                   Chero, Javier
PO Box 7402                                5805 NW 69th Ave.                            3723 101st Ave E
Clearwater, FL 33758-7402                  Tamarc, FL 33321                             Parrish, FL 34219




Cherry, Robert & Susan                     Chew, Arlene                                 Chica, Dennis
5907 Ashton Woods Cir                      3401 Constance St.                           640 Cimarosa Ct.
Milton, FL 32570                           Titusville, FL 32796                         Ocoee, FL 34761




Child, Larry                               Childs, Alton                                Chilson, Michael & Cheryl
3436 Double Jack Place                     2325 Ole Hickory Drive                       1331 3rd Ave. SW
Dover, FL 33527                            Orlando, FL 32817                            Forest Lake, MN 55025




Chinchar, Carol & Francis                  Chipi, Moraima                               Choate, David & Diane
2312 E. Tilden Rd.                         Ezer Silverio                                2859 Gloria Court
Harrisburg, PA 17112                       2540 West Union Street                       Clearwater, FL 33761
                                           Tampa, FL 33607



Choice Legal Group                         Chomin, Jeffrey                              Christainsen, Kyle & David
1901 W. Cypress Creek Rd., #201            2933 Lichen Lane Unit B                      4904 Elmwood Street
Fort Lauderdale, FL 33309                  Clearwater, FL 33760                         New Port Richey, FL 34653




Christensen, James & Barbara               Christiansen, Richard                        Christopher, Lonnie
11643 Dunes Way Dr. N                      42017 Delmonte Street                        140 Erickson Drive
Jacksonville, FL 32225                     Temecula, CA 92591                           Pulaski, TN 38478




Christy, David & Kimberly                  Chrzuszcz, Piotr                             CIC Real Estate, Inc.
1452 Satsuma Street                        10853 Normandy Blvd.                         25941 US Hwy 19 N Suite 16791
Clearwater, FL 33756                       Jacksonville, FL 32221                       Clearwater, FL 33763




Cichon, Christine                          Cichon, Michael & Tamara                     Cieri, Florence
9494 118th Street                          10221 Noddy Tern Road                        484 SW 1ST Street
Seminole, FL 33772                         Brooksville, FL 34613                        Boca Raton, FL 33432




Ciliento, Silvana                          Ciliento, Silvana                            Cintron, Anna
737 Snug Island                            52012 S. Armenia Ave. #1219 E                296 SW Holden Terrace
Clearwater, FL 33767                       Tampa, FL 33609                              Port St. Lucie, FL 34984
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                                          Cisek, Michael & Patricia                      Cistola, Maria
Cipolla, Francesco                        3349 Silerhill Dr.                             625 Newton Street
1190 Gatwick Loop                         Holliday, FL 34691                             Oviedo, FL 32765
Lake Mary, FL 32746



City of St. Petersburg                    City of Tampa                                  City of Tampa Business Tax Division
                                                                                         PO Box 31047
                                                                                         Tampa, FL 33631-3047




Ciucio, Anthony & Marisela                Clair, Bridget                                 Clark, Carl
3306 Cordelia street                      3071 19th Pl. SW                               4876 Mountain Road
Tampa, FL 33607                           Largo, FL 33774                                Pasadena, MD 21122




Clark, David                              Clark, Patti & Shawn                           Clark, Wayne & Myrna
4910 Flagstone Dr.                        1332 Pasadena Avenue S., Apt. 608              6833 Coral Cir.
Sarasota, FL 34238                        St. Pete, FL 33707                             Sarasota, FL 34243




Clarke, Perry & Brenda                    Clasen, Tyler                                  Clayton - Chybar, Velma
1756 Albemarie Road                       6516 Beach Blvd.                               4 Pine Course Trace
Clearwater, FL 33764                      Hudson, FL 34667                               Ocala, FL 34472




Clayton, Veronika                         Cleophat, Stanley & Nirvae                     Clermont, Lawrence
117 New Hope Rd.                          12130 Colonial Estates Lane                    2841 Englewood Dr.
Brandon, FL 33510                         Riverview, FL 33579                            Largo, FL 33771




Cleveland, Betty & David                  Clinger, John                                  Coates, Bobby
3883 Creek Bed Cir                        7440 Oak Vista Circle                          4908 Turtle Creek Trail
St. Cloud, FL 34769                       Tampa, FL 33634                                Oldsmar, FL 34677




Coats, Michael & Susan                    Cobb, Christopher & Christine                  Cochran, Anna & David
7220 Alafia Ridge Loop                    928 Osprey Lane                                5270 56th Ave North
Riverview, FL 33569                       Rockledge, FL 32955                            St. Petersburg, FL 33709




Cochrane, Peggy                           Cockefair, John & Kristen                      Cockrell, Evelyn
Laura Lee Gwinn                           1737 Manchurain Street                         2844 Harbor Grace Ct.
29307 Schinecock Hills Lane               Groveland, FL 34736                            Apopka, FL 32703
San Antonio, FL 33576



Cohan, Andrew                             Coheley, Tim                                   Cohen, Richard & Sylvia
199 W. Browning, Dr                       7818 Davis Street                              1831 30th St
West Palm Beach, FL 33406                 Port Richey, FL 34668                          Orlando, FL 32805
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                                           Cole, Anthony & Tiffanie                      Cole, Bradford
Colarte, Reinaldo & Karla                  2106 Whitlock Place                           P.O. Box 1112
5369 Dornich Dr.                           Dover, FL 33527                               Kathleen, FL 33849-1112
Auburndale, FL 33823



Cole, Mary                                 Colegrove, Kim & Brent                        Coleman, Larry & Wendy
851 Cardinal Ave.                          12505 Queensland Lane                         6316 Magnolia Trail Lane
Rockledge, FL 32955                        Tampa, FL 33625                               Gibsonton, FL 33534




Coletti, Brian                             Collazo, Keith & Nancy                        Collier, Lori
2210 Rising Creek Court                    6416 24th Ave East                            1179 Howell Creek Drive
Dunedin, FL 34698                          Bardenton, FL 34208                           Winter Springs, FL 32708




Collier, Thomas                            Collins, Clifton                              Collins, James & Lisa Pagan
3803 Carnaby Drive                         18103 Emerald Bay St.                         4061 53rd Ave N
Oviedo, FL 32765                           Tampa, FL 33047                               St. Pete, FL 33714




Collins, Shane & Laura                     Colon, Felix & Larissa                        Colon, Lexcibel
12807 Longcrest Drive                      3433 Lithia Pinecrest Rd. # 286               7709 Rock Palm Ave
Riverview, FL 33579                        Valrico, FL 33596                             Tampa, FL 33615




Colon, Thomas & Michelle                   Colon, Vanessa & Noel                         Combs, Teresa
222 Parkview Drive                         261 North Edgemon Ave                         2034 20th Ave.
Venice, FL 34293                           Winter Springs, FL 32708                      Indian Rocks Beach, FL 33785




Conage, William & Keshia                   Conard, Randy                                 Conerly, Darlina & David
8301 W. Marks St.                          140 North East Ave.                           130 Vandolach Rd.
Tampa, FL 33604                            Iverness, FL 34453                            Wauchuala, FL 33873




Confer, Richard & Donna                    Conley, Stephen & Shannon                     Connard, Mark and Julie
2009 Long Branch Lane                      3 Dahlia Drive                                403 Jasmine Way
Clearwater, FL 33760                       Homosassa, FL 34446                           Clearwater, FL 33756




Conners, Katherine & Ronald                Conover, Jeffrey & Barbara                    Conroy, John & Teresa
4482 Ascot Circle N.                       7208 South Saint Patrick St.                  733 East Law Drive
Sarasota, FL 34235                         Tampa, FL 33616-1827                          Celebration, FL 34747




Consiglio, Debra                           Constant, Steven & Davida                     Conte, Lori & Charles
9166 Outpost Drive                         10102 Garden Retreat Court                    5989 Deer Lane
New Port Richey, FL 34654                  Tampa, FL 33647-3142                          Coacoa, FL 32927
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                                           Conti, Patricia & Francis                   Contreras, Toni & Eduardo
Conti, Marilena & Carlo                    7185 S. Hwy A1A                             845 Songbird Dr.
1314 Ann Circle                            Melbourne Beach, FL 32951                   Orange Park, FL 32065
Clearwater, FL 33756



Cook, David & Mary Ann                     Cook, Kimberly & Lee                        Cook, Preston & Kimberly
P.O. Box 821                               14348 Stamford Circle                       14348 Stamford Circle
Lake Hamilton, FL 33851-0821               Orlando, FL 32826                           Orlando, FL 32826




Cook, Randolph & Deborah                   Cook, Tammy & Chris                         Cook, Wallace
8800 Bonica Place                          PO Box 462                                  2778 Wyndham Way
Land O'Lakes, FL 34637                     St. Petersburg, FL 33731-0462               Melbourne, FL 32940




Cook, Wallace & Judith                     Cooper, Patricia                            Copes, Tracy
P.O. Box 56725                             13631 Stacy Drive                           7216 Colonial Lake Dr.
Rockledge, FL 32956-2725                   Hudson, FL 34667                            Riverview, FL 33578




Copp, Frank                                Coppa, Damian & Kimberly                    Corano, Sylvia & John
P.O. Box 1524                              9226 Amazon Dr                              13315 24th CT N
Port Elgin, New Brunswick                  New Port Richey, FL 34655                   Loxahatchee, FL 33470
Canada,



Corbett, Lisa                              Corbett, Michael                            Cordeiro, Jack & Alda
Velton Corbett                             15748 Northside Dr. W                       8209 West Crenshaw
4691 Duera Mae Dr.                         Jacksonville, FL 32218                      Tampa, FL 33615
Ft. Myers, FL 33908



Corder, Vickie                             Cordoba, Veronica                           Corell, Lawrence & Patricia
6122 Bartram Village Dr.                   704 Cumberland Terrace                      945 Inlet circle
Jacksonville, FL 32258                     Davie, FL 33325                             Venice, FL 34285




Corhern, Patrick & Rita Mask               Corinti, Rosemary                           Cornwell, Alma & Richard
2968 Glenpark Rd                           12343 Cloverstone Dr.                       8708 Merseyside Ave.
Palm Harbor, FL 34683                      Tampa, FL 33624                             Jacksonville, FL 32219




Corona, Claribel                           Coronado, Adalberto & Lunie                 Correa, Abinis
828 Scrub Jay Drive                        11826 Stonewood Gate Dr.                    8737 Exposition Drive
St. Augustine, FL 32092                    Riverview, FL 33579                         Tampa, FL 33626




Correa, Alma & Marcelino                   Corrigan, Deborah & Thomas                  Corsi, Thomas
11817 Hickory Nut                          3635 Lake Joyce Dr.                         3520 Queen Street North
Tampa, FL 33625                            Land O'Lakes, FL 34639                      St. Petersburg, FL 33713
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                                           Corujo, Jose                                  Cosby, Daniel & Tanya
Cortes, Kathryn                            Jennifer Brito                                18401 Holland house loop
420 Carriage House Lane                    12773 NW 11th Ct.                             Land O'Lakes, FL 34638
Tarpon Springs, FL 34688                   Sunrise, FL 33323



Cote, Wendy                                Cotton, Claude & Ruthie                       Couch, Jacqueline
2303 Washinton Rd.                         5211 Windlaff Ave                             Francis Conti
Valrico, FL 33594                          Tampa, FL 33625                               P.O. Box 2428
                                                                                         PMB 22365
                                                                                         Pensacola, FL 32513-2428


Couch, Mark                                Counselman, Patricia                          Courtcall
2344 28th Ave East                         4027 NW 69th Terrace                          6383 Arizona Circle
Palmetto, FL 34221                         Coral Springs, FL 33065                       Los Angeles, CA 90045




Courtenay-Miller, Jane Louise              Courtney, Jerry & Deborah                     Cousin, Anthony & Cynthia
9510 59th Ave. E.                          15121 Nighthawk Dr.                           3106 East 10th Ave.
Bradenton, FL 34202                        Tampa, FL 33625                               Tampa, FL 33605




Covell, Cheryl & Rick Ressler              Cowan, Michael                                Cox, James and Wendell
7282 Onyx Dr. N.                           6004 Kaley Dr.                                2703 Cedarcrest Place
St. Petersburg, FL 33702                   Winter Haven, FL 33880                        Valrico, FL 33596




Cox, Jamey & Lucinda                       Coyle, States                                 Coyle, William & Diane
1689 Gregory Drive                         412 South Country Club Drive                  6327 Tower Rd.
Deltona, FL 32738                          Atlantis, FL 33462                            Land O'Lakes, FL 34638




Coyne, Rosalie                             Craddock, Robert & Linda                      Craddock, Robert & Linda
6000 5th Ave N                             PO Box 47242                                  1448 Beaconsfield Dr.
St. Pete, FL 33710                         Tampa, FL 33646-7242                          Wesley Chapel, FL 33543




Craft, Karen & Wayne                       Craig, Dennis                                 Craig, Douglas & Dawn
55 Brook Farm Village                      Mylene Craig                                  4478 Alligator Dr.
Rochester, NH 03839                        1638 Brandywine Way                           New Port Richey, FL 34053
                                           Dunedin, FL 34696



Craig, Fraser                              Crane, Lynda                                  Crawford, Charles & Sandra
1015 Brenton Leaf Drive                    10320 Carrollwood Lane #62                    2401 Woodway Drive
Ruskin, FL 33570                           Tampa, FL 33618                               Orlando, FL 32837




Creech, Ana                                Creighton, Clara S.                           Crenshaw, Pamela
5224 Brighton Shore Drive                  3339 Anna George Dr.                          James McCarthy
Apollo Beach, FL 33572                     Valrico, FL 33596                             1640 Juno Trail # 105A
                                                                                         Astor, FL 32102
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                                           Crespo, Jeffrey & Daneli                       Crews, Raynaldo
Creson, James & Wanda                      4747 W. Waters Ave - Apt 1615                  14648 Corkwood Drive
6206 Walsh Ln.                             Tampa, FL 33614                                Tampa, FL 33626
Tampa, FL 33625



Cribb, James & Maria                       Cristiani, Melisa & Tony                       Critchfield, Joshua, Amy & Nolan
1365 Windsor Harbor Drive                  3903 Copen Hagen St                            P.O. Box 1591
Jacksonville, FL 32225                     Sarasota, FL 34234                             Oldsmar, FL 34677-1591




Crithfeld, Duane & Jill                    Crithfield, Joshua                             Crocker, Thomas
PO Box 261386                              4927 Stolls Ave                                232 Pine Rd.
Tampa, FL 33685-1386                       Tampa, FL 33615                                Belleair, FL 33756




Crockett, Charles & Betty                  Croes, Joseph                                  Crosby, Jennifer & Antonio
5144 Londonderry Lane                      5006 98th Ave East                             9705 Maxson Drive
Wesley Chapel, FL 33543                    Parrish, FL 34219                              Land O'Lakes, FL 34638




Crose, Mitchell & Julie                    Crosier, Glenn                                 Crowe, Katherine
1580 Cumberland Lane                       10447 Fly Fishing St.                          8518 Woodall Court
Clearwater, FL 33755                       Riverview, FL 33569                            Tampa, FL 33615




Croxton, Muriel                            Cruz                                           Cruz, Carmen & Heriberto
Sharon Kane                                656 Bayway Blvd #2                             9308 Elmer Street
39939 Pretty Pond Rd.                      Clearwater Beach, FL 33767                     Tampa, FL 33612
Zephyrhills, FL 33540



Cruz, Eduardo & Maria                      Cruz, Irving & Nilda                           Cruz, Jose & Xochit
9202 Camino Villa Blvd                     10271 Estuary Drive                            555 Saturn Blvd. Unit 8332
Tampa, FL 33635                            Tampa, FL 33647                                San Diego, CA 92154




Cruz, Urban & Waleska                      Crystal, Michael & Alicia                      Csoka, Laszlo
11642 Branch Mooring Drive                 10619 Deepbrook Dr.                            1024 Wildrose Dr.
Tampa, FL 33635                            Riverview, FL 33569                            Lutz, FL 33549




Cuddyer, Robert and Michele                Cudnoski, Michael                              Cuevas, Ralph & Madelene
7707 West Powhatan Avenue                  129 30th Ave N.                                605 Oakpoint Cir.
Tampa, FL 33615                            St.Petersburg, FL 33704                        Davenport, FL 33837




Culbreth, Darryl                           Culbreth, Darryl & Michele                     Culbreth, Daryl & Michele
6439 John Alden Way                        15401 Porter Rd                                6439 John Alden Way
Orlando, FL 32818                          Winter Garden, FL 34787                        Orlando, FL 33615
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                                           Cunningham, Cynthia                         Cunningham, Samantha
Culver, Jacqueline                         5999 Rachele Dr.                            10947 109th Lane
15908 Eagle River Way                      Sarasota, FL 34243                          Largo, FL 33778
Tampa, FL 33624



Cunningham, Sarah                          Cunningham, Sarah & William                 Curatolo, Hilda & Mark
Mark Curatolo                              3852 Washburn Place                         13240 SW 33 Court
1312 Yale Place                            Wesley Chapel, FL 33543                     Davie, FL 33330
Hollywood, FL 33021



Currie, Mark & Jessica                     Curtis, Melford                             CyberlinkASP
710 Bama Rd.                               415 Lark Ct.                                PO Box 415000-0739
Brandon, FL 33511                          Kissimmee, FL 34759                         Nashville, TN 37241-0739




Cybula, Hanna                              Czernia, Shimon & Emma                      Czernia, Shimon & Emma
4343 Mcclung Drive                         Ultima Custom Shutters                      1932 Oro Ct.
New Port Richey, FL 34653                  12165 49th St. N                            Clearwater, FL 33764
                                           Clearwater, FL 33762



Czernia, Shimon & Jadwiga                  Czyz, Mark & Tracy                          D'Ettore, Joseph
1932 Oro Ct.                               1405 Storington Ave.                        PO Box 1661
Clearwater, FL 33764                       Brandon, FL 33511                           Oldsmar, FL 34677-1661




Dael, Wendy                                Dahn, Tim & Maria                           Dailey, Lawrence
360 Lewis Blvd. SE                         12291 Brimbank Court                        4557 Gallup Avenue
St. Petersburg, FL 33705                   Jacksonville, FL 32225                      Sarasota, FL 34233




Dalbey, Robert & Danielle                  Dalles, Robert & Joy                        Daly, Brian & Tara
10532 Walker Vista Dr.                     5634 Fieldspring Ave.                       7860 Stoneleigh Dr.
Riverview, FL 33569                        New Port Richey, FL 34655                   Land O' Lakes, FL 34637




Daly, Joseph & Marina                      Daly, Robert & Bridgit                      Dam, Thuy
19401 Melodya Fair Place                   4224 Amber Ridge Ln.                        11515 30th Cove East
Lutz, FL 33558                             Valrico, FL 33594                           Parrish, FL 34219




Damron, Thomas & Marie                     Dang, (Vuong) Minh                          Daniel, Clay & Jennifer
6222 NE 62nd St.                           13126 Greengage Lane                        5507 Raven Court
Silver Springs, FL 34488                   Tampa, FL 33612                             Tampa, FL 33625




Daniels, John Eric and Victoria Anne       Dansky, Francesca & Steven                  Danunzio, Wayne
6311 Curley Court                          3521 Gocio Rd                               16083 Hurban St
Jacksonville, FL 32216                     Sarasota, FL 34235                          Masaryktown, FL 34604
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                                          Darwin, Mary                                  DaSilva, Nestor & Zuleyma
Daprino, Maria and John
                                          2333 Feathersound Drive B301                  4871 Sable Pine Circle #A1
John S. Daprino
                                          Clearwater, FL 33762                          West Palm Beach, FL 33417
7654 Vienna Lane
Port Richey, FL 34668



Daskalpoulos, Michael                     Daugherty, Ray                                Daum, Anthony & Rachelle
10052 Oasis Palm Drive                    4415 Boyar Ave.                               8716 23rd St.
Tampa, FL 33615                           Long Beach, CA 90807                          Zephyrhills, FL 33540




Davis, Betty & Daniel                     Davis, Jeffrey & Peggy                        Davis, Joann
5715 Hwy 85 North #2091                   12410 SW 2nd Street                           1806 Nova Dr.
Crestview, FL 32536                       Plantation, FL 33325                          Valrico, FL 33596




Davis, Joanne                             Davis, Lisha                                  Davis, Lowell & Avis
4801 Osprey Drive SE                      4279 Brentwood Park Circle                    2106 Sparkman Road
St. Petersburg, FL 33711                  Tampa, FL 33624                               Plant City, FL 33566




Davis, Michael & Barbara                  Davis, Michael & Jonalyn                      Davis, Rolando
6172 Chambore Drive North                 3348 Tumbling River Drive                     2415 66th Ave South
Jacksonville, FL 32256                    Clermont, FL 34711                            St. Petersburg, FL 33712




Davis, Ronald                             Davis, Roy                                    Davis, Russell
8 Lloyd Way #C                            32 Thornton St.                               599 South Country Club Dr.
Ft. Benning, GA 31905                     Boston, MA 02119                              Lake Mary, FL 32746




Davis, Scott                              Davis, Stacy & Michele                        Davis, Sylvia
2804 West Paxton Ave                      5906 La Rose Lane                             6816 SW 11 Street
Tampa, FL 33611                           Apollo Beach, FL 33577                        Pemebroke Pines, FL 33023




Dawson, Adam                              Dawson, Nikki                                 Day, Cindy
1206 Hall Place West                      7840 Carriage Pointe Dr.                      5522 Caurus Court
Tampa, FL 33604                           Gibsonton, FL 33534                           Orlando, FL 32808




Day, Stephen & Samuel                     De Armond, Keith                              De La Cruz, Jenell & Rogelio
15601 Woodway Drive                       6160 NE 72 Place                              1039 Jahil Drive
Tampa, FL 33613                           Silver Springs, FL 34488                      Minnelow, FL 34715




De La Cruz, Jenell & Rogelio              Dean, Janette                                 Deane, Marvin & Ida
28544 Sonny Drive                         6053 John F. Kennedy Drive N                  4219 Seaberg Road
Wesley Chapel, FL 33544                   Jacksonville, FL 32219                        Zephyrhills, FL 33541
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                                          DeBlaiso, Anthony & Marie                     Debrosse, Carline
Debellonia, Wayne                         352 Portland Avenue                           10210 N. Ojus Dr.
9126 Prosperity Lane                      Spring Hill, FL 34606                         Tampa, FL 33617
Port Richey, FL 34668



Decarlo, Lynn                             Deckard, Edward & Victoria                    Decker, Donna
41325 Sleepy Lane                         2864 Lake Valencia Blvd E                     4035 31st Ave. N.
Weirsdale, FL 32195                       Palm Harbor, FL 34684                         St. Petersburg, FL 33713




Decoster, David                           Decoursy, Richard & Maria                     Decoveny, Michael & Veronica
2321 42nd Ave N                           2818 W. Marquette Ave.                        3950 Blooming Hill Ln.
St. Petersburg, FL 33714                  Tampa, FL 33614                               Palm Harbor, FL 34684




Decubas, Terri                            Dees, Richard                                 Deforest, Richard & Loretta
6824 SW 10th Street                       208 Bryan Oak Ave.                            12718 Barrett Dr
Pembroke Pines, FL 33023-1633             Brandon, FL 33511                             Tampa, FL 33624




DeFranco, Debra & Thomas                  DeFrank, Daniel                               DeJesus, Jean Canas & Marco
18018 Royal Forest Drive                  6700 34th Ave N                               2935 Pembridge Street
Tampa, FL 33647                           St. Petersburg, FL 33710                      Kissimmee, FL 34747




Dekom, Peggy & Michael                    Delachapelle, Daniel & Sara                   Delannoy, Sourilath & Thomas
22560 Lassen Street                       8690 52nd Lane                                5623 Brookdale Way
Chatsworth, CA 91311                      Pinellas Park, FL 33782                       Tampa, FL 33625




Deleary, Jennifer                         Delgado, Jorge                                Delgado, Jose
14428 Barley Field Dr;                    9905 Rainbow Lane                             495 Granite Circle
Wimauma, FL 33598                         Port Richey, FL 34668                         Chulouta, FL 32766




Delgado, Rhonda & Sigfredo                Dellaguardia, Joseph                          Dellecesse, Ruxton & Eileen
11927 Middleburg Dr.                      Myra Ugarte                                   8740 Tantallan Cir.
Tampa, FL 33626                           851 48th Ave. N.                              Tampa, FL 33647
                                          St. Petersburg, FL 33703



Delmas Alexander, Marie                   Delong, Betty                                 Delong, Brucec
5911 Willow Bridge Loops                  4365 4th Isle Dr.                             1521 W. Parklane
Ellenton, FL 34222                        Hernando Beach, FL 34607                      Tampa, FL 33603




Delose, Karen                             Demars, John & Ilnar                          Demas, Michael & Julie
428 Bay Tree Ln.                          14252 Spring Hill Drive                       3824 19th St. North
Longwood, FL 32779                        Spring Hill, FL 34609                         St.Petersburg, FL 33714
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                                           Demilly, Daniel & Joyce                       Demitro, Matthew & Kelly
Demers, Lisa & Jonas                       2009 7th Ave West                             15142 Peach Bloom Road
4505 Anaconda Dr.                          Bradenton, FL 34205                           Brooksville, FL 34014
New Port Richey, FL 34655



Demore, Nick C                             Denham, Roseanne                              Denning, April
826 - 29th Avenue North                    941 Bluewood Terr.                            2906 Mingo Drive
St. Petersburg, FL 33704                   Weston, FL 33327                              Land O'Lakes, FL 34638




Denning, Michael                           Dennis, Mark E.                               Deodhari, Haita & Alicia
8912 Aberden Creek Circle                  4000 24th St North #12                        29 Richard Somers Rd
Riverview, FL 33569                        St. Pete, FL 33714                            Granite Springs, NY 10527




Deosingh, Lisa & Mahase Manauth            Depaola, John                                 Depinto, Taralyn & Nicholas
3401 Paris Place                           1937 Palm Drive                               13236 Brutus Dr.
Orlando, FL 32818                          Clearwater, FL 33763                          Hudson, FL 34667




Derby, Michael & Karen                     Deremer, Patricia & Donald                    Derise, Louis & Susan
13313 Pinyon Dr.                           10850 Carloway Hills Dr.                      7214 Westcott Drive
Clermont, FL 34711                         Wimauma, FL 33598                             Port Richey, FL 34668




Desando, Angelo & Eliese                   Deschenes, Lori                               Desimone, Joseoh
2503 Holiday Lake Drive                    3084 18th Place SW                            15618 Greater Groves Blvd
Holiday, FL 34691                          Largo, FL 33774                               Clermont, FL 34714




Desjardin, Dawn                            Desoto, Philip & Celina                       Despirt, Steven & Julie
610 4th Ave. SW                            6852 Ashbury Drive                            15414 Little Road
Largo, FL 33770                            Lakeland, FL 33809                            Hudson, FL 34667




Devincenzo, Pasquale & Cindy               Devos, Allen & Sara                           Diane Bazarian, Dallas Bazarian
4562 Lullaby Rd.                           13970 Royal Pointe Drive                      14278 Copeland Way
North Port, FL 34287                       Port Charlotte, FL 33959                      Spring Hill, FL 34604




Diaz, Eliud & Betty                        Diaz, Grace                                   Diaz, Lenard
5114 Abisher Wood Lane                     3309 W. Aileen St.,                           Christine Diaz
Brandon, FL 33511                          Tampa, FL 33607                               5103 Erie Road
                                                                                         Parrish, FL 34219



Diaz, Luis                                 Diaz, Rochelle & Terrance                     Dickens, Lorenzo & Diane
Jacqueline Sanchez                         10718 Beagle Run                              2160 68th Avenue South
5742 Essex Isle Dr                         Tampa, Fl 33626                               St. Petersburg, FL 33712
Orlando, FL 32829
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                                           Dickson, Robert                              DiDonato, Donald
Dickson, Holly A.                          2539 Gary Circle # 505                       74 Buckskin Court
3403 Americana Dr.                         Dunedin, FL 34698                            Englewood, FL 34223
Tampa, FL 33634



Dienes, Joanne & William                   DiGiovanni, Leonardo                         Dilena, Ralph & Judith
9721 Sherman Dr.                           220 Lily St.                                 14720 Tudor Chase Drive
Citrus Springs, FL 34434                   San Francisco, CA 94102                      Tampa, FL 33626




Dill, Robert                               Dillon,Marilyn                               DiMarco, Don & Lawrence Spencer
3846 Stornoway Drive                       4093 Button Bush Circle                      1866 Pine Ridge lane
Land O'Lakes, FL 34638                     Lakeland, FL 33811                           Bloomfield, MI 48302




Dimmer, Paul                               Dinardo, Vincent & Maria Olarte              Dinaso, Janice & John
Erika Dimmer                               1712 Erin Brooke Dr.                         52 Bennett Ave
1632 Swamp Rose Ln.                        Valrico, FL 33594                            Staten Island, NY 10312
Trinity, FL 34655



DiNovo, Pete                               DiOliveira, Deborah                          Dion, Greg & Judith Frazier
Tina DiNovo                                Jose DiOliveira                              957 Dupin Ave.
2730 Micah Drive                           13081 Pirate Lane                            Port Charlotte, FL 33948
Trinity, FL 34655                          Spring Hill, FL 34609



DiPillo, Chester                           DiRisio, Robert                              Disbrow, Debra
878 Feathertree Circle                     2493 Island Club Way                         William John Disbrow
Clearwater, FL 33765                       Orlando, FL 32822                            3106 Parkwood Tr. NW
                                                                                        Cleveland, TN 37312



Disla, Genevieve & Carlos                  Divi, Angela                                 Dix, Theodore
4828 Everhart Drive                        3311 Russett Dr.                             Debra Dix
Land O'Lakes, FL 34639                     Tampa, FL 33618                              5617 Paddock Trail Drive
                                                                                        Tampa, FL 33624



Dixon, Ashley                              Dixon, John                                  Dobbins, Peter & Jerry
3309 W Aileen St.,                         7206 Trinity Place                           7203 N. Talia Ferro Ave
Tampa, FL 33607                            Tampa, FL 33610                              Tampa, FL 33604




Dobrzeniecki, Mieczyslaw                   Doepker, Mary & Dori                         Doherty-Santos Ella
108 11th Street                            1741 Eagles Nest Drive                       902 Samy drive
St. Augustine, FL 32080                    Bellair, FL 33756                            Tampa, FL 33613




Dolan, Thomas                              Domanico, Nancy                              Donahue, Michael-
26 Pizarro Ave                             PO Box 5745                                  Deborah Donahue
Novato, CA 94969                           Clearwater, FL 33758-5745                    25414 Sherwood Dr.
                                                                                        Land O'Lakes, FL 34639
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                                           Donaldson, Chris & Laura                      Donaldson, Stephen
Donald, Alice                              PO Box 7515                                   Anne Donaldson
9548 84th St. N.,                          Tampa, FL 33673-7515                          PO Box 349
Largo, FL 33777                                                                          Trilby, FL 33593-0349



Donawa, Gary                               Dong, Dae & Hye                               Donkin, Joel-
18410 Bridle Club Drive                    5609 Terrain De Golf Drive                    5016 Cypress Trace Drive
Tampa, FL 33647                            Lutz, FL 33558                                Tampa, FL 33624




Dorangrichia, Cherisse                     Dorcus, Nathaniel                             Dornseif, Vlenda & Thomas
10530 Waterview Ct.                        2511 Ridgeview Ct.                            15331 Penny Court
Tampa, FL 33615                            Parlin, NJ 08859                              Spring Hill, FL 34610




Dorsaneo, Alexandria                       Dorsett, Kendall                              Dossey, Mary E.
4246 SW 87th Terr                          500 North Osceola                             902 Edgedale Cir.
Davie, FL 33328                            Clearwater, FL 33755                          Brandon, FL 33510




Doty, Brian & Victoria                     Doty, James & Constance                       Dourm, Todd & Andrea
1008 N. Pennsylvania Ave.                  3334 Sparkling Drive                          7290 Onyx Drive N
Plant City, FL 33563                       Sebring, FL 33870                             St. Petersburg, FL 33702




Downey, Mary                               Downing, Dewana                               Downing, Robin
404 West Louisiana Ave                     3913 43rd Ave N.                              4035 10th Ave N
Tampa, FL 33603                            St. Petesburg, FL 33714                       St. Petersburg, FL 33713




Doyle, Kris & James                        Drake, Randall & Linda                        Drakeford, Karma
4930 Flamingo Lane                         1981 Promenade Way                            18755 Burndall Court
Ridge Manor, FL 33523                      Clearwater, FL 33760-1735                     Land O'Lakes, FL 34638




Drazkowski, Nicholas & Eida                Drescher, Robert & May Jane McKee             Drew, Ralph
2554 Davenport Circle                      716 Woodlawn Rd                               Kathryn Drew
Kissimmee, FL 34746                        Bradford Woods, PA 15015                      2771 E. Wildwood Road
                                                                                         Springfield, MO 65804



Drummond, George                           Dube, Patricia                                Dubose, Shane & Cindy
11504 Weston Course Loop                   3074 19th Place SW                            6248 Bennintin Street
Riverview, FL 33579                        Largo, FL 33774                               Englewood, FL 34224




Dudek, Martin & Linda                      Dumas, Marco                                  Dummitt, James
209 North Big Oaks Point                   209 Gornto Lake Road                          Nancy Dummit
Lecanto, FL 34461-8098                     Brandon, FL 33510                             1004 E. Norfolk
                                                                                         Tampa, FL 33604
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                                          Duncan, Robert                                Duncan, Wallace
Duncan, Paula                             1160 Garfield Avenue                          James Duncan
705 Leisure Ave                           Masaryktown, FL 34604                         6810 East Ida St.
Tampa, FL 33613                                                                         Tampa, FL 33610



Dunham, Maudeline                         Dunlap, William & Karen                       Dunson, Jennifer
Joseph Dunham                             6209 Riverside Drive                          Doris Dunson
1325 SW 151st Ave                         Yankeetown, FL 34498                          1159 S.W. Valencia Heights Ave.
Sunrise, FL 33326                                                                       Dunnellon, FL 34431



Dupree, Charles & Mikayle                 Dupuis, Michelle                              Dura, Vincent
4 Nighthawk Way                           8151 Sturbridge Ave.                          9635 S. Belfort Circle
Hampton, VA 23665                         Weeki Wachee, FL 34613                        Tamarac, FL 33321




Duran, Amey                               Durham ,John                                  Duthie, Iain & Veronica
3514 Hillgrove Rd.                        Lilia Durham                                  20811 79th Ave East
Valrico, FL 33596                         10948 NW 2nd Street                           Bradenton, FL 34202
                                          Plantation, FL 33324



Duty, Scott                               Dwyer, Steven                                 Dye, David & Sakiko
Denise Duty                               Brenda Dwyer                                  8632 Lake Isle Drive
11024 Stone Branch Drive                  1515 N. Lincoln Ct.                           Tampa, FL 33637
Riverview, FL 33596                       Arlington Heights, IL 60004



Dyer, Sharon                              Eacobacci, Louis & Patricia                   Eagam, Somaiah & Saraswathi
2040 Palomino Dr.                         427 Oriana Drive                              10818 Breaking Rocks Dr.
Titusville, FL 32796                      Spring Hill, FL 34609                         Tampa, FL 33642




Eannel, Rose                              Earley, eric-                                 Eastman, Christine
4142 Gray Squirrel Lane                   Jeanette Earley                               Roger Eastman
New Port Richey, FL 34654                 8225 Dunham Station Dr.                       PO Box 1379
                                          Tampa, FL 33647                               Marco Island, FL 34146-1379



Eaton, Debra                              Ebbert, Linda and Donald                      Eckert, Ronald & Katrina
Linda Banister                            6106 Ridgeway Dr                              2941 Summer Winds Court
1126 N. Cypress Pt. Dr.                   Zephyrhills, FL 33542                         St. Cloud, FL 34769
Venice, FL 34293



Eckert, Timothy                           Edides, Yana                                  Edmonds, Douglas & Toula
Krisitie Williamson                       34441 Windknob Court                          5303 SW 2nd place
3108 Caleb Drive                          Wesley Chapel, FL 33545                       Cape Coral, FL 33914
Austin, TX 78725



Edmonds, Rich                             Edwards, Edward D                             Edwards, Franklin Ray
Cassie Martell                            4805 Lewelly Rd.                              4210 Summerdale Drive
3545 Landale Dr.                          Lakeland, FL 33810                            Tampa, FL 33624
Holiday, FL 34691
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                                           Edwards, Louise                               Edwards, Patricia & Benjamin
Edwards, James David                       3201 E. 24th Ave                              2339 Oasis Dr.
4805 Lewelly Rd.                           Tampa, FL 33605                               Land O'Lakes, FL 34221
Lakeland, FL 33810



Edwards, Paul                              Edwards, Tracy & Clifton                      Egides, Yana
19051 SW 6th Street                        1120 W. Wassau Street                         Ruben Tetsoshvili
Pembroke Pines, FL 33332                   Tampa, FL 33607                               34441 Windknob Court
                                                                                         Wesley Chapel, FL 33545



Ehlers, Alesia                             Ehly, Christine                               Ehman, Melanie
William Ehlers, Jessica Ehlers             7595 Alonda Way                               7322 Manatee Ave W. #129
4111 Maywood Dr.                           San Diego, CA 92126                           Brandon, FL 34209
Brandon, FL 33511



Eicholtz, Mark & Maricela                  Elgamil, Azzam                                Elias, Letica
5160 Huntington Cir NE                     167 Biltmore Ave                              542 Flower Fields Lane
St. Pete, FL 33703                         Palm Bay, FL 32905                            Orlando, FL 32824




Elias, Valerie                             Elliott, Barbara                              Elliott, Rufus
322 Karen Avenue Unit# 3608                4250 Gulf Club Lane                           Rebecca Elliott
Las Vegas, NV 89109                        Tampa, FL 33618                               116 Sunny View Lane
                                                                                         Lexington, SC 29073



Ellis, Ashley                              Ellis, David                                  Ellis, David
1323 Crimson Clover lane                   Deneen Ellis                                  Suzanne Ellis
Wesley Chapel, FL 33543                    1738 San Mateo Dr.                            881 Brookstone
                                           Dunedin, FL 34698                             Merritt Island, FL 32952



Ellis, David & Suzanne                     Ellis, Holly                                  Ellis, John
PO Box 552725                              9923 Janette Lane                             PO Box 562725
Cocoa, FL 32956-2725                       Clermont, FL 34711                            Rockledge, FL 32940-2725




Ellis, Melissa                             Ellison, Chiemi                               Ellixson, Janise
4404 Terry Loop                            598 Fronda Ave. SW                            401 Laura Lane
New Port Richey, FL 34652                  Palm Bay, FL 32908                            Mt. Dora, FL 32757




Elmohd, Awatef & Fawzi                     Elmore, Eugene & Sheila                       Eltayeb, Zofia
18209 Collridge Drive                      618 Sunrise Ave.                              Bushra El Teyeb Babiker
Tampa, FL 33647                            Winter Springs, FL 32708                      3491 58t Street North
                                                                                         St. Petersburg, FL 33710



Ely, Gregory                               Elysee, Marta                                 Emerson, James
7640 46th Way N.                           18218 Sandy Pointe Drive                      1372 Palmetto Street
Pinellas Park, FL 33781                    Tampa, FL 33647                               Clearwater, FL 33755
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                                           Enerson, Jon & Kimberly                       Enfinger, Mark & Loretta
Emile, Mirline
                                           9901 Rainbow Lane                             17793 Northwest 175th Ave
Marie Johane Mirline
                                           Port Richey, FL 34688                         Alachua, FL 32615
3506 King Richard Ct.
Seffner, FL 33584



Eng (Carpenter), Eric                      Ennis, Jason                                  Epps, Amanda
Catherine Eng                              10135 Holcomb Court                           Lawrence Epps
12891 Kelsey Island Drive                  Orlando, FL 32836                             860 Tartan Loop
Jacksonville, FL 32224                                                                   Lake Wales, FL 33853



Epton, Marc                                Erickson, David                               Ericksons
Lorraine Epton                             Martha Erickson                               12651 Metro Parkway
6782 Kenwood Drive                         2630 Hillsdale Ave                            Ft. Myers, FL 33966
North Port, FL 34287-5506                  Largo, FL 33774



Eriksson, Pier                             Erlichson, Peter                              Ermscher, Todd
Shaharzad Eriksson                         618 Saxony Blvd.                              1155 73rd Ave
4352 Yans Court                            St. Petersburg, FL 33716                      Seminole, FL 33772
Wesley Chapel, FL 33543



Ervin, Randy                               Esperanza, Caesar                             Esquire Deposition Services
Andrea Ervin                               Reneiria Esperanza                            2700 Centennial Tower
4319 Balington Dr.                         31026 Creekridge Drive                        101 Marietta St.
Valrico, FL 33594                          Wesley Chapel, FL 33543                       Atlanta, GA 30303



Ester, Jason                               Esteras, Ismael                               Estes, Robert
Jennifer Ester                             Alma Esteras                                  2701 Lakewood Lane
1826 Bottlebrush Way                       1526 Gardner Dr.                              Eustis, FL 32726
North Port, FL 34289                       Lutz, FL 33559



Estrada, Luis and Yelitza                  Estrada, Rafael & Elena                       Etheridge, James
4528 Portobello Circle                     110 1/2 West Kirby St                         4560 Chambliss Drive
Valrico, FL 33596                          Tampa, FL 33604                               Winter Haven, FL 33884




Eusted, Stephen                            Evans, Deborah                                Evans, Ronald J.
Brenda Eusted                              6289 90th Ave N                               Sandra Evans
618 Jackson St.                            Pinellas Park, FL 33782                       1433 Forest Edge
Eustis, FL 32726                                                                         Oldsmar, FL 34677



Evans-Lomax, Carolyn                       Everett, Gloria & John                        Everly, Rita
Bridget Reaves                             2060 Palm View Dr                             551 Somerset Drive
5312 St. Circle East                       Apopka, FL 32712                              Auburndale, FL 33823
Bradenton, FL 34203



Eyer, Traci                                Fabbiani, Michael                             Fager, Jared
2136 Bruechneu Dr                          1420 Celebration Blvd, Suite 200              804 South Newport Ave.
Sarasota, FL 34231                         Celebration, FL 34747                         Tampa, FL 33606-2935
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                                            Fahmy, Ramy & Maria                            Fahrner, William
Fagoh, Mark
                                            1901 42nd Ave North                            Lisa Fahrner
Bonnie Fagoh
                                            St. Pete, FL 33714                             527 SE 25th Terrace
4044 27th Street SE
                                                                                           Cape Coral, FL 33904
Ruskin, FL 33570



Faiola, Barbara                             Fairbanks, Vance & Denise                      Faison, Dana & Kimberly
4801 King Lake Drive                        5110 W. Idlewild                               3231 Winchester Estates Cir.
Land O'Lakes, FL 34639                      Tampa, FL 33634                                Lakeland, FL 33810




Falconer, Mandi                             Falgoust, Michael                              Falkner, Thomas & Tamara
4355 Fay Blvd.                              5501 92nd Terrace                              10715 Riverbank Terrace
Cocoa, FL 32927                             Pinellas Park, FL 33782                        Bradenton, FL 34212




Falligant, Francis                          Falloon, Stephanie                             Fann, Adore
Kelly Falligant                             8250 Donaldson Drive                           Sheryl Lee Fann
1505 Bent Oaks Blvd.                        Tampa, FL 33615                                141 Wilbur Lane
Deland, FL 32724-8046                                                                      Lawrenceville, GA 30044



Farhadi, Adelina                            Farmer, William & Janice                       Farr, Bobbi
11414 Inn Fields Drive                      10114 Allenwood Drive                          3704 Orangecrest St.,
Odessa, FL 33556                            Riverview, FL 33569                            Valrico, FL 33596




Farr, Kristi                                Farrant, Timothy & Carolh                      Farrell, Jennifer
3704 Orangecrest St.                        10704 Airview Drive                            4917 North Suwanee Ave.
Valrico, FL 33596                           Tampa, FL 33625                                Tampa, FL 33603




Farrell, Luxley                             Farrell, Veatrice                              Farrington, Robert
3948 38th St. South                         1125 2nd Ave South                             1523 West Mohawk Ave
Saint Petersburg, FL 33714                  Tierra Verde, FL 33715                         Tampa, FL 33603




Farris, Jonathan David                      Fauteux, Randy                                 Favale, Thomas & Dalia
9922 56th Way N                             4238 Coyote Trail                              1324 Crimson Clover Lane
Pinellas Park, FL 33782                     Polk County, FL 33868                          Wesley Chapel, FL 33543




Feaser, Thomas                              Feldman, Digna                                 Feldman, Steve & Jeannie
8941 Southbay Drive                         1551 Chateaux Deville St.                      21 Gingerwood Drive
Tampa, FL 33615                             Clearwater, FL 33764                           Homassa, FL 34446




Feliciano, Eliezer                          Felix, Jose                                    Feliz, Guidmel
Stephanie Feliciano                         Liza Felix                                     2213 Pleasure Run Dr.
9404 N. 21st                                15535 Bay Vista Drive                          Ruskin, FL 33570
Tampa, FL 33612                             Clermont, FL 34714
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                                           Felt, Ralph                                   Felty, Holly (Dickson)
Felker, Alan                               Rachel Felt                                   3403 Americana Dr.
18007 Crawley Rd                           1215 Blue Spring Ct.                          Tampa, FL 33634
Odessa, FL 33556                           Ocoee, FL 34761



Ferguson, Clifford & Amber                 Ferguson, Mark                                Ferhatovic, Edita
1020 Cayman Dr                             Sherry Ferguson                               9940 7th Way N. #203
Melbourne, FL 32901                        7937 9th Ave South                            St.Petersburg, FL 33702
                                           St. Petersburg, FL 33707



Fern, Penni                                Fernandes, Paul                               Fernandes, Sheila
1935 Robin Hood Court                      10425 Okeechobee Rd                           Peter Fernandez
Titusville, FL 32496                       Ft. Pierce, FL 34945                          11832 Daneswood Court
                                                                                         Orlando, FL 32821



Fernandez, Alan                            Fernandez, Daniel                             Fernandez, Sandra
6348 Wooden Street                         10011 Spanish Cherry Court                    13135 Royal George Ave.
New Port Richey, FL 34653                  Tampa, FL 33647                               Odessa, FL 33556




Ferraroli, Susan                           Ferrer, Ricardo                               Ferrero, Ryan
688 Jessandra Circle                       1695 Sarong Place                             18127 Back Stretch Lane
Lakeland, FL 33813                         Winter Park, FL 32792                         Tampa, FL 33647




Ferriere, Crystal                          Ferris, Phyllis                               Fetter, Linda
11458 Sweet Cherry Lane South              665 Concord Ave                               22815 Richardson Lane
Jacksonville, FL 32225                     Titusville, FL 32780                          Land O'Lakes, FL 33639




Fetzer, James & Bonnie                     Fewer, Elsie                                  Fey, Thomas & Elizabrth
538 A street                               3930 Versailles Drive                         PO Box 18103
LaVale, MD 21502                           Tampa, FL 33634                               Tampa, FL 33679-8103




Ficarra, Constance & Jody                  Fictum, Leslie & Sherry                       Fields, Alan & Lynne
1245 Mystic Way                            6211 51st Ave N                               90 SW Third Street Apt 908
Wellington, FL 33414                       St. Pete, FL 33709                            Miami, FL 33130




Fields, Elizabeth & Jodi                   Fields, Randolph                              Fierroz, Manuel
11001 North Armenia Ave.                   2625 SW Monterrey Lane                        15807 Crying Wind Dr.
Tampa, FL 33612                            Port St. Lucie, FL 33647                      Tampa, FL 33624




Figueroa, Eddie & Wanda                    Figueroa, Freddie                             Figueroa, Juan
5432 Cape Hatteras Drive                   Tammy Figueroa                                Myrna Rivera
Clermont, FL 34715                         3030 Shady Acres Rd.                          2138 Mediana Hills Lane
                                           Dover, FL 33527                               Mascotte, FL 34753
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                                           Figueroa, Virgina                               Figueroa, Wilberto
Figueroa, Ronald
                                           2920 Sheringham Rd                              Gilberto Figueroa-father
Mekisha Rivera
                                           Orlando, FL 32808                               2630 Capp Circle
2964 Gimlet Dr.
                                                                                           Kissimmee, FL 34744
Deltona, FL 32738



Finch, Alison                              Finch, Edward & Caroline                        Fincke, Richard Sr.
710 59th Ave                               7095 Toledo Road                                7424 Compton Ln.
St. Pete Beach, FL 33706                   Spring Hill, FL 34606                           New Port Richey, FL 34655




Fink, Benjamin                             Finn, Marka                                     First Choice Reporting & Video Svcs
Amanda Fink                                2066 Butternut Circle East                      121 S. Orange Ave., Suite 800
17756 Espirit Dr                           Clearwater, FL 33763                            Orlando, FL 32801
Tampa, FL 33647



Fisher, Don                                Fishman, Douglas                                Fitzpatrick, Christina
6936 Country Lakes Circle                  Bridgid Fishman                                 7426 Cypress Drive
Sarasota, FL 34243-3803                    4710 W. Beumont St.                             New Port Richey, FL 34653
                                           Tampa, FL 33611



Flanagan, James & Martha                   Flateau, Mark & Sharon                          Fleetwood, Willard
P.O. 162292                                701 S. Oakwood Avenue                           Antonette Fleetwood
Akmonte Springs, FL 32716-2292             Brandon, FL 33511                               6408 Ridgetop Drive
                                                                                           New Port Richey, FL 34655



Fletcher, Richard                          Flinchbaugh, David & Heidi                      Florea, Linda
Dana Fletcher                              4855 Big Oaks Lane                              654 E. Swanson
8162 Woodvine Circle                       Orlando, FL 32806                               Groveland, FL 34736
Lakeland, FL 33810



Florea, Regio                              Flores, Emmanuel & Sylvia                       Flores, Marcos & Margarita
1620 Lake Harney Rd                        5074 Beach River Rd                             1333 Maximilian Dr.
Geneva, FL 32732                           Windermere, FL 34786                            Wesley Chapel, FL 33543




Flowers, Donnie                            Fluke, Sharon                                   Flynn, Gary
1316 E. 15th St                            118 Kent Rd                                     Ribin Flynn
Tampa, FL 33605                            Lakeland, FL 33809                              1620 Timbercrest Drive
                                                                                           Deltona, FL 32738



Focht, Deborah                             Fogell, Dennis& Lisa                            Foil, Darrin & Bethany
1613 Ingram Ave                            4725 Montrose Ave.                              4130 Noble Place
Sarasota, FL 34232                         Ponce Inlet, FL 32127                           Parrish, FL 34219




Forcilus, Yves & Immacula                  Ford, Jan                                       Forrest, Elizabeth
1718 Atlantic Drive                        910 E. Labright St.                             Ryland Forrest
Ruskin, FL 33570-4903                      Tampa, FL 33604                                 22 Surf Drive
                                                                                           Palm Coast, FL 32137
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                                           Fortich, Ralph & Karen                        Foss, Valerie & Richard
Fortich, Allen                             11419 Cypress Hill St.                        178 Clairbourne Ave
PO Box 570130                              Clermont, FL 34711                            Satellite Beach, FL 32937
Whitestone, NY 11357-0130



Foster, Cameron & Melissa                  Foster, Jodee                                 Foster, John
3306 Lake Saxon Drive                      Earnest Foster                                Amy Foster
Land O'Lakes, FL 34639                     36721 Emeralda Island Rd                      106 Tanglewood Ct
                                           Leesburg, FL 34788                            Safety Harbor, FL 34695



Foster, John and Amy                       Foster, Lori                                  Foster, Mark
1122 Knollwood Drive                       40406 Grays Airport Rd.                       Vickie Foster
Safety Harbor, FL 34695                    Lady Lake, FL 32159                           181 Cypress Rd
                                                                                         Venice, FL 34293



Fountain, Ryan                             Fowler, Mark                                  Foy, Kimberly
Ami Fountain                               PO Box 67016                                  Jon Pleveich
2130 E. Leewynn Dr.                        St. Pete Beach, FL 33706-7016                 1232 Poinsettia Ave
Sarasota, FL 34240                                                                       Orlando, FL 32804



France, F. Lane                            Frances (Morales)                             Francheschini, Lisa
Darla France                               Brian Cain                                    Lance Anderson
11704 Lipsey Rd.                           2017 Gold Spring Cove                         1009 Tuscanny St.
Tampa, FL 33618                            Kissimmee, FL 34743                           Brandon, FL 33511



Francis, Courtney                          Francisco, Trisha                             Frank, Bruce
850 Lime St # 2046                         411 Corbett Rd.                               4045 Davenport Lane
Tarpon Springs, FL 34688                   Lithia, FL 33547                              Mount Dora, FL 32757




Franklin, Marcus                           Franklin, Steven                              Fraser, Boyd
Melissa Franklin                           Marji Franklin                                Shirley Smith
508 Hildale Road                           3995 Dixie Dr.                                827 North Lake Shore Blvd.
Brandon, FL 33510                          Howey in the Hills, FL 34737                  Lake Wales, FL 33853



Frasheri, Alban & Laura                    Frasier, Douglas                              Freas, Mark L.
384 Keating Drive                          301 Papaya Circle                             23108 Peachland Blvd.
Largo, FL 33770                            Barefoot Bay, FL 32976                        Port Charlotte, FL 33954




Fredrickson, Blake                         Freed, Richard                                Fretz, Richard & Frances
17723 Clarendon Dr.,                       Meredith Freed                                7100 Sunshine Skyway Lane South #303
Tampa, FL 33624                            2029 NW 4th Street                            St. Petersburg, FL 33711
                                           Cape Coral, FL 33992



Frew, Robert L. and Janet H.               Frias, Eduardo                                Fritch, Michael
4817 Holiday Drive                         10916 Australian Pine Drive                   Brooke Fritch
Tampa, FL 33615                            Riverview, FL 33579                           6121 Castleton Hollow Road
                                                                                         Riverview, FL 33578
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                                          Frost, Alan                                   Fry, Thomas & Cynthia
Fritz, Charles                            20566 Grand Lakes Drive                       1907 E Broad Street
1250 Pine Island Rd.                      Palm Harbor, FL 34684                         Tampa, FL 33610
Merritt Island, FL 32953



Fulton, Vanessa                           Fury, Mari                                    Fuxan, Marylee
Jerry Fulton                              16610 Wacombs Ln.                             6924 Lake Place Court
2840 WestBay Dr. Unit 202                 Springhill, FL 34610                          Tampa, FL 33634
Bellair Bluffs, FL 33770



Gaal, Patricia                            Gabriel, Vida & Daniel                        Gacon, Ewa & Leszek
Peter Gaal                                2820 SW 47th Terrace                          14609 Sutherland Avenue
853 Clematis Road                         Cape Coral, FL 33914                          Naples, FL 34119
Venice, FL 34243



Gadette, Rudolph                          Gadson, Chester                               Gafford, Sherri
5129 Al Jones Dr                          P.O Box 11182                                 6813 Shamrock Road
Shady Side, MD 20764                      Tampa, FL 33680-1182                          Tampa, FL 33616




Gagliardi, Beverly                        Gagnon, Paul                                  Gainous, Kale
425 Devon Place                           Katie Gagnon                                  PO Box 531714
Lake Mary, FL 00033-2746                  1530 Portsmouth Lake Dr                       St. Petersburg, FL 33747-1714
                                          Brandon, FL 33511



Gainous, Kale                             Galeano, Beatrice                             Gall, Holly K.
6408 Larmen Street                        16839 SW 49th Court                           3318 MLK St. N.
Tampa, FL 33634                           Miramar, FL 33027                             St.Petersburg, FL 33704




Gallagher, Dennis                         Gallio, Donna & Edward                        Gallipoli, Melinda & Gerald
Nancy Gallagher                           4614 W. Bay Court Ave                         2931 Mingo Dr.
4709 Ashton Court                         Tampa, FL 33611                               Land O'Lakes, FL 34638
Tampa, FL 33624



Gallipoli, Richard                        Gallo, Brad                                   Galt, Keegan
12416 Queensland Lane                     2116 West St. Isabel St.                      14909 Oldgate Place
Tampa, FL 33625                           Tampa, FL 33607                               Tampa, FL 14909




Gambino, Jennifer                         Gander, Donald                                Garcia, Anthony & Kiecia
4833 Foxshire Circle                      Samantha Friello                              4212 Medbury Drive
Tampa, FL 33624                           1910 East 98th Ave                            Wesley Chapel, FL 00033-4543
                                          Tampa, FL 33612



Garcia, Erik & Irena                      Garcia, Kenneth                               Garcia, Marcos
4986 SW 166th Loop                        14660 SE 100th Ave.                           2521 Harn Blvd. #1
Ocala, FL 34473                           Summerfield, FL 34491                         Clearwater, FL 33764
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                                         Garcia, Maria & Jorge                         Garcia, Omayra & Waldemar
Garcia, Maria                            1511 Gertrude Drive                           2544 Crown Ridge Dr.
8314 Moccasin Trail Drive #D             Brandon, FL 33511                             Kissimmee, FL 34744
Riverview, FL 33578



Garcia, Teresa                           Gard, Angela                                  Gard-Studer, Angela
1230 Gulf Blvd Apt 902                   3115 W. Nassau St                             4612 W. Bay to Bay Blvd.
Clearwater, FL 33767                     Tampa, FL 33607                               Tampa, FL 33629




Gardin, Hugo                             Gardner, Keith                                Gardner, Ronald
23608 Vistamar Court                     8041 Fawnridge Circle                         1525 Bonview Ave
Land O'Lakes, FL 34639                   Tampa, FL 33610                               Deltona, FL 32738




Garduno, Edward & Patricia               Gargano, Michael                              Garnett, April
7912 Savannah Palm Place                 3160 North Eisenhower Ave.                    14 Tanglewood Cir
Tampa, FL 33615                          Hernando, FL 34442                            Fort Walton Beach, FL 32547




Garnica, Tania                           Garreto, Giacomo                              Gary, Blanche
Kevin Calderon                           c/o Shri Prashad                              8008 East Leigh Court
2700 Clay Whaley Rd.                     10447 Fly Fishing St.                         Temple Terrace, FL 33637
Saint Cloud, FL 34772                    Riverview, FL 33569



Gary, Doris & Sunil                      Garza, David                                  Garza, Juan & Lourdes
14909 Old Pointe Rd.                     3004 W Arch Street                            833 Rocky Mountain Ct
Tampa, FL 33613                          Tampa, FL 33607                               Valrico, FL 33594




Gash, Geoffrey                           Gaskill, Joanna and David Sr.                 Gaskin, Jerald
5205 Landsman Ave.                       P. O. Box 1041                                1211 Terra Mar Drive
Tampa, FL 33625                          Altoona, FL 32702-1041                        Tampa, FL 33613




Gaskin, Jerald                           Gastineau, Max & Lori Lesanti                 Gates, Harmony
236 Old Panama Hwy                       Lori Lesanti                                  718 Holly Terrace
Wewachitchka, FL 32465                   393 Hammocks Drive                            Brandon, FL 33511
                                         Orchard Park, NY 14127



Gates, Paul and Sherry                   Gaul, Dennis                                  Gause, Erick
41 Folfon Ave                            Peggy Gaul                                    1801 Middle River Drive #6
Millville, NJ 08332                      810 Neptune Street                            Ft. Lauderdale, FL 33305
                                         Port Charlotte, FL 33948



Gause, Erick & Samantha                  Gayle, Suzanne & Debra                        Gaynor, Jan
27602 Breakers Dr                        19709 Prince Benjamin Dr                      2491 Cypress Trace Cir.
Wesley Chapel, FL 33544                  Lutz, FL 33549                                Orlando, FL 32825
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                                          Geerholt, John                                Gegg, Cecile
Gedeon, Peter                             Michelle Geerholt                             47 1st Street
PO Box 604                                4118 West Ohio Ave.                           Key West, FL 33040
Bradenton, FL 34206-0604                  Tampa, FL 33616



Geist Sr., Donald J                       Gendernalik, Vivian                           Gentile, Sharla
6508 Bimini Court                         10351 NW 18th Place                           4412 Endicott Place
Apollo Beach, FL 33572                    Pembroke Pines, FL 33026                      Tampa, FL 33624




George, Alan                              George, Jeffrey & Ginger                      George, Peter
1030 Willmor Street Apt 4E                8431 Edison Road                              Stacey George
Brooklyn, NY 11212                        Lithia, FL 33547                              9511 Via Segovia
                                                                                        New Port Richey, FL 34655



Germain, Ulrick                           Gessner, Karen                                Ghali, Ikhlas
PO Box 291906                             14088 Yacht Club                              9407 Boca Gardens Pkway Apt D
Tampa, FL 33687-1906                      Seminole, FL 33776                            Boca Raton, FL 33446




Giampietro, Samantha                      Giancola, James                               Gibbs, Dawn
Jared Lorentsen                           925 Harrison Street                           Ronald Gibbs
5129 Chamber Court                        Florissant, MO 63031                          1872 Cocomut Palm Cir
Spring Hill, FL 34609                                                                   North Port, FL 34288



Giblin, Erin                              Gibson, John                                  Gibson, Linda
Kyle Nash                                 7020 Fleming Street                           994 Demaret Drive
1005 Dinero Drive                         Gibsonton, FL 33534                           Rockledge, FL 32955
Winter Springs, FL 32708



Gil, Aaron                                Gilbert, James O.                             Gilkinson, Deborah
1647 Gray Bark Dr.                        1802 West Sitka Street                        222 Terrace Drive
Oldsmar, FL 34677                         Tampa, FL 33604                               Brandon, FL 33510




Gill, Gary & Pam                          Gillen, Michael                               Gillen, Michael & Kimberly
6105 Avocet Ridge Dr.                     Kimberly Gillen                               6105 Avocet Ridge Dr.
Lithia, FL 33547                          3606 Greenrock Place                          Lithia, FL 33547
                                          Valrico, FL 33596



Gillman, Sandee                           Gioioso, Constance                            Girault, Regine
14006 Walden Sheffield RD                 1760 Briland Street                           Gerald Girault
Dover, FL 33527                           Tarpon Springs, FL 34689                      7545 NW 68th Way
                                                                                        Parkland, FL 33067



Gisondi, James                            Gladstone, Lawrence                           Glaser, William
147 42nd Avenue NE                        6285 15th St. S                               4840 Sawyer Road
St. Petersburg, FL 33703                  St. Petersburg, FL 33702                      Sarasota, FL 34233
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                                           Gleason, Patricia                            Glickman, Jeffrey
Glass, Jason                               5100 Duhme Road                              733 Reflections Lane
5146 Londonderry Ln                        St. Pete, FL 33708                           Winter Garden, FL 34787
Wesley Chapel, FL 33543



Glisson, Earnest & Stacey                  Glowacke, Michael & Lisa                     Glynn, Stewart
611 Valencia Park Drive                    25155 Croom Road                             PO Box 23073
Seffner, FL 33584                          Brooksville, FL 34601                        Pinellas, FL 33742-3073




Godoy, Lazarito & Madi                     Godsell, jeffrey & Adrienne                  Goeke, James & Faustine Judd
16324 Bonneville Drive                     1422 West Linebaugh Ave                      5353 Bowline Bend
Tampa, FL 33624                            Tampa, FL 33612                              New Port Richey, FL 34652




Goelz, Pamela and Shanlynn Bowman          Goetz, Daniel                                Goff, Bruce Wayne
Daniel, Zace, Alynna, Lillyann Worth       404 East Floribrask Ave                      608 Eliot Road
495 Lincoln Avenue                         Tampa, FL 33603                              Pasadena, MD 21122
Masaryktown, FL 34604



Goin, Carey                                Golak, John                                  Goldberg, Ilya
3633 NW 23rd Terrace #203                  Marie Golak                                  3912 East Eden Roc Circle
Gainesville, FL 32605                      3 W. Spanish Main                            Tampa, FL 33634
                                           Tampa, FL 33609



Goldbergerm David                          Goldman, Terrill                             Goldsborough, William
198 38th Ave SE                            14703 Coral Berry Drive                      14038 Arbor Knoll Circle
St.Pete, FL 33705                          Tampa, FL 33626                              Tampa, FL 33625




Goldwire, Vangie & Laura Edenfeld          Goleman, Gerald & Zita                       Golter, Kimberly & Laszlo Prahar
1526 West River Shore Way                  6502 Mockingbird Way S.                      2945 Lichen LN. Apt D
Tampa, FL 33603                            St. Pete, FL 33707                           Clearwater, FL 33760




Golter, Kimberly & Laszlo Prahar           Gomez, Juan                                  Gomez, Leslie
5823 New Paris Way                         Margie Gomez                                 11901 NW 14th St.
Ellenton, FL 34222                         1020 Sabine Place                            Pembroke Pines, FL 33026
                                           Poinciana, FL 34759



Gomez, Mario                               Gomez, Shari & Mark                          Gonyea, Freda-
1924 Sheffield Ct.                         1012 Mallow Way                              1201 55th St S
Oldsmar, FL 34677                          Brandon, FL 33510                            Gulfport, FL 33707




Gonzales, Maria                            Gonzalez, Doris & Angel Perez                Gonzalez, Dulce
Marlon Mejia                               153 Florida Jay Lane                         4307 W. Bird St.
1238 Loretto Circle                        Frostproof, FL 33843                         Tampa, FL 33614
Odessa, FL 33556
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                                           Gonzalez, Manuel & Marla                      Gonzalez, Mirian
Gonzalez, Kristin & Alex Medero            3505 South 78th St.                           1995 Searay Shore Drive
4236 Briarberry Lane                       Tampa, FL 33619                               Clearwater, FL 33763
Tampa, FL 33624



Gonzalez, Randy & Alisa Gonzalez           Gonzalez-Reyes, Jose                          Gooding, Santa Leroy
19415 Delaware Circle                      4521 Devonshire Rd.                           19 Peterlee Ct.
Boca Raton, FL 33434                       Tampa, FL 33634                               Kissimmee, FL 34758




Goodman, Richard & Julianna                Gookool, Raymond                              Goolsby, Raymond
625 Painted Leaf Dr.                       Nalini Mohammed                               814 Cardinal Road
Brooksville, FL 34604                      7050 White Trillium Circle                    Cocoa, FL 32926
                                           Orlando, FL 32818



Goosen, Darla                              Gorall, David                                 Gordon, Suzette
10277 W. 60th Cir.                         7836 Bengal Lane                              11026 Traci Lynn Dr.
Pinellas Park, FL 33782                    New Port Richey, FL 34654                     Jacksonville, FL 32218




Gordon, William                            Gordy, Christiane                             Gore, Keesonga
8143 Woodvine Cir.                         William Gordy                                 3470 E Coast Ave # H-804
Lakeland, FL 33810                         18149 Sandy Pointe Drive                      Miami, FL 33137
                                           Tampa, FL 33647



Gorka, Richard & Kathleen                  Gorso, Robert                                 Gossett, John & Amy
Kathleen Gorka                             8728 Imperial Court                           2840 Lake Saxon Drive
5005 Abisher Wood Lane                     Tampa, FL 33635                               Land O'Lakes, FL 34639
Brandon, FL 33511-8414



Gouda, Michael                             Gould, Ernest                                 Govindaraju, Prashant
110 Osceola Court                          Sherri Gould                                  16421 Turnbury Oak Drive
Winter Park, FL 32789                      1225 Alttona Avenue                           Odessa, FL 33556
                                           Spring Hill, FL 34609



Gracy, John                                Gracy, John                                   Grady, Kimberly
5936 Fisherman Ln                          Sherri Gracey                                 Tara D. Grady, Sean R. Grady
Cocoa, FL 32927                            26911 Lost Woods Circle                       10389 Chadbourne Dr.
                                           Bonita Springs, FL 34135                      Tampa, FL 33624



Graf, Daisy                                Grago, Andrew & Amy                           Gramer, Charles
Shapoor Tafti                              4375 Caesar Ave.                              Jill Fox
370 Riverside Drive # 10A                  Orlando, FL 32833                             P.O. Box 16101
New York, NY 10025                                                                       Clearwater, FL 33766-6101



Granger, Jeff                              Grant, Franklin & Candace                     Grant, Robert
Silvia Granger                             148 Alexandria Circle                         5149 Fairfield Drive
1214 Glenridge Drive                       Deland, FL 32724                              Lakeland, FL 33811
Leesburg, FL 34748
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                                          Grantonic, Donald & Mildred                  Gray, Kathleen
Grant, Ruth                               531 South Peninsula Ave                      378 79th Ave. NE
4916 Southfork Ranch                      New Smyrna Beach, FL 32169                   St. Petersburg, FL 33702
Orlando, FL 32812



Gray, Kevin                               Gray, Larry and Susan                        Graziano, Salvatore & Karin
8812 Bay Pointe Drive Unit D101           750 Heathrow Lane                            2304 Colusa Lane
Tampa, FL 33615                           Palm Harbor, FL 34683                        Valrico, FL 33596




Grdic, Michael                            Great States Mortgage                        Greaves, Janet & Philip
Yvette Grdic                              447 Third Ave. N., Suite 203,                3060 Swanee Road
1416 Temple Street                        St. Petersburg, FL 33701                     Port Charlotte, FL 33980
Clearwater, FL 33756



Greaves, Kathleen & Paul                  Greco, Susan                                 Green, Carol
22749 Richardson Lane                     2002 Bal Harbor # 112                        5135 Cape Hatteras Drive
Land O' Lakes, FL 34639                   Punta Gorda, FL 33950                        Clermont, FL 34714




Green, Charles & Josephine                Green, Daniel & Kemly                        Green, James
2616 Knoll Street East                    35411 Perch Dr.                              4508 Sweetwater Lake Drive #12
Palm Harbor, FL 34683                     Zephyrhills, FL 33541                        Tampa, FL 33613




Green, Rictavius & Riolanie               Green-Ready, Janice                          Greenberg, David & Melissa
4406D Gander Way Ave                      1947 Abbey Ridge Dr.                         731 Long Fellow Terrace
Joint Base MDL, NJ 08641                  Dover, FL 33527                              Inverness, FL 34450




Greenberg, Jarred and Heather             Greene, Paul & Wendy Heir                    Greene, Richard & Regina
Joseph Greenberg                          817 S. Westshore Blvd.                       3972 SW 135 Ave
92 SJ Kellner Blvd                        Tampa, FL 33609                              Davie, FL 33330
Bevery Hills, FL 34465



Greenwood, Shawn & Aimee                  Gregg, Alexander                             Gregg, Alexander
11138 Golden Silence Drive                18502 Walker Rd                              3007 W. San Carlos St.
Riverview, FL 33569                       Lutz, FL 33549                               Lutz, FL 33549




Greggo, Thomas                            Gregory, Mark                                Gregory, Nicholas
Mildred Greggo                            4702 Red Warbler Lane                        462 Equine Drive
1122 2nd Ave. South                       Valrico, FL 33596                            Tarpon Springs, FL 34688
Tierra Verde, FL 33715



Griffin, Cheryl                           Griffin, Kenneth & Sandra Garcia             Griffin, Trevor
510 Jewel St                              1724 Fluorshire Dr.                          Mary griffin
Brooksville, FL 34601                     Brandon, FL 33511                            10081 Clarcona Ocoee Road
                                                                                       Apopka, FL 32703
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                                           Griffith, Kimberly                            Grimes, J. Caldon
Griffith, Alvie & Amy                      18671 Lynn Road                               118 Arkwright Drive
2101 Meadowbrook Dr.                       North Ft. Myers, FL 33917                     Tampa, FL 33613
Lutz, FL 33558



Grimes, Jeffrey Alan & Theresa             Grinovich, Thomas                             Grisley, Maxine & John Cracknell
707 Gateway Lane                           516 Wideview Ave.                             1011 New Providence Promenade
Tampa, FL 33613                            Tarpon Springs, FL 34689                      Davenport, FL 33897




Grossman, Bradley & Shirley                Groves, Betty Jean                            Grube, Richard and Roberta
1200 Cariyashford 922                      6925 Alta Vista St.                           4652 Hickory Stream Lane
Houston, TX 77077                          New Port Richey, FL 34668                     Mulberry, FL 33860




Grutman, Lewis & Sharon Grutman            Gryzmala, Leon & Teresa                       Guay, Marc
12556 Capri Circle North                   1104 Twin Laurel Blvd.                        436 11th Ave. N
Treasure Island, FL 33706                  Nokomis, FL 34275                             Sherbrooke J1E2V8
                                                                                         Canada,



Guay, Randy & Collen                       Guerra, Cecelia                               Guerrero, Hector
1455 Ridgewood Street                      402 13th St NE                                Gladis Guerrero
Deland, FL 32720                           Ruskin, FL 33570                              4711 Catamaran Circle
                                                                                         Boynton Beach, FL 33436-1564



Guess, Lisa & Michael                      Guess, Robin                                  Guevarra- Gomez, Manuel
6313 Angus Valley Drive                    1802 262nd St #149                            404 Tuscanooga Road
Wesley Chapel, FL 33544                    Lomita, CA 90717                              Mascotte, FL 34753




Guglielmello, Thomas & Gail                Guido, Shari                                  Guiterrez, Jairo
7030 Derwent Glen Circle                   Daniel Guido                                  Luz Elena Guiterrez
Land O'Lakes, FL 34637                     3444 Floral Dr.                               2575 San Tecla St - Unit 103
                                           Largo, FL 33771                               Orlando, FL 32835



Gulsby, Mark                               Gunstream, Christopher & Linda                Gunturt, Christine & Michael Abel
Kellie Gulsby                              872 Wesson Drive                              18063 Parrot Rd
3823 38th Ave E                            Casselberry, FL 32707                         Weeki Wachee, FL 34614
Bradenton, FL 34208



Gutierrez, Isabel                          Guy, Charles                                  Guy, Gianluca
247 SW 8th St #842                         404 Maxwell Place                             29773 66th Way N.
Miami, FL 33130                            Indian Rocks Beach, FL 33785                  Clearwater, FL 33761




Guzman, David                              Gwynn, Sherri                                 Gyimah, Noah & Catherine
7604 Industrial Lane, #30                  7129 Ironwood Dr.                             8848 Rock Dove Road
Tampa, FL 33637                            Orlando, FL 32818                             Lewis Center, OH 43035
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                                           Haas, Gary                                   Haberman, William
Gyiraszin, Karen & Andrew                  14022 Marine Drive                           Debra Haberman
605 Capri Blvd.                            Brooksville, FL 34609                        900 Pondview Ct.
St. Petersburg, FL 33706                                                                Kissimmee, FL 34747



Haddock, Steven & Carol                    Hagen, Matthew & Sandra                      Hagstrom, Melissa & Jefrey
664 Chey Lee Circle                        1933 West Albury Place                       1820 Ridge Palce
Winter Springs, FL 32708                   Citrus Springs, FL 34434-3001                Valrico, FL 33594




Hahn, James                                Halbert, Kurtis                              Haldeman, Heather
Asuncion Hahn                              967 Carissa Lane                             3608 West Iowa Ave
6218 South Grady Ave                       Oviedo, FL 32765                             Tampa, FL 33611
Tampa, FL 33616



Halisky, Mark                              Hall, Adam                                   Hall, Barbara
Cynthia Halisky                            2809 North Course Drive Unit #106            7156 E. Bank Drive Unit 202
913 32nd St. N.                            Pompano Beach, FL 33069                      Tampa, FL 33617
St. Petersburg, FL 33713



Hall, Donna                                Hall, Glenn                                  Hall, Roger
2826 94th Street East                      Kelly Hall                                   2040 Joel Ct
Palmetto, FL 34221                         10736 Rockledge View Drive                   Palm Harbor, FL 34683
                                           Riverview, FL 33579



Hallmark, Ernest & Marion                  Halperin, Scott                              Halstead, Larry & Carol
1208 Dragon Head Dr.                       Cindy Halperin                               1205 Crystal Springs Rd
Valrico, FL 33594                          3323 Sunset View Ct.                         Zephyrhills, FL 33540
                                           Longwood, FL 32779



Hamer, Peter                               Hamilton, Angela & Roger                     Hamilton, Jacque
19255 Stone Hedge Drive                    5454 Cape Hatteras Dr.                       2870 Peachtree Road #869
Tampa, FL 33647                            Ocala, FL 34473                              Atlanta, GA 30305




Hamilton, June                             Hamilton, Keith                              Hammana, Amal & Scott Tooley
601Alice Street                            Sharon Hamilton                              152 Burnsed Pl.
Plant City, FL 33763                       10515 Canary Isle Drive                      Oviedo, FL 32765
                                           Tampa, FL 33647



Hammil, Bruce & Lori Ann                   Hammodeh, Basil                              Hammond, Keith & Kathleen
830 Cordova Blvd. NE                       7588 Toscana Blvd Apt 444                    8624 Government Dr. Suite #101
St. Petersburg, FL 33704                   Orlando, FL 32819                            New Port Richey, FL 34653




Hammond, Richard                           Hampton, Keith & Elizabeth                   Hampton, Matt-
211 W. Elm St.                             71 Piune Street                              16426 Mercer Road
Tampa, FL 33604                            Homsassa, FL 34446                           Brooksville, FL 34614
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                                           Hand, Janell                                   Hand, Kim (Shoup)
Hancock, Melanie & Joe Rodeigues           17920 Gulf Blvd. #1906                         Kevin Hand
5710 Sea Trout Place                       Redington Shores, FL 33708                     4988 Old Blue Ridge Road
Apollo Beach, FL 33572                                                                    Edgewater, FL 32141



Hanley, Ingrid                             Hanley, Maria -                                Hanley, Robert
3406 North 12th St                         3261 56th Way N.                               7126 Bramblewood Dr
Tampa, FL 33605                            St. Petersburg, FL 33710                       Port Richey, FL 34668




Hanlin, Terry                              Hanna, Lloyd                                   Hanrahan, Gerald
441 Cork St.                               4615 N. Saint Vincent St.                      6124 Azalea Circle
Largo, FL 33770                            Tampa, FL 33614                                West Palm Beach, FL 33415




Hansen, Cindy                              Hanson, Elizabeth                              Hansonvic, Elma
3601 Courtney Point Place                  6818 Roberts Drive Apt 4                       6509 Ridge Crest Drive
Palm Harbor, FL 34684                      Woodridge, IL 60517                            Port Richey, FL 34668




Hanz, David                                Hanzman, Jeffrey                               Harbuck, Philip & Deborah
9407 Rosebury Court                        1540 Stargazer 32771                           6700 150 Ave. W.
Tampa, FL 33615                            Sanford, FL 32771                              Clearwater, FL 33764




Hardeman, Bobby & Bertha                   Hardesty, Charles                              Hardy, Amarylis aka Amarylis McEver
1545 McCrea Dr.                            Tammy Hardesty                                 4307 Cedar Ave
Lutz, FL 33549                             2515 23rd Ave. W                               Highland City, FL 33846
                                           Bradenton, FL 34205



Hargabus, Patrick-                         Harlan, Christopher                            Harley, Evelyn & Eugene
816 Locklear Ave                           4600 Chancellor DT. NE                         804 Monte Cristo Blvd.
Sarasota, FL 34237                         St. Peterburg, FL 34237                        Tierra Verde, FL 33715




Harmon, Janice                             Harper, William                                Harrell, Chad & Floyd
Ronald Harmon                              11824 Sweet Pea Court                          13557 Barkley
12604 Twisted Oak Dr.                      Tampa, FL 33635                                Chino, CA 33803
Tampa, FL 33624



Harrell, Phillip                           Harris, Allen                                  Harris, Claude
2354 Merrily Cir S.                        9410 North 21st                                2020 McMullen Booth
Seffner, FL 33584                          Tampa, FL 33612                                Largo, FL 33771




Harris, Lovett                             Harris, Sarah and Bradley                      Harris, Willinda
James Harter                               6814 Howalt Drive                              2245 20th St. South
PO Box 342301                              Jacksonville, FL 32277                         St. Pete, FL 33712
Tampa, FL 33694-2301
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                                         Harrison, Gerald                              Harry, Tara & Meera
Harrison, Cheryl & Shri Prashad          9030 Arndale Circle                           541 Pinebranch Circle
9304 Ashley Oaks Ct                      Tampa, FL 33615                               Winter Springs, FL 32708
Tampa, FL 33565



Harsha, Lee & Tonia                      Hart, Christine                               Hart, George
2095 Fairlane Dr.                        249 Old Zion Church Road                      Patricia Hart
Largo, FL 33771                          Woodburn, KY 42170                            14530 Ledbetter Ave.
                                                                                       Groveland, FL 34736



Hart, Kirby                              Hart, Penny                                   Harter, James
122 Thackery Way                         Emmett Hart                                   Lovett Harris
Wesley Chapel, FL 33543                  113 Dellwood Drive                            PO Box 342301
                                         Longwood, FL 32750                            Tampa, FL 33694-2301



Hartley, Noel                            Hartsfield, Glenda                            Hartsock, Leon
20 Donnybrook                            3885 Jamaica Dr.                              8206 Cypress Breeze Way
Dublin, Ireland,                         Jonesboro, GA 32224                           Tampa, FL 33647




Hartz, Michael                           Hartzell, William                             Harvey, Marlowe
7710 115th ave East                      Angela Hartzell                               Judy Harvey
Parrish, FL 34219                        6067 Mission Drive                            47015 Extrom Rd.
                                         Lakeland, FL 33812                            Chilliwack BC V2R 4V1
                                                                                       Canada,


Harvey, Michael & Kris                   Harvey, Ronald & Luisa                        Hasanovic, Elma & Fahrudvin
5190 Dundas Dr.                          1944 Blossom Way South                        6509 Ridge Crest Drive
Cincinnati, OH 45238                     St.Petersburg, FL 33712                       Port Richey, FL 34668




Hassan, Salah & Salah                    Hassler, William & Neena                      Hastings, Candace
771 Cayuga Ave                           344 Whispering Oaks Ct.                       Jill Baszak
Palm Bay, FL 32905                       Sarasota, FL 34230                            205 3rd Ave
                                                                                       Melbourn Beach, OH 35291



Hatton, Michelle                         Hatzakis, Christos                            Haulsee, Michael & Marcia
765 7th St South                         Panagiota Hatzakis                            2900 Pelham Rd N
Safety Harbor, FL 34695                  2318 Messenger Circle                         St.Petersburg, FL 33710
                                         Safety Harbor, FL 34695



Hawkinson, Deatra & Michael              Hayden, William                               Hayes, Sharon
3621 Ithaca St. N.                       3565 Fodder Dr.                               Jerry Hayes
St. Petersburg, FL 33713                 Rockledge, FL 32955                           7734 Avonwood Court
                                                                                       Orlando, FL 32810



Haynes, Brian                            Haynes, Dayna                                 Haywood, Thomas
Karen haynes                             P133 Clark St.                                2006 Sheffield Court
7009 Cypress Bridge Dr. N                Abingdon, VA 24210                            Oldsmar, FL 34677
Ponte Vedra Beach, FL 32082
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                                          Hazel, Gabriel & Monique                      Hazelwood, Ramona
Hayworth, Hannah                          2200 Hilda Ann RD                             4306 Wood Lark Dr
5198 61st Lane North                      Zephyrhills, FL 33540                         Tampa, FL 33624
Kenneth City, FL 33709



Hearn, Richard                            Hebert, George                                Hebert, Jason
Diane Hearn                               Sharon Hebert                                 Sarah Hebert
1019 Belvoir Drive                        6857 16th Way South                           6355 23rd Lane North
Davenport, FL 33837                       St. Petersburg, FL 33712                      St. Pete, FL 33702



Heerapersaud, Anthony                     Heineman, Lee                                 Heinlein, Roberta
Anita Heerapersaud                        PO Box 8086                                   James Clairess
602 Rena Drive                            Longboat key, FL 34217-8086                   8305 Clara Drive
Davenport, FL 33897                                                                     Zephyrhills, FL 33540



Heitmann, Karin and Jan                   Hellman, Thomas                               Helmick, Dennis
2414 Sonoma Dr West                       Diane Hellman                                 300 28th Ave N.
Nokomis, FL 34275                         6111 Wesley Brook Dr.                         St. Petersburg, FL 33704
                                          Wesley Chapel, FL 33544



Helton, Kristin                           Hemphill, Sonja                               Hemphill, Stephen
Mitch Helton                              Samuel Hemphill                               Adriana Hemphill
5540 Cape Leyte Drive                     1833 Rens Selar Drive                         5855 Midnight Pass Rd. #215
Sarasota, FL 34242                        Wesley Chapel, FL 33543                       Sarasota, FL 34242



Hemphill, Steven                          Henderson, Barron                             Henderson, Jackie
5920 48th St E                            Belinda Henderson                             Mark Henderson
Bradenton, FL 34203                       200 Country Club Dr. #1302                    2807 W. Woodlawn Ave
                                          Largo, FL 33771                               Tampa, FL 33607



Henderson, Juanita                        Henry, Margaret                               Henry, Mary
37 West 22nd Street                       7108 Draper Place                             6424 Stone Road
Jacksonville, FL 32206                    Tampa, FL 33610                               Port Richey, FL 31668




Henry-Curry, Julia                        Henry-Curry, Julia                            Herdman, Rosemary
2127 6th Ave N.                           2347 17th Ave. South                          Robert Herdman
St. Petersburg, FL 33713                  St. Petersburg, FL 33712                      2127 6th Ave N.
                                                                                        St. Petersburg, FL 33713



Herman, Richard                           Herman, Richard C.                            Hermanson, Jamie C.
Vickie Herman                             Vickie Herman                                 1454 Walden Oaks Pl.
1607 Oak Arbor Lane                       952 Wicket Run Dr.                            Plant City, FL 33563
Valrico, FL 33546                         Brandon, FL 33510



Hernandez, Alcides                        Hernandez, Alejandro                          Hernandez, Ana
12448 Leewood Way                         19322 Seacove Drive                           7306 Fountain Ave.
Springhill, FL 34610                      Lutz, FL 33558-9745                           Tampa, FL 33634
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                                          Hernandez, Fernando                           Hernandez, Frank
Hernandez, Dennis
                                          Elizabeth                                     2039 N. Larramore Rd.
Katie Hernandez
                                          2524 W. Tampa Bay Blvd.                       Avon Park, FL 33825
1708 W. Beach St
                                          Tampa, FL 33607
Tampa, FL 33607



Hernandez, Manuel                         Hernandez, Sandra                             Hernandez, Tuesday
Vanessa                                   6831 Pastureland Place                        1224 Dragon Head Dr.
3927 Creekwoods Drive                     Winter Gardens, FL 34787                      Valrico, FL 33594
Plant City, FL 33563



Heroian, Setta                            Herrera, Jose                                 Herrera, Sean
Heroian, Lucinne                          Emma Herrera                                  13929 Chalk Hill Pl.
1923 Oak St.                              1301 79th Ave. W.                             Riverview, FL 33579
Sarasota, FL 34236                        St. Petersburg, FL 33702



Herrera, Victoria                         Herron, Janet                                 Herzog, Adele
2406 N. Lincon Ave                        13061 Hanley Dr.                              Alan Herzog
Tampa, FL 33607                           Spring HIll, FL 34609                         5008 Starblaze Drive
                                                                                        Green Acres, FL 33463



Hesser, Peter Carl                        Heston, Dana                                  Hewett, Pamela
Michael Harris                            Donald Heston                                 4907 Bayshore Blvd # 125
205 Cortez Drive                          12077 Gandy Blvd. N Unit 361                  Tampa, FL 33611
Port Charlotte, FL 33980                  St. Petersburg, FL 33702



Hicks, Bevery                             Hicks, David                                  Hicks, James
1902 East 21st Ave.                       Linda Hicks                                   Jo Ann Hicks
Tampa, FL 33605                           234 SW 12th Ave.                              7400 Sun Island Drive # 210
                                          Boynton Beach, FL 33435                       South Pasadena, FL 33707



Hicks, Raymond                            Hidalgo, Eduardo                              High, James
Pamela Hicks                              Michelle Ayala                                Ruby High
525 54th Ave South                        8035 Canterbury Lake Blvd.                    706 E. Elm St.
St.Petersburg, FL 33705                   Tampa, FL 33619                               Tampa, FL 33604



Hill, Darren                              Hill, Fred                                    Hill, Paula
Jennifer Hill                             Joyce Hill                                    1171 Luther Dr.
1341 Wexford Dr                           2233 Laurel Oak Rd                            Rockledge, FL 32955
Sough Harbor, FL 34683                    Valrcio, FL 33596



Hillenburg, William (Estate of)           Hills, Charlene                               Hillsborough County Clerk of Court
Aloma Hillenburg                          4718 14th Ave S                               PO Box 1110
3027 Napoleon Ave.                        St.Petersburg, FL 33771                       Tampa, FL 33601-1110
Tampa, FL 33611



Hillsborough County Tax Collector         Himes, Jamie                                  Himonetos, Alexandros
PO Box 30012                              4132 4th St S                                 Kathy Himoretoes
Tampa, FL 33630-3012                      St.Petersburg, FL 33705                       955 Harbor Hill Drive
                                                                                        Safety Harbor, FL 34695
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                                          Hinson, William Jr.                          Hinton, David
Hines, Patricia                           Connie May Fowler                            Patsy Hinton
3924 Highland St. S.                      161 Twine Street                             17722 Morninghigh Drive
St. Petersburg, FL 33705                  St. Augustine, FL 32084                      Lutz, FL 33549



Hires, Lawrence                           Hirschauer, Catherine-                       Hirschburg, Michelle
Dolores Hires                             19512 French Lace Drive                      Robin Hirschburg
9204 Mill Circle                          Lutz, FL 33558                               1012 Cherokee St.
Tampa, FL 33647                                                                        Safety Harbor, FL 34695



Hitchcock, Kristina                       Hladky, Randy                                Hoag, Patrick
Richard Hitchcock                         Kippa Hladky                                 Michele Hoag
3011 E. Jean St                           873 Yellow Pine Ave                          12107 Steepingstone Blvd.
Tampa, FL 33610                           Rockledge, FL 32955                          Tampa, FL 33635



Hoblick, David                            Hodge, Deborah                               Hodge, Mark
Hoblick, Jami                             11150 Ancient Futures Drive                  Paula Urban/Hodge
1623 Brookside Dr.                        Tampa, FL 33647                              PO Box 636
Highlands Ranch, CO 80126                                                              Lacooche, FL 33537-0636



Hodo, Tynisha                             Hoffman, Gregory                             Hoffman, John
3319 8th St East                          215 Timberlane Drive                         Antoinette Hoffman
Bradenton, FL 34208                       Palm Harbor, FL 34683                        12811 Tyler Run Ave.
                                                                                       Odessa, FL 33556



Hoffmann, Paul                            Hofman, Jenifer                              Hofstetter, Christopher
Stephanie Hoffmann                        Donald Hofman                                2204 Bahia Vista Apt 07
4453 45th St. S.                          PO Box 1314                                  Sarasota, FL 34239
St. Petersburg, FL 33711                  Oakland, FL 34760-1314



Hogan, James                              Hoggard, Stanley                             Hoglund, David
3446 Primrose Way                         Traci Hoggard                                Virgina Hogland
Palm Harbor, FL 34683                     1510 Lakeside Drive                          426 Island Cay Way
                                          Dunedin, FL 34698                            Apollo Beach, FL 33572



Hohenstern, Loraine                       Holland & Knight                             Hollands, Christopher
5971 110th Way North                      200 S. Orange Ave., Suite 2600               Sonya Hollands
Seminole, FL 33772                        Orlando, FL 32801                            1860 Mizell Avenue
                                                                                       Winter Park, FL 32789



Hollaway, Eric                            Holley, Kathleen                             Hollister, Brian
Traci Hollaway                            40221 Palm Street                            Giselle Hollister
2120 68th Ave. S.                         Lady Lake, FL 32159                          6140 Kiteridge Drive
St. Petersburg, FL 33712                                                               Lithia, FL 33547



Holloway, Carl                            Holly, Joseph                                Holmes, David
22327 Willow Lakes Dr                     Loretta Holly                                Kristin Holmes
Lutz, FL 33549                            3506 22nd Street SW                          5445 48th Ave N
                                          Lehigh Acres, FL 33976                       St.Petersburg, FL 33709
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                                           Holness, Paul and Cherine                      Holt, Julian Bruce
Holmes, Matthew                            4128 Eastridge Circle                          807 S. Castle Court
3116 Kearns Rd                             Pompano Beach, FL 33064                        Tampa, FL 33612
Mulberry, FL 33860



Holt, Kimberly                             Holten, Mark                                   Holzschuher, Santiago
686 Avenue K SE                            Arlen Vanessa Holten                           7522 Forbes Rd.
Winter Haven, FL 33880                     9202 Estate Cove Circle                        Zephyrhills, FL 33540
                                           Riverview, FL 33578



Hombeck, Keith                             Honorable Reporting Services                   Hoogerwerff, Leonard
Carla Hornbeck                             PO Box 272136                                  Hoogerwerff, Mary
3085 Bayfront Circle                       Boca Raton, FL 33427-2136                      12441 Ranchland Trail
Hernando Beach, FL 34607                                                                  Lakeland, FL 33809



Hooker, Angela                             Hoopes, Thomas                                 Hope, Alan
PO Box 2994                                240 Deegan Lake Dr.                            Deborah Hope
Brandon, FL 33509-2994                     Bridgeport, WV 26330                           4409 Olympia Court
                                                                                          Clermont, FL 34714



Hopkins, Eric                              Hopkins, Kathy                                 Horne, Jeffrey
Lafawn McKay-Hopkins                       1207 Ponds Ct.                                 15610 Howell Park Lane
6013 N. 17th St.                           Deltona, FL 32738                              Tampa, FL 33624
Tampa, FL 33610



Horner, Dean A.                            Hosein, Fazal                                  Hoskie, Joan
Nancy A. Horner                            10015 Cypress Shadow                           322 Woody Circle
2207 Lumsden Rd.                           Tampa, FL 33647                                Melbourne Beach, FL 32951
Valrico, FL 33594



Hottman, Jennifer                          Houk, Lane                                     Houraney, William
Eric Hottman                               2218 Valrico Forest Drive                      Raeda Houraney
1905 Rolling Green Circle                  Valrico, FL 33594                              15316 Hamlin Blvd.
Sarasota, FL 34240                                                                        Loxahatchee, FL 33470



Houston, David                             Houston, Malcolm                               Howard, Barbara
13306 2nd Street East                      Shernita Houston                               9535 Hancock Rd.
Madeira Beach, FL 33708                    1706 North Freemont Ave                        Lakeland, FL 33810
                                           Tampa, FL 33607



Howard, Wesley                             Howell, John                                   Howell, Paul
Ruth Howard                                Yvette Howell                                  222 South Chandler Ave
5736 Abercorn Drive                        6025 NW 75th Pl.                               Deland, FL 32728
Orlando, FL 32812                          Parkland, FL 33067



Howison, Nancy Lee                         Howle, James                                   Hrabak, Christopher
2877 Fifer Dr.                             Beverly Howles                                 4012 West Land Ave
Deltona, FL 32738                          1636 Hawkins Cove Drive East                   Tampa, FL 33616
                                           Jacksonville, FL 32246
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                                         Huang Chu Chin                              Hubbard, Corey
Hrabal, Jeremy
                                         Tun Huamg Tsai                              3401 Casablanca Ave
Jennifer Hrabal
                                         2999 Embassy Ct.                            St. Pete, FL 33706
231 W. Princeton Street
                                         Casselberry, FL 32707
Orlando, FL 32804



Hubbi, Samer                             Hubbi, Samer                                Huckleberry, Raeerickson
791 7th Ave N                            Stephanie Fay Wysong                        Tamika Huckleberry
Largo, FL 33770                          19263 Quite Oak Lane                        13728 Goodson Place
                                         Brooksville, FL 34604                       Jacksonville, FL 32226



Huebner, Hans                            Huey, Myron                                 Huey, Myron
Dawn Huebner                             1340 Forest Park Circle #22                 105 Hillcrest Dr
8920 Sw 110th Street                     Lafayette, CO 80026                         Safety Harbor, FL 34695
Miami, FL 33176



Huffman, James E.                        Hughes, Charles                             Hughes, Christine
7725 Rottingham Rd.                      7723 Marrin Park Rd.                        21 Woodside Drive
Port Richey, FL 34688                    Ruskin, FL 33573                            Londonderry, NH 03053




Huigens, Douglas                         Hummer, Jeremy                              Hund, Thomas
1111 Callista Ave.                       5705 17th Ave S                             7353 Banner Street
Valrico, FL 33596                        Gulfport, FL 33707                          New Port Richey, FL 34653




Hunsinger, Jon                           Hunter, Diana a/k/a Park, Diana             Hurley, Frederick
Kristine Hunsinger                       Robert Hunter                               Sandy Hurley
3042 Alachua Place                       6610 Reef Circle                            776 Missouri Ave North
New Port Richey, FL 34655                Tampa, FL 33625                             Largo, FL 33770



Hurst, Dudley                            Hutchings, Robert                           Hutchins, Lonnie
5219 Abbey Park Ave                      Christine Schoderbock                       3208 48th Street East
Tampa, FL 33647                          1151 County Lane W                          Palmetto, FL 34211
                                         Clearwater, FL 33759



Hutto, Monica                            Huxtabe, Michael                            Hyatt, Nigel
Jacob H Hunt                             3639 East 62nd Ave                          Regina Wright
8280 Pelican Ln.                         Bradenton, FL 34203                         7911 N. Colony Cir Apt 205
Largo, FL 33777                                                                      Tamarac, FL 33321



Iampieri, Derek                          Ibarra, Kerri                               Iglesias, Carlos
9419 Bullfrog Ct                         Jorge Ibarra                                Lisa Iglesias
Gibsonton, FL 33534                      3271 Grayton Drive                          7209 W. Cortez Ave
                                         Spring Hill, FL 34609-2935                  Tampa, FL 33614



Iglesias, Enrique                        Iles, Mallory                               Illyes, Karl
Greiska Iglesias                         913 Brantley Dr.                            Jennifer Jackson
31736 Morning Dew Lane                   Longwood, FL 32779                          623 Danube Ave.
Zephyrhills, FL 33543                                                                Tampa, FL 33606
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                                          Imam, Kazi                                   Imhuelsen, Hugette
ImageNet Consulting                       Sarwat Hasan                                 7219 Meadowlawn Drive North
2914 S. Falkenburg Rd.,                   5210 Rising Comet Lane                       St. Pete, FL 33702
Riverview, FL 33569                       Green Acres, FL 33463



Inglesby, Audrey                          Inland Assets                                Innocent, Gregoire
Edward Inglesby                           12393 Craigside Lane                         Innocent, Lillian
2167 Vivian Way South                     Windermere, FL 34786                         7 Sun Country Court
St. Petersburg, FL 33712                                                               Eustis, FL 32726



Insinga, William                          Integrity Land Trust                         Internal Revenue Service
Oshia Insingia                            c/o Tommy Phillips                           Centralized Insolvency Operations
2242 Otter Creek Lane                     6 Reindeer Lane                              P.O. Box 7346
Sarasota, FL 34246                        Palm Coast, FL 32164                         Philadelphia, PA 19101-7346



Ippolito, Anthony                         Ireland, Walter                              Irizarry, Sandra
Dawn Ippolito                             7253 Channelside Lane                        10542 Bucks Run
2902 Lantern Drive                        Pinellas Park, FL 33781                      New Port Richey, FL 34654
South Daytona, FL 32119



Isaac, Ralph                              Isaacs, Julian                               Isin, Edward
38822 Centennial Road                     Roxanne Isaacs                               Teresa Isin
Dade City, FL 33525                       124 S. Almar Dr.                             6836 Oakdale Dr.
                                          Wilton Manors, FL 33334                      Tampa, FL 33610



Israwi, Nuhed                             Ivan, Caruso                                 Iverson, Vincent
Lamia Mosrie                              2148 NE Coachman Road                        Andrea Iverson
801 Del Rio Way # 601                     Clearwater, FL 33765                         1135 Crimson Clover Way
Merritt Island, FL 32953                                                               Wesley Chapel, FL 33543



Jackson, Cathy                            Jackson, Craig                               Jackson, Eugene
Edward Jackson                            Karen Jackson                                Gertrude J. Cochrine
16523 Arrow Head Trail                    7229 121st Way N                             919 Fern Ave
Clermont, FL 34711                        Seminole, FL 33772                           Cocoa, FL 32922



Jackson, Gladeen                          Jackson, Kristina                            Jackson, Latoya
1744 W. Salle St                          Richard Jackson                              7218 Hager Way
Tampa, FL 33607                           905 Carson Street                            Orlando, FL 32822
                                          Cocoa, FL 32922



Jackson, Lee                              Jackson, Lefears                             Jackson, Terry
31212 Chatterly Drive                     Theresa Jackson                              2530 Summerland Way
Wesley Chapel, FL 33543                   811 S. 18th Ave                              Kissimmee, FL 34746
                                          Maywood, IL 60153



Jacobs, Steven                            Jacobsen, Douglas                            Jacobsen, Kevin
Shauna Jacobs                             Diane Jacobsen                               Angela Cooper
13225 Old Florida Circle                  150 Cherrywood Drive                         10940 Ross St.
Hudson, FL 34669                          Maitland, FL 32751                           Tampa, FL 33610
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                                           Jacobson, Philip                             Jagisch, Richard
Jacobson, Christine                        Pamela Jacobson                              1032 8th Ave. N.
111 West North Bay Street                  7346 Via Leonardo                            St. Petersburg, FL 33702
Tampa, FL 33603                            Lake Worth, FL 33467



Jahnke, Sharon                             James, Heather                               James, Omar
Dale jahnke                                Marc James                                   5998 Hillside St.
15026 Redcliff Drive                       11517 108th Place                            Seminole, FL 33772
Tampa, FL 33625                            Largo, FL 33778



Jameson, Donna                             Jamrog, Angela                               Janney, Daniel
2108 Godfrey Avenue                        Dennis Jamrog                                Julie Janney
Spring Hill, FL 34609                      912 Park Street                              5110 Wauchula Road
                                           Seffner, FL 33584                            Myakka City, FL 34251



Janson, Laura                              Jaramillo, Maria                             Jaramillo, Mireya
Greg Janson                                307 Valley Drive                             2913 S. Willow Dr.
1457 Highfield Dr.                         Longwood, FL 32779                           Plant City, FL 33566
Clearwater, FL 33764



Jaramillo, Tom                             Javors, Dr. Keith                            Jean- Marie
Lisa Jaramillo                             3454 Princeton Ave #1                        Jackson Jean Marie
195 Southshore Blvd.                       Philadelphia, PA 19149                       11365 Horned Owl Rd
Eatonton, GA 31024                                                                      Weeki Wachee, FL 34614



Jenei, Anna                                Jenkins, Alma D.                             Jenkins, Rick
5077 NW 7th St Apt 1079                    9750 Lake Drive                              12286 Hatch Lane SE
Miami, FL 33126                            New Port Richey, FL 34654                    Aumsville, OR 97325




Jenkins, Theresa                           Jenney, Curtis                               Jennings, Tamara
28729 Tanner Dr                            Sandra Jenney                                1237 Mohrlake Dr.
Wesley Chapel, FL 33545                    1880 N. Washington Ave.                      Brandon, FL 33511
                                           Clearwater, FL 33755



Jens, Richard                              Jensen, Carol                                Jensen, Richard
Michelle Jens                              3734 Cypress Meadows Rd                      Julie Jensen
6901 NW 14th Court                         Tampa, FL 33624                              4416 Flint Drive
Plantation, FL 33313                                                                    North Port, FL 34286



Jepperson, Michele                         Jewtraw, Williams                            Jimenez, Antonio
PO Box 504                                 Cindy Jewtraw                                7038 Fort King Road
Satsuma, FL 32189-0504                     4310 Merchant Ave                            Zephyrhills, FL 33541
                                           Springhill, FL 34608



Jimenez, Christian                         Jimenez, Claudia                             Johns, James
Ruthy Calle                                1918 Pelican Landing Blvd                    Bonnie James
8708 N. Pawnee Ave                         Unit 1112                                    3111 Firt Socrum Village Blvd.
Tampa, FL 33617                            Clearwater, FL 33762                         Lakeland, FL 33810
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                                          Johnson, Adam                               Johnson, Carl
Johns, Karen Sue                          8301 Dominguin St                           Bethenia Johnson
567 Lindsey Drive                         Orlando, FL 32817                           6969 Big Bend Drive
Lakeland, FL 33809                                                                    St. Cloud, FL 34771



Johnson, Carrie                           Johnson, Clifford                           Johnson, Irma
Stephen Johnson                           Veronica Johnson                            625 Stillview Circle
365 6th Ave N.                            300 West Blackjack Branch Way               Brandon, FL 33510
Tierra Verde, FL 33715                    St. Johns, FL 32259



Johnson, Keli                             Johnson, Lamar                              Johnson, Lawrence Sr. and Clara
Thomas Johnson                            15755 NW 16th Court                         2669 Greenwillow Drive
11495 Old Dade City Drive                 Pembroke Pines, FL 33028                    Orlando, FL 32825
Kathleen, FL 33849



Johnson, Paul                             Johnson, Robert                             Johnson, Robert
1355 Essex Rd                             Augustina Johnson                           3761 10th Street NE
Winter Park, FL 32789                     1900 Piper Terr                             St. Petersburg, FL 33704
                                          Deltona, FL 32738



Johnson, Troy                             Johnson, Troy                               Johnson, Walter
Kimberly Johnson                          Kimberly Johnson                            Kristine Johnson
PO Box 657                                209 Wabasso St                              7322 Ponderosa Dr.
Minooka, IL 60447-0657                    Minooka, IL 60447                           Tampa, FL 33637



Johnston, Gregory                         Johnston, Matthew                           Jolia, Natella
5715 Broadway Ave.                        Elisa Johnston                              11163 Ledgement Lane
New Port Richey, FL 34652                 6846 Dartmouthhill St.                      Wundmere, FL 34786
                                          Riverview, FL 33578



Jolicoeur, Kevin                          Jones, David                                Jones, David
7226 57th Ave N.                          Mountaintop Ministries                      Tresh Covell Jones
St. Petersburg, FL 33709                  7411 E. Comanche Ave.                       2149 Capri Drive
                                          Tampa, FL 33610                             Clearwater, FL 33763



Jones, David                              Jones, Fitzgerald P.                        Jones, Glenn
2492 Latarche Ave                         15808 Ironware Place                        Gennifer Jones
North Port, FL 34288                      Tampa, FL 33624                             7545 Sheridan Road
                                                                                      West Melbourne, FL 32904



Jones, Glorious                           Jones, Jack                                 Jones, Lauren
4305 Eagle Landing Pkwy                   11810 Capri Circle South Unit 2             429 75th Ave. N.,
Orange Park, FL 32065                     Treasure Island, FL 33706                   St. Petersburg, FL 33702




Jones, Lawrence                           Jones, Leighsah                             Jones, Linda
Dorothea Jones                            Pass, Patrick                               13618 Greenfield Drive, #204
3901 Hallck Ct.                           1406 Wren Court                             Tampa, FL 33618
Valrico, FL 33596                         Longwood, FL 32750
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                                          Jones, Rodney                                Jones, Rodney
Jones, Michelle
                                          15010 Man-O-War Dr                           Salina Jones
Jeffrey Frisch
                                          Odessa, FL 33556                             6804 South Gabrielle Street
4417 West Trilby Avenue
                                                                                       Tampa, FL 33611
Tampa, FL 33616



Jones, Shawn                              Jones, Shawn                                 Jones, Thelma
Angela Jones                              Angela Jones                                 2005 W. Willow Dr.
6429 5th Ave N                            5928 9 Ave South                             Plant City, FL 33566
St. Petersburg, FL 33710                  Gulfport, FL 33707



Jordan, Brian                             Jordan, Lawrence                             Joseph, Jerin
Kimberly Gianatasio-Jordan                68 W. 120th St.                              4421 West Bay Ave
2353 Spring Hollow Loop                   New York, NY 10027                           Tampa, FL 33616
Wesley Chapel, FL 33544



Joseph, Vikash                            Josie Bundy and Koleman                      Joyce, James
Harold Joseph, Dularie Joseph             6813 Shamrock Road                           4040 Centauo Ct.
13576 41st Lane N.                        Tampa, FL 33616                              Hernando Beach, FL 34607
Palm Beach, FL 33411



Joyce, Terrence                           Juarez, Rachelle                             Julian, John
Lisa Joyce                                1439 Jeffords Street                         Carole Juilan
3124 Chessington Drive                    Clearwater, FL 33756                         5917 Buckrun Drive
Land O'Lakes, FL 34638                                                                 Lakeland, FL 33811



Juman-Yassin, Kevin                       Jun, Michael                                 Jungling, Tammie
Shani Juman-Yassin                        7718 Aralia Way                              Steven Jungling
2475 Brickell Ave                         Largo, FL 33777                              1545 Indiana Avenue
Miami, FL 32129                                                                        Palm Harbor, FL 34683-4116



Jungling-Johnson, Gabriella               Jurgens, Karen                               Justino, Joseph
5512 Silver Spur Drive                    4451 Cocunut Blvd.                           Elizabeth Simoes
Holiday, FL 34690                         Coconut Creek, FL 33066                      5775 Bayshore Drive
                                                                                       Seminole, FL 33772



Kabili, Hamid                             Kahan, David                                 Kahan, Mitch
Hanane M'Rabet                            Haemi Kahan                                  11151 NW 20th Dr.
7177 Ticklegrass Street                   1173 Sweet Heather Ln.                       Coral Springs, FL 33071
Winter Gardens, FL 34787                  Apopka, FL 32712



Kahle, Linda                              Kahn, Edwin                                  Kalis, Harriet
Alan Kahle                                Emelia Kahn                                  9032 65th Way North
5069 36th Ave North                       8506 SR 52                                   Pinellas Park, FL 33782
St. Petersburg, FL 33710                  Hudson, FL 34667



Kamin, Gary                               Kanhai, Selwyn                               Kao, Winston
Audrey Kamin                              Latchmidaye Kanhai                           Catherine M. Kao
2763 Saddlewood Lane                      11212 Lokantosa Trail                        1884 McKinley Street
Palm Harbor, FL 34685                     Orlando, FL 32817                            Clearwater, FL 33765
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                                          Kappes, Janet                               Karban , Anthony & Arelis
Kaplan, Alexander
                                          338 Silver Falls Drive                      Anthony Bulzone
Rita Kaplan
                                          Apollo Beach, FL 33572                      PO Box 15737
7941 Sycamore Dr.
                                                                                      Spring Hill, FL 34604-5737
New Port Richey, FL 34654



Karban, Anthony                           Karp, David                                 Kasak, Robert
698 Tierra Dr                             10001 Seymour Way                           Marcella Kasak
Spring Hill, FL 34609                     Tampa, FL 33626                             8716 Tantallon Cir.
                                                                                      Tampa, FL 33647



Kasel, Kathi                              Kattell, Randi                              Kattell, Randi
140 Island Way #157                       PO Box 1866                                 4017 W. Fig St.
Clearwater, FL 33767                      Deleon Springs, FL 32130-1866               Tampa, FL 33609




Katz, James                               Kaufman, Arthur                             Kaufman, John
PO Box 1866                               5000 S Himes Ave 411                        Jacqueline Ruz
Deleon Springs, FL 32130-1866             Tampa, FL 33611                             3329 Lintower Dr
                                                                                      Land O'Llakes, fl 34638



Kaur, Ramandeep                           Kay, Carol                                  Kazes, Mark
Gurpal Singh                              207 W Idlewild Ave                          Pamela Kazes
16210 Bridgepark Dr.                      Tampa, FL 33604                             13004 Sheridan Drive
Lithia, FL 33547                                                                      Hudson, FL 34667



Kealey, Stephen                           Keen, Danalea                               Keen, John
10650 Pictorial Park Dr.                  4501 Bedford Rd                             21 Sportsman Road
Tampa, FL 33647                           Sanford, FL 32773                           Rotonda West, FL 33947




Keene, Mary Anne                          Keene, Warren                               Kelleher, Albert
6141 Bryan Dairy Rd                       2310 Thompson Road                          Kelleher, Susan
Seffner, FL 33584                         Lithia, FL 33547                            3242 Clewiston St
                                                                                      Deltona, FL 32738



Kelley, Kevin                             Kelley, Paul and Tracey Yarnall             Kelley, Paul, Tracey and Hilda
112 S. Grady Ave.                         13625 50th Way N #11                        Penni and Mark Eggers
Tampa, FL 33609                           Clearwater, FL 33760                        854 Nebraska Avenue
                                                                                      Palm Harbor, FL 34683



Kelly, Deborah                            Kelly, Hylton                               Kemmett, Deborah
9812 51st Ave N                           11444 Callaway Pond Drive                   1510 Sandalwood Dr
St. Petersburg, FL 33708                  Riverview, FL 33579                         Dunedin, FL 34698




Kemp, Jenna                               Kennedy, Gene                               Kennedy, Sean
8348 Little Rd - Ste 175                  4505 Ft. Hamer Road                         Lindsay Kennedy
NewPort Richey, FL 34654                  Parrish, FL 34219                           3530 Durrance Street
                                                                                      New Port Richey, FL 34655
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                                           Kenny, Nemrod                                 Kerr, Joyce
Kenneth Kelley
                                           Tammy Kenny                                   1238 Katrina Course NE
Dian Kelley
                                           200 Milford Point Dr                          Palm Bay, FL 32905
270 Durwood Dr
                                           Merritt Island, FL 32952
Cooper Hull, TN 37317



Kessen, Jodi                               Kessler, Christopher                          Keyes, William
4329 Fieldview Circle                      Jamie Kessler                                 Tina Keyes
Zepherhills, FL 33545                      1684 Palm Leaf Dr                             4143 Parry Dr.
                                           Brandon, FL 33510                             Sarasota, FL 34241



Khan, Shadid                               Khare, Stephen                                Kiang, Ken
Erum Khan                                  11724 Moffat Ave                              3600 East Ribin Road
16419 Bristol Lake Circle                  Tampa, FL 33617                               Bloomington, IL 47401
Orlando, FL 32828



Kiang, Ken                                 Kici, Peter and Providencia                   Kiggans, Teresa
Paula Kiang                                784 Mills Estate Place                        2537 W. Ponkan Rd
50525 Galaxy Drive                         Chuluota, FL 32766                            Apopka, FL 32712
Granger, IN 46530-8695



Kinard, Keith                              Kinchla, Mark                                 Kinder, Christopher
14301 Sweet Loop Road                      Katherine Kinchla                             Fred Kinder
Wimauma, FL 33598                          728 Hardman Dr.                               1478 Lake Side Court
                                           Orlando, FL 32806                             Dunedin, FL 34698



King, Aaron                                King, Bobbi                                   King, Donnie
2770 Grove Park Ave                        11314 Montevista Rd                           Lena King
St. Petersburg, FL 33714                   Clermont, FL 34711                            918 Magnolia Ave.
                                                                                         Lehigh Acres, FL 33972



King, Henry                                King, Sidney                                  Kinser, Bruce
10945 Norcross Circle                      Jean Ann King                                 Kinser, Irmagard
Orlando, FL 32825                          1024 72nd St North West                       315 Grand Magnolia Ave # 102
                                           Bradenton, FL 34209                           Celebration, FL 34747



Kinsler, Angeleah                          Kint, Dwight                                  Kirk, Carol
18563 Kingbird Drive                       1116 SE 165 Ave                               Leonard Kirk
Lutz, FL 33558                             Silver Springs, FL 34488                      2207 Broxton Pl.
                                                                                         The Villages, FL 32162



Kirk, Leonard                              Kirk, Roger                                   Kirkland, Deborah
Lisa Kirk                                  10447 Fly Fishing St.                         371 Blue Heron Drive
19816 Deer Hollow Lane                     Riverview, FL 33569                           Winter Park, FL 32789
Lutz, FL 33548



Kirkland, John                             Kirkland, Michael                             Kirkpatrick, Loretta
Ramona                                     Lori Kirkland                                 10714 Tulsa Road
2230 NW 10th St                            5136 Alderbrook Pl.                           Jacksonville, FL 32218
Bell, FL 32619                             Land O'Lakes, FL 34638
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                                        Kirsch, Greg                                  Kiser, Stephanie
Kirkpatrick, Lori                       11871 Bramble Road                            Joseph Kiser
460 Gannet Ct.                          Ft. Myers, FL 33905                           1714 Erin Brooke Dr.
Kissimmee, FL 34759                                                                   Valrico, FL 33594



Kish,Cheryl                             Kissell, Steven                               Klauck, Jeff
Steven Jungling                         Donna Kissell                                 Esther Klauck
1696 Sunnybrook Lane                    14657 Sutherland Ave                          1300 Highfield Dr.
Clearwater, FL 33764                    Naples, FL 34119                              Clearwater, FL 33764



Klingensmith, Joy                       Klonaridis, Georgios                          Knapp, Christopher
8022 Cottonwoode Dr                     Valerie Klonaridis                            31708 Lock Aline Drive
Largo, FL 33773                         11845 Linden Dr.                              Wesley Chapel, FL 33544
                                        Spring Hill, FL 34608



Knight Megumi                           Knight, Christie                              Knight, James
4116 Helene Place                       Christopher McCullough                        2325 Geneva Dr.
Valrico, FL 33594                       3812 Reverend Dar Dar Drive                   Lakeland, FL 33805
                                        Plant City, FL 33565



Knight, Marlena                         Knight, Megumi                                Knipp, Charles
Derrick Knight                          4116 Helene Place                             Linda Knipp
314 Joshua Lane                         Valrico, FL 33594                             4717 Everhart Drive
Plant City, FL 33566                                                                  Land O'Lakes, FL 34639



Knopper, Ben                            Knoth, Cyndee                                 Knowles, Sung
705 25th St. NW                         9873 Bridgeton Drive                          4000 Sea Grape Circle
Winter Haven, FL 33881                  Tampa, FL 33626                               Delray Beach, FL 33445




Knox, Marvin                            Kobel, Elizabeth                              Kobiec, Anthony
Tonya Knox                              John Kobel                                    8535 23rs Street
4720 Meadowsweet Ct                     3550 NE 169th St - Apt 206                    Zephyrhills, FL 33540-5727
New Port Richey, FL 34653               North Miami Beach, FL 33160



Koch, Randall                           Koche, Danielle                               Kocsis, Zoltan
967 Damrosen Street                     2782 Firebrand Road                           1242 Carcasas Ave.
Largo, FL 33771                         North Port, FL 34288                          Clearwater, FL 33764




Kohli, Vijay                            Kohlmetz, Carson                              Kois, Lisa
111 Chicory Ave. N.E.                   12933 Titleist Drive                          Rick Kois
Palm Bay, FL 32907                      Hudson, FL 34669                              2826 Grapefruit Dr.
                                                                                      Auburndale, FL 33823



Kolacy-Cianciolo, Margaret              Kolenda, John                                 Kolodziej, Maria
6701 Date Palm Ave South                Carmen Kolenda                                2867 Chestnut Ave
St. Petersburg, FL 33707                700 Appalachee Drive NE                       Ronkonkoma, NY 11779
                                        St. Petersburg, FL 33702
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                                         Kornbluth, David                              Kostin, Amy
Kops, Jeffrey
                                         Juana Kornbluth                               Michele Kostin
Kathleen Kops
                                         822 23rd Ave North                            11221 Nome Ave.
16904 Tacopa Court
                                         St. Petersburg, FL 33704                      Port Richey, FL 34668
Tampa, FL 33618



Kotowski, Daniel Lee and Joyce           Koulouvaris, Nicholas                         Koussayer, Dr. Samer
14980 Woodcrest Road                     Leah Koulouvaris                              17917 Arbor Haven Dr.
Spring Hill, FL 34604                    325 Garland Court                             Tampa, FL 33647
                                         New Port Richey, FL 34652



Koutsouradis, Lavina                     Kovach, Edward                                Kovach, Stephen
Alkiviadis Koutsouradis                  Michelle Kovach                               Stephanie Kovach
2524 Big Pine Dr.                        1 Stone Gate N.                               8710 Hidden Green Lane
Holiday, FL 34691                        Longwood, FL 32779                            Tampa, FL 33647



Kovacs, Beata                            Kowal, Nicholas                               Kowlessar, Solomon
777 North Ashley Drive #2602             Christina Craughan-Kowal                      Valarie Kowlessar
Tampa, FL 33602                          12407 Hawkeye Pointe Place                    P.O. Box 581183
                                         Riverview, FL 33569                           Kissimmee, FL 34758-1183



Krasnay, Charleen                        Kratzert, Keith                               Krause, Mickey
4415 Pine Meadow Court                   75 N Woodward Ave #8000-1277                  1585 15th CT W
Tampa, FL 33624                          Tallahassee, FL 32313                         largo, FL 33770




Krenn, Brian                             Kress, Mary                                   Kress, Mary
Karen Krenn                              Kress, Paul                                   Kress, Paul
11504 Bull Frog Creek                    225 SE Lakeview Drive                         1633 Boathouse Circle Apt 134
Gibsonton, FL 33534                      Palmetto, FL 34221                            Sarasota, FL 34231



Kriewitz, Karen                          Krutulis, Thomas                              Krutulis, Thomas
1340 Glendale Drive                      1350 Baycrest Drive                           Delinda Krutulis
Dunedin, FL 34698                        Wesley Chapel, FL 33544                       1105 Sweet Breeze Drive
                                                                                       Valrico, FL 33594



Kudinov, Oleg                            Kuhn, Adam                                    Kulick-McClung, Hope
Svetlana Kudinova                        Nicole Kuhn                                   Richard McClung
1903 Lusterleaf Place                    5257 44th Ave N                               2320 Brisbane St. Apt 48
Trinity, FL 34655                        St. Petersburg, FL 33709                      Clearwater, Fl 33763



Kunis, Amy                               Kurtovic, Zahid                               Kutzan, Charlene
353 Mayfair Circle East                  Bekira Kurtovic                               Dennis Kutzan
Palm Harbor, FL 34683                    992 Sunrise Circle                            1246 Highwood Pl.
                                         Palm Harbor, FL 34683                         Wesley Chapel, FL 33543



Kyle, Mary Lou                           La Greca, Frank                               Laari, Henri and Kerrin
Christopher Kyle                         217 Kerry Drive                               Erik, Ian and Elise Laari
8469 West Anthony Road                   Clearwater, FL 33765                          3226 Russett Place
Ocala, FL 34479                                                                        Land O'Lakes, FL 34638
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                                         Laboy, Jose                                   Laboy, Jose
Labban, Felix
                                         2473 Andre Court                              7952 Rex Hill Trail
Sool Labban
                                         Ocoee, FL 34761                               Orlando, FL 32818
5441 Marleon Drive
Windmere, FL 34786-7018



Lacey, Michael                           Lachman, Paul                                 Ladd, Ward and Carol
7425 Seagull Way                         Donna Lachman                                 4428 Gevalia Drive
Tampa, FL 33635                          1435 Whitehall Blvd.                          Brooksville, FL 34604
                                         Winter Springs, FL 32708



Ladouceur, Steeve                        LaFalce Jr., Michael J                        Lafleur, Jocelyne and Jerry
4202 E. Comanche Ave                     701 Chancellar Dr                             12109 Tree Haven Avenue
Tampa, FL 33610                          Lutz, FL 33548                                Gibsonton, FL 33534




Lahik, Redouane                          Lahti, Frieda                                 Lalasz, Dan
Nadia El Bekkari                         Tim Lahti                                     4618 Juniper Dr
13619 Zori Lane                          6208 Walsh lane                               Palm Harbor, FL 34685
Windermere, FL 34786                     Tampa, FL 33625



Lalime, Loudia                           Lamantia, Lisa                                Lamarre, Elizabeth
1403 East 25th Avenue                    608 Courtney Drive                            3613 East Frierson Ave.
Tampa, FL 33605                          Temple Terrace, FL 33617                      Tampa, FL 33610




Lamarre, Elizabeth                       Lamatrice, Thomas                             Lambert, Michele
7149 E. Bank Dr                          12493 Estrella Blvd.                          a/k/a Michele Buccellato
Tampa, FL 33617                          Punta Gorda, FL 33955                         7203 Waxwing Drive
                                                                                       New Port Richey, FL 34653



Lambson, Dennis                          Lancy, Arthur                                 Land, John
3922 Casaba Loop                         537 Sandy Creek Dr.                           9015 Westbay Blvd
Valrico, FL 33596                        Brandon, FL 33511                             Tampa, FL 33615




Landers, Calvin                          Landress, Kevin                               Landry, Francis
3189 Verbena Court                       Wayne Landress                                116 Magnolia Ave.
Deltona, FL 32725                        306 Lackwood Drive                            Seffner, FL 33584
                                         Sanford, FL 32771



Lane, Yvonne                             Lang, Christopher                             Lang, Scott
7716 Antioch Drive                       Kimberly Lang                                 LaRonda Lang
New Port Richey, FL 34655                18305 Cypress View Way                        814 Gascon Place
                                         Tampa, FL 33647                               Tampa, FL 33617



Langee, Christopher                      Langford, Charles                             Langman, Christopher
3125 W Hillsborough Ave #D-10            Carolyn Langford                              Alyssa Langman
Tampa, FL 33614                          7100 Betty Street                             733 Cristelle Jean Dr.
                                         Winter Park, FL 32792                         Ruskin, FL 33570
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                                         Lanigan, Michael                             Lannon, James
Languis, Eileen                          Kelly Lanigan                                Lori Lannon
8737 Bermuda Lane                        10203 Quails Landing Ave                     6208 Falling Leaf Ct.
Port Richey, FL 34668                    Tampa, FL 33647                              Pinellas Park, FL 33782



Lanz, Dennis                             Lapointe, Moise                              LaPorte, Axel
4352 Outrigger Ln.                       Lisa Lapointe                                Mayra LaPorte
Tampa, FL 33615                          11024 Golden Silence Drive                   5611 Crest Hill Drive
                                         Riverview, FL 33579                          Tampa, FL 33615



LaPorte, Marie                           Lara, Gina                                   Larkin, Brian
4412 West Elm St.                        4638 Donnie Drive                            Leslie Powers
Tampa, FL 33614                          Tampa, FL 33614                              2005 Arbor Drive
                                                                                      Clearwater, FL 33760



Larkins, Coreatha B.                     Larose, Anthony                              Larrea, Leonard
4101 W. Arch Street                      5216 Covesound                               Norma Larrea
Tampa, FL 33607                          Appollo Beach, FL 33572                      350 SW 167th Ave.
                                                                                      Pembroke, FL 33027



Larsen, Greg                             Larussa, Amy                                 Lasko, Dennis
Avoda Larsen                             Michael Larussa, Renee & Lorice              7225 Bellingham Oaks Blvd.
202 East Tremont Street                  8086 Roaring Creek Ct.                       Tampa, FL 33634
Interlachen, FL 32148-5422               Kissimmee, FL 34747



Laster, Marcus Cedric                    Latimer, Craig                               Lau, Michael
24650 Martin St                          Mary Latimer                                 17009 Paula Lane
Eustis, FL 32736                         824 Dove Ridge Drive                         Lutz, FL 33558
                                         Lakeland, FL 33803



Laurence, Cheryl                         Laurie, Joseph                               Lavender, Anthony
Jason Laurence                           Maria Laurie                                 10651 Arrow Tree Blvd
1223 Holly Ave                           2858 SW 132nd Place                          Clermont, FL 34715
Daytona Beach, FL 32117                  Miami, FL 33175



Law, Joseph                              Lawhorn, Christina                           Lawrence, David
Jennifer Law                             1535 Lawndale Circle                         Debra Lawrence
2129 Knollview Court                     Winter Park, FL 32792                        12422 NW 10th Court
Oviedo, FL 32765                                                                      Coral Springs, FL 33071



Lawrence, David                          Lawson Joseph                                Lawson, Jerry (Estate of)
3703 Mykonos Ct.                         5103 Lanai Way                               4710 Hunts Court
Boca Raton, FL 33487                     Tampa, FL 33624                              Plant City, FL 33566




Lawson, Kristina                         Lawton, Gary                                 Lay, Bobby
2215 1st St # A                          Marlene Lawton                               Jessica Toles
Indian Rocks Beach, FL 33785             7512 Dr. Phillips Blvd.                      2967 SE 48th Street
                                         Orlando, FL 32819                            Ocala, FL 34480
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                                         Le, Ngoan                                     Leach, Ronald
Layton, Russell
                                         Biwh Pham                                     Patricia Leach
Evelyn Layton & trustee
                                         7000 51st Ave N                               4603 White Pine Lane
4837 Eagle Cove Blvd
                                         St. Pete, FL 33709                            Tampa, FL 33624
Palm Harbor, FL 34685



Leadingham, Chuck                        Leandre, Jose                                 Leavy, Wilson JR
c/o New Management LLC                   1102 Meadowcrest Dr                           Sally Leavy
PO. Box 1702                             Valrico, FL 33594                             1521 Brunton Blvd
Valrico, FL 33595-1702                                                                 Orlando, FL 03205



LeBruno, Victoria                        Lecroy- Dorothy                               LeDoux, Noel
3875 Vista Oaks Drive #206               8821 Van Fleet Road                           Elaine LeDoux
Martinez, CA 94553                       Riverview, FL 33578                           2021 Avalon Cove Court
                                                                                       Brandon, FL 33511



Lee, Carolyn                             Lee, Christopher                              Lee, Christopher
8828 92nd Terrace                        2243 Kimberwickle Circle                      Amanda Lee
Seminole, FL 33777                       Oviedo, FL 32765                              2608 Hawk Roost Court
                                                                                       Holiday, FL 34691



Lee, Darin                               Lee, Donald                                   Lee, Eric
2606 S 66th St                           12016 Country Cove Ave.                       Gail Lee
Tampa, FL 33619                          HUdson, FL 34669                              PO Box 27201
                                                                                       Tampa, FL 33623-7201



Lee, Hyung                               Lee, Jeremy                                   Lee, John M
PO Box 76004                             2243 Kimberwicke Circle                       322 3rd Ave
Hillsborough, FL 33675-6004              Oviedo, FL 32765                              Indialantic, FL 32903




Lee, Marci                               Lee, Richard                                  Lee, Selina
Joseph Johnson                           3109 14th St N                                1235 Pippen St.
31944 Glenhollow Rd.                     St. petersburg, FL 33704                      Jacksonville, FL 32206
Wesley Chapel, FL 33543



Lee, Sherrilyn                           Lee, Tanya                                    Leeks, Cynthia
Alan Lee                                 426 Amelanchier Ct.                           7916 Croton Ave
409 Buttonwood Ln.                       Delair, MD 21015                              Tampa, FL 33619
Largo, FL 33770



Leeper, Larry                            Leffingwell, James                            Legros, Marc
Michelle Leeper                          Mary Leffingwell                              Irene Legros
129 Mark David Blvd.                     7916 Avenal Loop                              2100 Pryor Ave.
Casselberry, FL 32707                    New Port Richey, FL 34655                     Haines City, FL 33814



Lemaster, Vance and Carolyn              Leming, Dennis                                Lemos, Dawn
5534 Williamsdale Court                  Karla Leming                                  Anthony Lemos
Seminole, FL 33772                       104 Sanchez Avenue                            40150 Stewart Road
                                         Edgewater, FL 32132                           Zephyrhills, FL 33540
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                                          Lentz, Heather                                 Lenz, Sherrie
Lentz, Brian                              Craig Lentz                                    Steven Lenz
12048 Shadow Ridge Blvd                   38314 Vinson Ave                               116 Reedy Creek Drive
Hudson, FL 34669                          Zephyrhills, FL 33542                          Frostproof, FL 33843



Leo, Joseph                               Leon, Yolanda                                  Leonard, Jean
Karen Leo                                 3412 Ace Ln.                                   10416 Opus Dr.
6407 34th Ave West                        Dover, FL 33527                                Riverview, FL 33579
Bradenton, FL 34209



Leone, Sabatino                           Leppla, Jodi                                   LeRiche, Brian
Diana Leone                               Andrew Leppla                                  10045 Creek Bluff Dr.
11707 102nd Street                        13226 Waterford Castle Drive                   Riverview, FL 33578
Largo, FL 33773                           Dade City, FL 33525



Lesher, Carl                              Lessor, Jane                                   Lester, Richard
Candice Lesher                            921 Parkwood Drive                             Judy Lester
9135 Grosse Pointe Blvd.                  Dunedin, FL 34698                              3036 Commanche Trail
Tampa, FL 33635                                                                          Lafayette, IN 47909



Levenson, Brian                           Levin, Mary                                    Levinson, Catherine
3964 Hunters Isle Drive                   250 Pop Ash Ct.                                Dana Levinson
Orlando, FL 32837                         Longwood, FL 32779                             6211 Appaloosa Trail
                                                                                         Southwest Ranches, FL 33330



Lewinson, Marilyn                         Lewis, Carol                                   Lewis, Delia
Shem Lewinson                             6226 desert peace ave                          Dennis Lewis
917 Gardenbrook Court SE                  Land O'Lake, FL 34639                          305 Willis Road
Palm Bay, FL 32909                                                                       Sardice, TN 38371



Lewis, Kathleen                           Lewis, Kenneth                                 Lexis Nexis
Patrick Lewis                             2968 Ribbon Court                              PO Box 7247-7090
27159 Tierra Del Fuego Circle             Ft. Myers, FL 33905                            Philadelphia, PA 19170-7090
Punta Gorda, FL 33983



Lhopitault, Luzmely                       Licari, Nicholas                               Lieurance, John
821 Parker Den Drive                      Angela Licari                                  Lieurance, Katherine
Ruskin, FL 33570                          4519 Eden Rock Road                            622 Avenida De Mayo
                                          Tampa, FL 33634                                Sarasota, FL 30242



Light, Charles                            Light, James and Charlene                      Lightfoot, Tina
Barbara Light                             8705 30th Street East                          1302 20th Street SW
506 SW 33rd Ave.                          Parrish, FL 34219                              Largo, FL 33770
Cape Coral, FL 33991



Lightman, Jeffrey                         Lillie, John                                   Lilly, Joseph
Eric Lightman                             Jennifer Lillie                                Joann Lilly
10846 NW 10th Place                       7825 Sinkhole Road                             25811 Bloombury Ct.
Coral Springs, FL 33071                   Bartow, FL 33830                               Land O'Lakes, FL 34689
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                                           Lilly, Michael D.                           Lima, Diane
Lilly, Mary
                                           Mary Lilly                                  John Lima
Michael Lilly
                                           1803 Princeton Lakes Drive #116             230 176th Terrance Dr
23096 Golf Manor Blvd
                                           Brandon, FL 33511                           Reddington Shores, FL 33708
Valrico, FL 33596



Linares, Jennifr                           Linares, Juana                              Linda Laframboise
Alan Hernandez                             Victor Linares                              Michael Laframboise
228 Oakside St                             6933 East Oak Forest Street                 2600 Pinewood Blvd.
Lehigh Acres, FL 33936                     Floral City, FL 34436                       Sebring, FL 33870



Lindsay, Michael                           Lindsey, Willie                             Linebaugh, Paul
7010 Mottie Rd                             1901 E. Henry Ave                           Nancy Linebaugh
Gibsonton, FL 33534                        Tampa, FL 33610                             1121 23rd Ave. N.
                                                                                       St. Petersburg, FL 33704



Lingerfelt, James Matthew                  Lipicsky, William                           Lisk, Roy
512 Yord Dale Dr.                          Urai Lipiczky                               Linda Lisk
Ruskin, FL 33570                           23110 State Road # 228                      945 Wildwood Lane
                                           Lutz, FL 33549                              Jamestown, TN 38556



Lisowski, Edward                           Littman, Robert                             Lloyd, Dennis
Jennifer Lisowski                          100 East Linton Blvd. Suite # 118-B         186 Arbor Dr. East
7260-17th Lane North                       Delray Beach, FL 33483                      palm Harbor, FL 34683
St. Petersburg, FL 33702



Lock, Sholanda                             Lockhartm Linda                             Lockler, Mitchell
PO Box 280371                              6808 Mirror Lake Ave                        Karen Lockler
Tampa, FL 33682-0371                       Tampa, FL 33634                             18979 Crooked Lane
                                                                                       Lutz, FL 33548



Lockwood, Julie                            Lodato, Salvatore                           Lofgren, Anna
Roger Lockwood                             4644 Dunnie Drive                           101 Garland Circle
7343 Fairwood Avenue                       Tampa, FL 33614                             Palm Harbor, FL 34683
New Port Richey, FL 34654



Lofgren, Nick                              Lofrgen, Christopher                        Logan, William
101 Garland Circle                         PO Box 5451                                 Logan, Amber
Palm Harbor, FL 34683                      Winter Park, FL 32793-5451                  1620 S. Lady Mary Dr.
                                                                                       Clearwater, FL 33756



Logiudice, Jeff                            Logue, Lisa                                 Lomongo, Maria
7001 North 15th Street                     7708 2nd Ave West                           Modesto Lomongo
Tampa, FL 33610                            Bradenton, FL 34209                         7001 North 15th Street
                                                                                       St. Petersburg, FL 33713



London Future Holdings LLC                 Londono, John                               Long, Robert
c/o Jalon Johnson                          2519 Bonterra Blvd.                         Wicok Long
1410 S. Ocean Drive #1106                  Valrico, FL 33594                           1527 White Hawk Trail
Hollywood, FL 33019                                                                    Lutz, FL 33549
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                                           Long, Robert                                 Long, Robin
Long, Beverly                              Nicole Long                                  Estate - Woodruff
3206 E. Worth Bay St.                      1527 White Hawk Trail                        5007 Swallow Dr
Tampa, FL 33610                            Lutz, FL 33549                               Land O'Lakes, FL 34639



Looney, Charles                            Lopez, Belen                                 Lopez, Grace
1150 Marine St                             9385 D. Boca Gardens Circle South            PO Box 195
Clearwater, FL 33755                       Boca Raton, FL 33496                         Dundein, FL 34697-0195




Lopez-Coombs, Jenny                        Lopez-Vargas, Luis                           Lorah, Diane
3510 3rd Ave. N.,                          Noemi Camacho                                12704 Balm Riverview Rd.
St. Petersburg, FL 33713                   6262 142nd Ave. Apt 401                      Riverview, FL 33579
                                           Clearwater, FL 33760



Lord, Charlene                             Lord, Mavis                                  Lott, Dina
10824 116th Street                         4118 Bedford Ave.                            David Browning
Largo, FL 33778                            Winter Haven, FL 33884                       3503 Wilders Pond way
                                                                                        Plant City, FL 33565



Lou Leinhauser                             Love, Adrian                                 Love, Annette
13014 N. Dale Mabry Hwy, #526              3532 Brookstone Drive                        Kevin Love
Tampa, FL 33618                            Holiday, FL 34691                            8711 St. Regis Lane
                                                                                        Port Richey, FL 34668



Lovell, Mark                               Lovett, Peggy                                Lovig, Kevin
12140 Fox Bloom Ave                        510 York Dale                                705 Stillview Circle
Gibsonton, FL 33534                        Ruskin, FL 33570                             Brandon, FL 33510




Lowe, Elizabeth                            Lowe, Kathi                                  Lowrie, Barbara J.
Morton Lowe                                1740 Kirtley Dr.                             8231 San Felipe Ct.
25 Central Park West #27k                  Brandon, FL 33511                            Port Richey, FL 34668
New York, NY 33480



Lucardie, Teresa                           Lucci, Robert                                Luciano, Michael
10903 Standing Stone Dr.                   1826 Boyce St.                               1101 Grantwood Ave.
Wimauma, FL 33598                          Sarasots, FL 34239                           Clearwater, FL 33759




Luff, James K.                             Lugo, Ilena                                  Lugo, Luis
11346 Chalet Ave.                          Miguel Lugo                                  Jennifer Lugo
Englewood, FL 34224                        250 West 64th Street                         9402 Cavendish Drive
                                           Hialeah, FL 33012                            Tampa, FL 33624



Lugo, Luis                                 Lugo, Luis Ramos                             Luisser, Margaret
8549 Gunn Hwy                              Naomi Lugo                                   Stephen Luisser
Odessa, FL 33556                           6350 81st Ave N                              4552 Oakbrooke Court
                                           Pinellas Park, FL 33781                      Jacksonville, FL 32277
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                                         Luna, Robert                                 Lundgren, Sabine
Luna, Gerardo
                                         774 Snug Island                              480 Sundance Trail
Stephanie Luna
                                         Clearwater, FL 33767                         Wimauma, FL 33598
2633 Winchester Circle
Eustis, FL 32726



Lundon, Mary                             Lynch, Brian                                 Lynch, Tammy
4405 W. Wallcraft Ave                    Christina Lynch                              333 W. Trade St. #1902
Tampa, FL 33611                          4717 West Bay View Ave.                      Charlotte, NC 28202
                                         Tampa, FL 33611



Lyons, Elizabeth                         Mabey, Robert                                MacDonald, Monique
9155 Pemberton Street                    Ronda Mabey                                  1843 Lake Cypress Drive
Spring Hill, FL 34608                    1619 Nebraska Ave.                           Safety Harbor, FL 34695
                                         Palm Harbor, FL 34683



Mace, Kenneth                            Machado, Angela                              Mack, Andre
Janice Mace                              18891 SW 29th Court                          2805 North Munro Street
PO Box 687                               Miramar, FL 33029-2407                       Tampa, FL 33602
Ringgold, GA 30736-0687



Mack, Sheila                             Mackin, Brice                                Macksoud, Joseph
Samuel Mack                              Heather Mackin                               350 Lake Shore Drive
15818 Scrimshaw Drive                    1906 W Bekel Ave                             Birmingham, AL 35209
Tampa, FL 33624                          Tampa, FL 33606



Maddux, Shelle                           Magallanes , Joe Jr.                         Maggio, Ronald
619 North Oak St                         3008 Summer House Drive                      2622 Jarvis Cir
Lincolnton, NC 28092                     Valrico, FL 33594                            Palm Harbor, FL 34683




Maggiola, Arthur                         Magliano & Baker PA                          Magliano, John
3610 Summerwind Circle                   4814 N. Grady Ave.                           Kristine Gregg
Bradenton, FL 34209                      Tampa, FL 33614                              3650 5th Ave
                                                                                      St. Petersburg, FL 33713



Maharana, Meenawattie                    Maher, Anne                                  Mahler, David
Vidyanard Maharana                       C/O Prashad                                  Surasvadee Mahler
10879 Cory Lake Dr.                      13575 58th St N. #300                        2690 Oak Brook Lane
Tampa, FL 33647                          Clearwater, FL 33760                         Fort Lauderdale, FL 33332



Mahotiere-Gilot                          Maida, James                                 Maiden, Alan
Jean Gilto                               PO Box 5797                                  3120 Lena Lane
301 York Oak Drive                       Clearwater, FL 33758-5797                    Sarasota, FL 34240
Ruskin, FL 33570



Main Street Note Buyers                  Makryllos, Pete                              Malatesta, Luigi
Chris Sharp                              Carol Makryllos                              Dianne Malatesta
13014 North Dale Mabry Hwy # 357         3418 Columbus Dr                             16608 Valley Drive
Tampa, FL 33618                          Holiday, FL 34691                            Tampa, FL 33618
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                                          Maldonado, Marta                             Male, Carrie
Malave, Norma
                                          4421 W. Wyoming Ave                          2473 Andre Ct
Melvin Malave
                                          Tampa, FL 33616                              Ocoee, FL 34761
2108 West Cluster Avenue
Tampa, FL 33604



Malikhin, Sergei                          Malle, Rachel                                Malliza, Danielle
3628 South Ocean Blvd.                    Bob Malle                                    Amilear Malliza
Highland Beach, FL 33487                  445 Grant Road                               10630 Boyette Creek Blvd.
                                          Venice, FL 34293                             Riverview, FL 33569



Malloy, William                           Malm, Dale                                   Malm, Dale
Sandra Malloy                             982 Pritchard Island Rd                      Sharon Malm
1617 Butch Cassidy Trail                  Inverness, FL 34450                          4363 North Sacramento Avenue
Wimauma, FL 33598                                                                      Beverly Hills, FL 34465



Malone, Kevin                             Malone, Robert                               Malowney, George
Deborah Malone                            2174 McMullen Rd.                            5135 US Hwy 19 N
5144 NW 30th Court                        Largo, FL 33713                              New Port Richey, FL 34652
Margate, FL 33063



Mandolfo, Terry                           Mangiameli, Salvatore                        Mangio, Charles
944 Ortega Road                           29761 Seacol St.                             Cynthia Mangio
West Palm Beach, FL 33405                 Clearwater, FL 33761                         266 Katherine Boulevard #7102
                                                                                       Palm Harbor, FL 34684



Mangone, Paul                             Mangone, Paul                                Mann, Lisa Rose
Laura Mangone                             Laura Mangone                                Nathan Mann
21940 Dupree Dr                           17248 Poppy Fields Lane                      5511 Bruton Road
Land O'Lakes, FL 34639                    Land O'Lakes, FL 34638                       Plant City, FL 33565



Mann, Shawn                               Mannakulathil, Raju                          Mantilla, Epifanio
Monika Mann                               190 Oakwood Terrace                          Andrea Portilla
1826 2nd Ave East                         Athens, GA 30607                             4913 Dharmand Circle
Manatee, FL 34208                                                                      Tampa, FL 33619



Manzi, Cesar                              Marcial, Alexandra                           Marcial, Ernie
Oreste Russo                              9219 Balfern Ct                              Lissette Montas
83-19 141st Street Apt 125                Tampa, FL 33615                              18910 Edinborough Way
Briarwood, NY 11435-1623                                                               Tampa, FL 33647



Marcone, Michael                          Mardjuki, Robert                             Mardones, Rafael and Ester
111 Warbler Lane                          Susanna Mardjuki                             20024 Heritage Point Drive
Sarasota, FL 34236                        8275 Muller Ranch Drive                      Tampa, FL 33647
                                          Pleasanton, CA 94588



Maresma, Gloria                           Markovitz, Israel                            Marmarellis, Joan
2511 Metro Sevilla Dr. Unit 106           MI Investments                               Charles Fager
Orlando, FL 32835                         1101 Vinter Blvd                             804 S. Newport Avenue
                                          Palm Beach Gardens, FL 33410                 Tampa, FL 33606
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                                         Marquinez, Robert                             Marquis, Leo and Karen
Marois, Jerry                            Maria Marquinez                               894 Aviary Bay Court
6829 Shimmering Dr.                      3404 Majestic View Dr.                        Longwood, FL 32750
Lakeland, FL 33813                       Lutz, FL 33558



Marr, Dustin                             Marrero, Osbey                                Marshall, Marcia
Kristin Marr                             Narrero Perez                                 1150 S Fulkirk Place
14984 New Port Rd.                       6409 Eden Lane                                Riverview, FL 33569
Clearwater, FL 33764                     Tampa, FL 33634



Marshall, Zachariah                      Marte, Julio                                  Marte, Victor
Marilyn Marshall                         15791 Fishhawk Falls Dr.                      Ada Itricoche
3817 Twilight Drive                      Lithia, FL 33547                              6311 Bridgewater Drive
Valrico, FL 33594                                                                      Lithia, FL 33547



Martek, Michael                          Martek, Michael                               Martell, George
Robin Cooper                             Robin Cooper                                  3154 21st N
5435 Burlington Ave N.                   1761 Big Oak Lane                             St. Pete, FL 33713
St.Petersburg, FL 33710                  Kissimmee, FL 33634



Marter, Agnes                            Martin, Barbara                               Martin, Barbara
Urban, Wojciech                          James Martin                                  3596 W. Saint Brides Cir.
27 Tone Lane                             1917 Rockbrook Drive                          Orlando, FL 32812
Staten Island, NY 10305                  Arlington, TX 76006



Martin, Charles                          Martin, Gustavis                              Martin, John
Barbara Martin                           Naimah Martin                                 Maria Martin
3333 W. Pine St.                         1901 NW 185th Terrace                         4908 MurryHill drive
Tampa, FL 33607                          Miam Gardens, FL 33056                        Tampa, FL 33615



Martin, Lee Ann                          Martin, Mary                                  Martin, Monzar
6208 121 Ave East                        371 Snapdragon Loop                           Krysta-Gaye Burchenson
Parrish, FL 34219                        Bradenton, FL 34212                           3403 Foxcroft Rd
                                                                                       Miramar, FL 33025



Martin, Penny                            Martin, Ronald                                Martin, Summer
Martha Taylor, Christopher Bauman        Darlene Martin                                Eric Martin
11600 Dauphin Ave.                       11921 Seabreeze Cove Ln.                      2806 Blossom Dr.
Largo, FL 33778                          Ft. Myers, FL 33908                           Holiday, FL 34691



Martinez, Alejandro                      Martinez, Dejesus                             Martinez, Elias
7825 NE Bayshore Court # 201             3309 W Aileen St                              5411 Tangerine Dr.
Miami, FL 33138                          Tampa, FL 33607                               Zephyrhills, FL 33542




Martinez, Evelyn                         Martinez, Griselda                            Martinez, Jose
1809 Strathmore Cir.                     6338 Gondola Dr                               11219 Marigold Dr
Mt. Dora, FL 32757                       Riverview, FL 33578                           Bradenton, FL 34202
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                                            Martinez, Michael                             Martinez, Philippe
Martinez, Julio and Pamela                  12051 Citrus Leaf Dr.                         Florence Splingard
1010 Calle Rosa Place                       Gibsonton, FL 33534                           1934 Cove Lane
Ruskin, FL 33573                                                                          Clearwater, FL 33764



Martinez, Tammy                             Martinez- Roman, Diamar                       Martir, Aurelio
Joann Sowma & Esnori Martinez               11577 Misty Isle Lane                         Brenda Martir
1607 East 98th Ave                          Riverview, FL 33519                           12009 Infinity Drive
Tampa, FL 33612                                                                           New Port Richey, FL 34654



Marvin, Timothy                             Maslonka, Thomas                              Mason, Freddie
Elaine Marvin                               Crista Maslonka                               11001 Golden Silence Dr
14516 Bay Hills Drive                       2514 Mariette St.                             Rivervew, FL 33579
Largo, FL 33774                             Sarasota, FL 34231



Matera, Caren                               Mathews, Kristie                              Mathis, Tony
Paul Matera                                 4223 West Tacon Street                        1317 E. Church St.
17434 Boca Vista Rd, #1005                  Tampa, FL 33629                               Plant City, FL 33563
Punta Gorda, FL 33955



Mathurin, Armand Dale                       Matias, Iris                                  Matos, Diana
Emily Mathurn                               324 SW 2nd Ave                                5042 Green Key Road
2431 Grive Ridge Drive                      Boynton Beach, FL 33435-4818                  New Port Richey, FL 34652
Palm Harbor, FL 34683



Matsangos, Sophie                           Matteson, Bobby                               Matthews, Nancy
3750 Lighthouse Way                         6960 20th Ave N Apt 207                       6266 Levi Court
Holiday, FL 34691                           St. Petersburg, FL 33710                      Springfield, VA 22150




Matthews, Victoria                          Mau, Timothy                                  Maurer, Michael
Daniel Matthews                             Melissa Mau                                   Carmen Mauerer
1938 S.E. Redwing Cir                       6266 Spring Hollow Rd                         1790 McCauley Road
Port St. Lucie, FL 34592                    Birmingham, AL 35071                          Clearwater, FL 33765



Maxwell, Jill                               May, Andrew                                   May, Barry
10120 Somersby Drive                        301 West Platt St. #259                       19254 Fisherman Bend Drive
Riverview, FL 33578                         Tampa, FL 33606                               Lutz, FL 33558




May, Dale                                   Mayhall, Christina                            Maynard, Michael
Valerie May                                 Jerome Diamond                                23110 SR 54 # 232
4425 Gasparilla Ave.                        3428 70th Glen East                           Lutz, FL 33549
Orlando, FL 32812                           Palmetto, FL 34221



Mays, Kim                                   Mays, Mary Alyson                             Mazur, Stella
Robert Mays                                 1314 East Conover Street                      4616 Cloverlawn Dr.
3866 SW 133rd Loop                          Tampa, FL 33603                               Tampa, FL 33624
Ocala, FL 34473
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                                         McAteer, Kathleen                            McBride, Clifton
Mazza, Keith
                                         PO Box 11121                                 2949 Willow Leaf Lane
Heather Shaila
                                         Spring Hill, FL 34610-1121                   Wesley Chapel, FL 33544
9381 Southern Charm Circle
Brooksville, FL 34613



McBride, Lorrie                          McCall, William                              McCampbell, James
Daniel McBride                           5799 Country Mill Court                      1537 Woodrose St.
3210 Acapulco Drive                      Jacksonville, FL 32222                       North Port, FL 34288
Riverview, FL 33578



McCandlish, Gavin                        McCarthy, Tim                                McClinton, Delores
11943 79th Ave.,                         5844 Mariposa Dr.                            PO Box 531253
Seminole, FL 33772                       Holiday, FL 34690                            St. Petersburg, FL 33747-1253




McCollough, Frederick                    McComb, Stace                                McCool, Jennifer
1415 North Kings Way Road                Laurie McComb                                4841 Wildflower Dr.
Seffner, FL 33584                        360 Magneta Loop                             Lakeland, FL 33811
                                         Auburndale, FL 33823



McCormack, Maria and Kenneth             McCormick, Fred                              McCormick, Michael
2225 Homewood Drive                      508 Rafael Blvd N.E.                         Stephanie McCormick
Orlando, FL 32809                        St.Petersburg, FL 33704                      7145 39th Ave N.
                                                                                      St.Petersburg, FL 33709



McCormick, Paula, Estate of              McCormick, Stephanie                         McCoy, James
Richard Killmer                          7145 39th Ave N.                             5805 Lady Bug Court
9956 Indian Key Trail                    St.Petersburg, FL 33709                      Tampa, FL 33625
Seminole, FL 33776



McCoy, Melissa                           McCoy, Rosemary                              McCue, Brian
16543 Forest Lake Drive                  1418 Manaotak Point Dr Apt 105               7051 Gas Line Rd
Tampa, FL 33624                          Jacksonville, FL 32221                       Keystone Heghts, FL 32656




McCullough, Juanalecha                   McDonald, Daniel                             McDonald, Dwight
35026 Fawnville Way                      Mark McDonald                                5406 Lindburg St.
Zephyrhills, FL 33541                    27910 Tammi Drive                            Riverview, FL 33578
                                         Tavares, FL 32778



McDonald, Gerren                         McDonnell, Joseph                            McElroy, Philip
7006 Center Creek Drive                  4141 Whittner Drive                          11313 Carrollwood Estates
Tampa, FL 33615                          Land O'Lakes, FL 34639                       Tampa, FL 33618




McFarland, Anita                         McGalliard, David                            McGee, Sandra
1200 63rd Ave N                          Krystyna McGalliard                          McGee, Russell
St. Pete, FL 33702                       12568 Tree Beard Court                       42200 Morgan Rd. # 29H
                                         Jacksonville, FL 32225                       Temecula, CA 92591
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                                         McGill, James                                 McGill, Thomas
McGeehan, Cornelius                      Robin McGill                                  Investor Trustee Services, LLC
7554 Lake Forest Circle                  5633 62nd Way N                               172 W. Warren Ave
Port Richey, FL 34668                    St. Petersburg, FL 33709                      Longwood, FL 32750



McGir, Michael                           McGlynn, Stephen                              McGrath, James S.
Carrie McGirr                            Adria McGlynn                                 Judith A. McGrath
2817 Durham St.                          18405 Citation Street                         800 17th Ave. N.
Tampa, FL 33605                          Lutz, FL 33549-5818                           St. Petersburg, FL 33704



McGreevy, Megan                          McGuigan, Debra                               McGuire, Kevin
9026 Moonlit Meadows Loop                15216 Dennis Drive                            Brian
Riverview, FL 33578                      Hudson, FL 34669                              13726 Judy Ave
                                                                                       Hudson, FL 34667



McGuire, Larry                           McHugh, Michael                               McHugh, Michael J.
4007 Royal Palm Blvd                     11205 SW 56th Place                           1760 Creekwater Blvd
Brandenton, FL 34210                     Cooper City, FL 33330                         Port Orange, FL 32128




McKay, Harry                             McKeague, Marilyn                             McKenny, Michael
8412 Tupeco Drive                        John McKeague                                 Holly McKenny
Tampa, FL 33637                          21126 Lake Patience Rd.                       5111 Queen Palm Terrace NE
                                         Land O'Lakes, FL 34638                        St. Pete, FL 33703



McKenzie, Donald                         McKenzie, Donavan                             McKinney, Billy
Keisha McKenzie                          4546 Mapletree Loop                           Linda Mckinney
15108 Copper Loop                        Wesley Chapel, FL 33544                       3111 Whispering Dr North
Brooksville, FL 34604                                                                  Largo, FL 33771



McKinney, Fletcher                       McKinney, Fletcher                            McKnight, Amber
Nancy McKinney                           Nancy McKinney                                212 Haynes Dr.
4291 Old Nine Foot Rd                    PO Box 1440                                   Johnson City, TN 37604
Eagle Lake, FL 33839                     Eagle Lake, FL 33839-1440



McKnight, Jennifer                       McLarty, Dennis                               McLean- Martin
Robert McKnight                          Jane Mclarty                                  Anne McLean
8537 93rd Ave                            12080 Wilkes Road                             1872 Hunt Lane
Largo, FL 33777                          Yale, MI 48097                                Clearwater, FL 33764



McLees, Stuart                           McMahon, Howard                               McMillan, Pollynesia
Sherry McLees                            2828 Grapefruit Dr.                           6603 Oakview Terrace
360 Marco Court                          Auburndale, FL 33823                          Tampa, FL 33610
Clermont, FL 34715



McRanie, Griffin                         McSears, Freddie Jr.                          McTavish, Kathleen
Sandra Griffin                           9518 Bay Pine Lane                            Scotty McTavish
4502 Burmuda Drive                       Orlando, FL 32832                             2033 Karen Drive
Hernando Beach, FL 34907                                                               Lutz, FL 33558
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                                            Meanos, Ilonie                                 Means, Cecil
Meadows, Doug
                                            Paulos Menos                                   Pamela Means
Lynn Meadows
                                            2724 Plymouth Sorrento Road                    1308 Marion Drive South
2814 M. Mary Land Ave
                                            Apopka, FL 32712                               St. Petersburg, FL 33707
Plant City, FL 33563



Mechas, Anthony                             Meecham, Phiippa                               Meehan, Theresa
14521 Mirabelle Vista Cirq                  Basil Meecham                                  379 River Bluff Lane
Tampa, FL 33626                             5512 Palm Lake Circle                          Royal Palm Beach, FL 33411
                                            Orlando, FL 32819



Meier, Robert                               Meisman, Karen                                 Meitzen, Steven
Marisa Meier                                Michael Meisman                                Tracey Meitzen
5240 Silver Charm Terrace                   4911 48th North                                19134 Cherryl Rose Circle
Wesley Chapel, FL 33544                     St. Petersburg, FL 33709                       Lutz, FL 33554



Mejia, Elias                                Mele, Anthony                                  Melendez, Jose
Sonia Velasco Nava                          Mele, Katrina Walters                          Julie Melendez
2520 Wheeler Grives Drive                   1520 Brilliant Cut Way                         5024 White Sanderling Ct.
Seffner, FL 33584                           Valrico, FL 33594                              Tampa, FL 33619



Melendez, Maria                             Melia, Pamela                                  Melissa Karp Elsbree, Esq.
Ruben Robles                                17381 Stepping Stone Dr.                       1514 3rd Stree Circle East
6412 Oyster Island Aven                     Ft. Myers, FL 33967                            Palmetto, FL 34221
Apollo Beach, FL 33572



Melitides, Lillian                          Mellow, Beverley-Walnut                        Melton, Eric
1763 Hawthorne Court                        1071 S. Pointe Alexis Dr.                      5125 Abagail Dr.
Oldsmar, FL 34677                           Tarpon Springs, FL 34689                       Spring Hill, FL 34609




Menard, Ronald                              Mendelson, Pablo                               Menendez, Brian
Melanie Menard                              5689 Bern Wood Dr.                             1900 N. Nebraska Ave.
18116 Cutlass Dr.                           Orlando, FL 32810                              Hillsborough, FL 33602
Fort Myers Beach, FL 33931



Menendez, Tina                              Mengel, Charles                                Mercado, Darrin
302 W. Fern St                              21021 Follensby Court                          2628 US 19
Tampa, FL 33604                             Land O'Lakes, FL 34637                         Holiday, FL 34691




Merced, Carlos                              Merced, Robert                                 Merced, Robert
3201 Canaveral Groves Blvd.                 6001 Elderado Dr                               3303 N. Lakeview Dr.
Cocoa, FL 32926                             Tampa, FL 33615                                Tampa, FL 33618




Mercer, James                               Meredith, Rick                                 Mericle, Thomas
Tammy Mercer                                6381 Tulip Drive                               Angela Mericle
2175 New Azora Rd                           Zephyrhills, FL 33544                          9310 North Tampa St
Spring Hill, FL 34608                                                                      Tampa, FL 33612
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                                          Merx Real Estate, LLC                           Messeguer, Manuel
Merrill, Matthew                          62 Baywood Avenue                               Diahann Messeguer
1901 3rd Ave. East                        Clearwater, FL 33765                            2609 Black Lake Blvd.
Bradenton, FL 34208                                                                       Winter Gardens, FL 34787



Messick, Dianne                           Meszaros, Zsolt                                 Metzler, Lisa
Daniel Messick                            Edina Hegedus                                   12949 Kings Crossing Dr.
507 East Young St                         4509 Shadberry Dr.                              Gibsonton, FL 33534
Plant City, FL 33563                      Tampa, FL 33624



Meyer, Paul                               Meyer, Toni                                     Meysembourg, Mark
Brigitte Meyer                            18313 Sturbridge Ct.                            Linda Sterry
10181 Carolina Street                     Tampa, FL 33647                                 11522 Monette Rd.
Bonita Springs, FL 34135                                                                  Riverview, FL 33569



Mianowski, Angel                          Michaud, Laurie                                 Michele Cascio
4800 Oaklawn Lane                         5560 Pentail Circle                             Scott Rosa
St. Petersburg, FL 33708-3026             Tampa, FL 33625                                 6601 Callaghan Lane
                                                                                          North Port, FL 34291



Middleton, Stephanie                      Midili, Patrick                                 Migliaccio, Robert
Shawn Middleton                           Tatyana Midili                                  5520 Fountains Drive South
3478 Oak Street                           5224 Braddock Drive                             Lake Worth, FL 33467
Dunedin, FL 34698                         Zephyrhills, FL 33541



Milam, Erin                               Milburn, Samuel                                 Miles, Howard
William Milam                             115 Skyline Blvd.                               4402 Pine Meadow Court
12028 Northumberland Drive                Merritt Island, FL 32953                        Tampa, FL 33607
Tampa, FL 33626



Milestone Reporting Company               Miller, Charles                                 Miller, Jermaine
PO Box 3426                               Carolyn Miller                                  1003 Brenton Leaf Drive
Orlando, FL 32802-3426                    1032 34th St.                                   Ruskin, FL 33570
                                          Orlando, FL 32805



Miller, Judith                            Miller, Kathleen                                Miller, Kyle
820 Bayou View Dr.                        Kent Miller                                     113 Westwood Dr.
Brandon, FL 33510                         129 St. Croix Island Drive                      Mandeville, LA 70471
                                          St. Augustine, FL 32092



Miller, Mary                              Miller, Melanie                                 Miller, Richard
1509 Lakeside Drive                       Thomas Miller                                   Alicia Miller
Dunedin, FL 34698                         17151 Lakeshore Road                            6034 Whispering Tree Lane
                                          Lutz, FL 33558                                  Port Orange, FL 32128



Millett, Colleen                          Milliken, Kathryn                               Milonas, Taso
Gerald Millett                            Robert Milliken                                 Thai Milonas
359 Forestwood Court                      3915 King Drive                                 7554 Albert Tillinghast Drive
Spring Hill, FL 34609                     Brandon, FL 33511-7809                          Sarasota, FL 34240
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                                           Minihan, Donagh                             Mink, Stephen
Milton, Gregory                            13015 Plantation Park #1031                 Piedad Mink
7818 Bullara Drive                         Orlando, FL 32821                           38692 Ferm Circle
Temple Terrace, FL 33637                                                               Zephyrhills, FL 33540



Minnifield, Sara                           Mira, Michael                               Miracle, Glen
2329 West Ohio Ave                         Jacquelyn Mira                              435 Norwood St.
Tampa, FL 33607                            5553 Braddock Dr                            Merritt Island, FL 32953
                                           Zephyrhills, FL 33541



Mirtchev, Valentin                         Misarti, Paul                               Mitchell, Andre
William Mirtchev                           11902 Keating Dr.                           4213 E. Miller Ave.
5117 Ridgewat Dr                           Tampa, FL 33626                             Tampa, FL 33617
Orlando, FL 32819



Mitchell, Chris                            Mitchell, Marianna                          Mizelle, Jeannine
515 Schvette Road                          501 E. Dania Beach Blvd. 5-2a               8504 Culebra Ave.
Plant City, FL 33567                       Dania Beach, FL 33004                       North Port, FL 34287-5432




Mizerak, Gerard                            Mizutani, Toshiaki                          Mobley, Christine
10602 Eveningwood Ct.                      6813 80th Ter N                             2928 West Henry Ave.
Trinity, FL 34655                          Pinellas Park, FL 33781-2010                Tampa, FL 33614




Mobley, Kenneth                            Mock, Brent                                 Mockler, Richard
Rosi Mary Filardo                          Barbar Mock                                 4204 Elba Place,
3541 Fairway Forest Drive                  1223 Mazarian Place                         Valrico, FL 33596
Palm Harbor, FL 34685                      Trinity, FL 34655



Modic, Thomas                              Moed, Jennie                                Mola, Eduardo
Helga V. Ronco                             315 West End Ave 4C                         Veronica Mola
1218 Shorecrest Circle                     New York, NY 10023                          6709 East Whiteway Drive
Clermont, FL 34711                                                                     Tampa, FL 33617



Moldenhauer, Ronald                        Molina, Diane                               Molina, Maritza
826 Lakeside Terrace                       1203 Old Millpond Rd                        8543 N. Hialeah Rd
Palm Harbor, FL 34683                      Melbourne, FL 32940                         Tampa, FL 33617




Molloy, Gerard                             Moly, Jacqueline                            Moncayo, Gladys
Laura Molloy                               4813 Bay Crest Drive                        Jorge Moncayo
8930 South Hollybrook Blvd.                Tampa, FL 33615                             3198 Bearclaw Way
Pembroke Pines, FL 33025                                                               Kissimmee, FL 34746



Money, Gerald                              Mongiello, Carlos                           Monilaw, Douglas
Jorge Moncayo                              9506 Tara Cay Court                         3543 Dellefield Street
10500 San Fernando Blvd. NE                Seminole, FL 33776                          New Port Richey, FL 34655
St. Petersburg, FL 33702
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                                            Montague, Tammy                               Montalto, Frank
Monilaw, Douglas
                                            Harris, Leslie                                1342 Belleair Rd
Kathleen McGonigal
                                            8846 Georgetown Lane                          Clearwater, FL 33756
318 West Crest Ave
                                            Boynton Beach, FL 33437
Tampa, FL 33603



Montalvo, Carlos                            Montcalm, Terry                               Montealegre, Erick
Juana Montalvo                              Nancy Montcalm                                Jaclyn
326 Brandon Drive                           431 18th Ave.                                 425 Old Western Trail
Davenport, FL 33897                         Indian Rocks Beach, FL 33785                  Sanford, FL 32773



Monteiro, Rosana                            Montes, Max                                   Montgomery, Barbara
9026 Ron Den Ln                             8416 N Jones Ave, Apt 6                       Kenneth Montgomery
Windermere, FL 34786                        Tampa, FL 33604                               1383 Monterey Cir. NE
                                                                                          St. Petersburg, FL 33704



Montgomery, Richard                         Montgomery, Tara                              Monton, Robert
3045 Regal Oaks Blvd.                       3611 3rd Ave. N.                              3620 Liberty Hill Dr.
Palm Harbor, FL 34684                       St. Petersburg, FL 33713                      Clermont, FL 34711




Moonan, Deborah                             Moonasar, Ravi                                Mooney, Theodore
Gabriel Sagasti                             PO Box 685                                    142 Perry Creek Dr
20020 Daytona Way                           Ocoee, FL 34761-0685                          Jacksonville, FL 32220
Tampa, FL 33647



Moore, Anna                                 Moore, Calvictor                              Moore, Christopher
James Moore                                 2244 Thornbrook Drive                         Gretchen Moore
3166 SW Curcuma St.                         Jacksonville, FL 32221                        2806 Brucken Rd.
Port Saint Lucie, FL 34953                                                                Valrico, FL 33594



Moore, Jason                                Moore, Todd                                   Morales, Gonzalo
Jeramy Bruning                              c/o Shri Prashad                              Morales, Alicia
2712 Doe Run Court                          1477 April Lane                               1063 Battery Point Drive
Tampa, FL 33618                             Morrow, GA 30260                              Orlando, FL 32828



Morales, Ileana                             Morales, Lina                                 Morales, Michael
119 Cranbrooke Dr                           6115 Oak Clusters Circle                      Tonya Morales
Seffner, FL 33584                           Tampa, FL 33634                               10302 Salisbury St.
                                                                                          Riverview, FL 33569



Morano, Pauline                             More, John                                    Morehart, Debra
Chris Morano                                Tonya More                                    John Morehart
150 Elm Ave.                                7318 North Ola Ave.                           317 Porto Alegre Street
Satellite Beach, FL 32937                   Tampa, FL 33604                               Punta Gorda, FL 33983



Moreira, Berardo                            Morelock, Melissa                             Moreno, David
Alicia Moreira                              11357 116th Ave N                             Gloria Moreno
PO Box 1988                                 Largo, FL 33778                               7812 Robert E. Lee Rd
Lady Lake, FL 32158-1988                                                                  Tampa, FL 33637
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                                          Morgan, Vivienne                              Morin, Mark
Morettini, Robert
                                          Jerry Morgan                                  Maureen Morin
Sylvia Morettini
                                          11031 Bentwood Ct.                            237 Groten Rd. N.
1034 Holly Cone Drive
                                          New Port Richey, FL 34654                     Chelmsford, MA 01863
Riverview, FL 33569



Morizio, Lorenzo and Renee                Morning, Darrell                              Morris, Brandon
10741 High Crest Court                    6031 Twin Bridges Rd.                         317 SE 29th Terrace
Howey in the Hills, FL 34737              Zephyrhills, FL 33541                         Ocala, FL 34471




Morris, Carol                             Morris, Glen                                  Morrison, Bruce
3036 Eastland Blvd.                       Becky Morris                                  Claire Morrison
Clearwater, FL 33761-4118                 3333 Logue Road                               8004 50th Ave North
                                          Myakka City, FL 34251                         St. Petersburg, FL 33709



Morrison, Paul                            Morrison, Prince                              Morrissette, Jennifer
Shawn Morrison                            2859 NW 7th                                   Vicki Leonard
102 Winston Manor Circle                  Ft. Lauderdale, FL 33311                      6991 18th St. N
Seffner, FL 33584                                                                       St. Petersburg, FL 33702



Morrone, Domenic                          Morton, Debra                                 Morton, Latasha
6398 33rd Ave N                           749 Pruitt Drive                              Charles Morton
St. Pete, FL 33710                        Madeira Beach, FL 33708                       2062 San Marino Way N
                                                                                        Clearwater, FL 33763



Moser, Brandon                            Moss, Gerard                                  Motley, Dean
4350 Palencia Dr                          344 Maudehelen Street                         James Stilson
Tampa, FL 33618                           Apopka, FL 32703                              2700 Sea Breeze Way
                                                                                        Wesley Chapel, FL 33544



Motta, Joseph                             Motter, Nicole                                Moya, Jose
3910 NE 48th Avenue                       4709 Daw Meadow Ct. N.                        2965 Winlock Ave.
High Springs, FL 32643                    Plant City, FL 33566                          Deltona, FL 32738




Mucheke, Moses                            Mudge, Lorraine                               Muggiati, Natalia
3704 Lighthouse Way                       3300 Crystal Creek Blvd.                      502 S. Lakemont Ave
Holiday, FL 34691                         Orlando, FL 32837                             Winter Park, FL 32792




Muhammed, Mumtaz                          Mulder, Frank                                 Mule, Matt
Corine Mumtaz                             2632 W. Sunset Dr,                            1304 North Dale Mabry # 357
4851 Daphne Street                        Tampa, FL 33629                               Tampa, FL 33618
New Port Richey, FL 34652



Mullinax, Gloria                          Mullinnix, Tinette                            Muratori, Marina
611 First Ave                             1509 Mulberry AVE                             Trinity Tucker
Lady Lake, FL 32159                       Lake Placid, FL 33852                         5422 Twin Creeks Dr.
                                                                                        Valrico, FL 33596
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                                          Murley, Mary                               Murphy, Joseph
Murdoch, Robert and Amy Leigh             3211 W. Swann Ave., #902                   Casandra Murphy
1510 Adriatic Drive                       Tampa, FL 33609                            4014 E. Hanlon St
Ococee, FL 34761                                                                     Tampa, FL 33617



Murray, Christopher                       Murray, Elizabeth                          Murray, Ronald
Dawn Murray                               4117 Brentwood Park Circle                 Lori Murray
15015 Winding Ridge Lane                  Tampa, FL 33624                            3450 Hillmont Circle
Clermont, FL 34715                                                                   Orlando, FL 32817



Murvin, Kenneth                           Muse, Lester Jr.                           Musgrave, David
5251 Tummel Ct.                           3991 Sabal Drive                           Rebecca Musgrave
Wesley Chapel, FL 33544                   Oviedo, FL 32765                           1316 Tuscola St.
                                                                                     Clearwater, FL 33756



Muto, Ralph                               Muzzillo, Steven                           Myers, Modena
15938 Cobble Mill Road                    Laura Muzzillo                             13628 Tramore Drive
Wimamuma, FL 33598-4013                   5806 SW 89th Lane                          Odessa, FL 33556
                                          Cooper City, FL 33328



Nagle, Dana Lynn                          Nankishore, Yvonne                         Narcisse, Wilton
10224 Estero Bay Lane                     4320 Heliotrope Loop                       PO Box 640141
Tampa, FL 33625                           Kissimmee, FL 34746                        Miami, FL 33164-0141




Naroditsky, Marcia                        Naroditsky, Marcia                         Nascarella, Salvatore
Anotoly Naroditsky                        Anotoly Naroditsky                         Rita Nascarella
5818 S. 6th St.                           11908 Rose Harbor Drive Apt 102            1553 Orange St.
Tampa, FL 33611                           Tampa, FL 33625                            Clearwater, FL 33756



Natale, Pasquale                          Ncholas, Wilma                             Nearhouse, Joseph
9855 Mountain Lake Drive                  9810 Sandy Pines Rd                        2509 N. Ridgewood Ave.
Orlando, FL 32832                         Clermont, FL 34711                         Tampa, FL 33602




Needham, April                            Neel, Robert                               Neely, Erma
Jeff Needham                              Jean M. Neel                               1915 Meridel Ave
3361 Greendale Ave.                       10711 Crescendo Loop                       Tampa, FL 33612
Deltona, FL 32738                         Clermont, FL 34711



Neff, William                             Neighbors, Scott                           Nelle, Robert
2294 West Gardenia Ave.                   16717 Brassort Road                        Vicki Nelle
Citrus Springs, FL 34434                  Lutz, FL 33549                             8651 10th St. N. Apt. 106
                                                                                     St. Petersburg, FL 33702



Nelms, Leland                             Nelson, Deborah                            Nelson, Heide
Evelyn Nelms                              5901 Weston Oaks Dr.                       1151 Pine Ridge Circle #112
3450 Gulf Breeze Lane                     Orlando, FL 32808                          Tarpon Springs, FL 34688
Punta Gorda, FL 33950
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                                         Nelson, Joann                                 Nelson, Lawrence
Nelson, Imedla
                                         1812 1st Street                               3139 Sago Point Court
John Nelson
                                         Indian Rocks Beach, FL 33785                  Land O'Lakes, FL 34639
3036 W. Helen Ave
Tampa, FL 33611



Nelson, Marian-                          Nelson, Monica                                Nemchik, Joseph
Sheldon Byfield                          13519 White Elk Loop                          172 W. Warren Ave
990 Hollister Dr.                        Tampa, FL 33626                               Longwood, FL 32750
Indian Rocks Beach, FL 32904



Nemet, Kyle                              Neo, Szu-Wei                                  Nero, Diana
6113 Chene Ct.                           Sarah P.L. Phoon                              David Nero
Lutz, FL 33558                           1417 Carolina St.                             2210 East Hogan Hollow Road
                                         Midland, MI 48642                             Margate, FL 33063



Nesbitt, Octavia                         Nettles, Michael                              Neu, Richard
P.O. Box 310524                          5220 Oxford Ave. N.                           Donna Neu
Tampa, FL 33610-0524                     St. Petersburg, FL 33710                      9101 Montevello
                                                                                       Orlando, FL 32818



Neuhaus, Kenneth                         Nevad, David                                  Neville, Kevin
Karen Neuhaus                            Carri Nevad                                   2827 Rogan Rd.
6380 Colon                               56275 Rockledge                               Orlando, FL 32812
Tampa, FL 33647                          Rockledge, FL 32956



Newberry, Randy and Annie                Newbrey, Sara                                 Newcomer, Charles
4810 Aztec Circle                        Timothy Newbrey                               Tomiko Newcomber
Naples, FL 34112                         3313 West Iowa Avenue                         19925 Dolores Ann Court
                                         Tampa, FL 33611                               Lutz, FL 33549



Newlands, Lin                            Newman, Anthony                               Newton, Melvin
309 Belle Claire Place                   5222 Monoserrot Dr                            Lily Newton
Tampa, FL 33617                          Lakeland, FL 33812                            1504 Alfred Dr.
                                                                                       Boynton Beach, FL 33426



Ngo, Houng                               Ngoboc, Jennifer                              Nguyen, Edith
Giau Nguyen                              Freeland Ngoboc                               Mary Nguyen
32080 Okellar Streeet                    30717 Pumpkin Ridge Dr.                       972 Maryann Dr.
Tampa, FL 33611                          Wesley Chapel, FL 33543                       Santa Clara, CA 95050



Nguyen, Hoai Dan                         Nguyen, Lu                                    Nguyen, Sang
Edith Nguyen                             10304 Riverburn Dr.                           Anh Nguyen
972 Maryann Dr.                          Tampa, FL 33647                               12840 Darby Ridge Drive
Santa Clara, CA 95050                                                                  Tampa, FL 33624



Nguyen, Thuong                           Nicholas, Wilma                               Nicholson, Jodi
Maria Kennedy Nguyen                     91810 Sandy Pines Road                        5106 Pheasant Woods Drive
14643 Mirabelle Vista Circle             Clermont, FL 34711                            Lutz, FL 33558
Tampa, FL 33626
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                                          Niemsky, Shawn                               Nieves, Bonnie
Nicolaisen, Jeremy                        5512 Metrowest Blvd #202                     6311 Gentle Ben Circle
1545 South Disston Ave                    Orlando, FL 32811                            Wesley Chapel, FL 33544
Tarpon Springs, FL 34689



Nieves, Miriam                            Niles, Shannon                               Nino, Ruth
914 Boynton Ave                           8702 Skymaster Dr.                           Ulises Ferrufino
Bronx, NY 10473                           New Port Richey, FL 34654                    3311 Possom Trot Rd
                                                                                       Valrico, FL 33596



Nix, Jennifer                             Noah, Danny                                  Noble, John
7222 Ursula Ave                           Regina Noah                                  Holly Harger
Brooksville, FL 34601                     2221 Spring Rain Dr.                         3829 Louis Circle
                                          Clearwater, FL 33763                         Tarpon Springs, FL 34688



Noble, Michelle                           Nocerino, Samuel                             Noel, Jeremy
Thomas Noble                              Sheri Nocerino                               Elizabeth Noel
129 Old Nichols Circle                    8213 Moccasin Trail Dr.                      1084 Stoneway Lane
Auburndale, FL 33823                      Riverview, FL 33578                          West Palm Beach, FL 33417



Nolan, Kathy R.                           Norris, Doris                                Norris, Jeff
5036 Meadow Lark Ln.                      1114 South Whitney Road                      Christine Norris
New Port Richey, FL 34653                 Leesburg, FL 34748                           7233 Spencer Parrsih Road
                                                                                       Parrish, FL 34219



Norwood, Douglas                          Noterman, Pamela                             Novick, Patrick
Carolyn Norwood                           John Noterman                                403 Spring Valley Lane
6725 Clair Shore Drive                    7332 Castle Drive                            Altamonte Springs, FL 32714
Apollo Beach, FL 33572                    Sarasota, FL 34240



Nowell, William                           Nowlan, Gary                                 Nugyen, Edith
981 Michigan Ave.                         11610 Bruin Drive                            Hoai Dan Nguyen
Palm Harbor, FL 34683                     New Port Richey, FL 34654                    972 Maryann Dr.
                                                                                       Santa Clara, CA 95050



Nugyen, Giau                              Nunez, Jaqueline                             Nurka, Lulezim
Huong Ngo                                 15459 Oregon Ave                             Inxhiko Nurka
3208 Oakellar St.                         Orlando, FL 32828                            3445 Keene Park Dr.
Tampa, FL 33611                                                                        Largo, FL 33771



Nutter, Denver                            Nymark, Justin                               O'Brien, Daniel
Blanca Nutter                             Krysta Justin                                Stacey O'Brien
3468 Indian Creek Blvd                    10250 Bayou Grande Avenue                    938 Bleu Water Dr
St. Johns, FL 32259                       Seminole, Fl 33772                           Indian Harbour, FL 32937



O'Brien, John E.                          O'Donnell, John                              O'hara, George
201 West Laurel St., Unit 1012            Angela O'Donnell                             Marie O'hara
Tampa, FL 33602                           10355 Paradise Blvd. Unit #45                350 Bayforest Drive #102
                                          Treasure Island, FL 33706                    Naples, FL 34110
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                                           O'Neal, Ricardo                               O'Neil, Mike
O'Nan, Troy                                Gipson, Viretha                               Catherine O'Neil
19109 Golden Cacoon Place                  1050 Palmetto Ave.                            4715 Kemble Ct.
Lutz, FL 33558                             Lake Wales, FL 33853                          Tampa, FL 33624



Oakley, Robert                             Oberg, Diane                                  Oberg, Shannon
15462 Saratoga Drive                       2152 Cross Creek Way                          Stephen Lampo
Spring Hill, FL 34604-4483                 Dunedin, FL 34698                             5779 West Stockholm Lane
                                                                                         Dunnellon, FL 34433



Oblinger, Michael                          Odell, Jerome and Heather                     Odom, Charles
2119 La Salle Street                       1271 W. Skyview Crossing Drive                Kimberly Odom
Sarasota, FL 34231                         Hernando, FL 34442                            15384 Scrub Jay Lane
                                                                                         Bontia Springs, FL 34135



Odom, Marie                                Ogden, Mark                                   Oglesby, Rhonda
5508 Blue Jay Lane                         Mary Caron                                    Bryant Oglesby
Tampa, FL 33625                            22528 Laureldale Drive                        4550 SE 120th Street
                                           Lutz, FL 33549                                Belleview, FL 34420



Oh, Sang T.                                Oliu-Smith, Alejandro and Dawn                Oliver, Jack
519 Grand Preserve Cove                    419 Valencia Park Drive                       Kathryn Oliver
Bradenton, FL 34212                        Seffner, FL 33584                             8894 Robin Road
                                                                                         Largo, FL 33777



Oliver, Jesima                             Oliver, Robert                                Olivero, Kristin
Virglio (son)                              Mountrey Oliver                               9308 N. Dartmouth Ave.
4109 W. Carmen St.                         7963 Versilia Dr.                             Tampa, FL 33612
Tampa, FL 33609                            Orlando, FL 32836



Olliver, Robert                            Olson, Jane                                   Oquendo, Esteban
Nancy Olliver                              6125 Via Laguna Lane                          Edith Oquendo
1335 Bayshore Drive                        Boca Raton, FL 33433                          3126 Twisted Oak Loop
Englewood, FL 34223                                                                      Kissimmee, FL 34744



Orama, Cecilia                             Orange Legal                                  Orcutt, Chris
6036 Crest Ridge Road                      633 E. Colonial Dr.                           Jessica Orcutt
Tampa, FL 33634                            Orlando, FL 32803                             11769 Mango Cross Court
                                                                                         Seffner, FL 33584



Orcutt, Chris                              Ordonez, George                               Orlando Property Acquistions
2730 Roosevelt Blvd # 902                  Amaryllis Ordonez                             Contact: Jeffrey Almiron
Clearwater, FL 33760                       7907 Roundelay Dr.                            9350 US Hwy 192 #104
                                           New Port Richey, FL 34654                     Clermont, FL 34714



Orman, Randy                               Orr, John                                     Orrick, Norwood
Janice Orman                               11842 North 104th Street                      2904 North Tampa Street
4719 Lighterwood Way                       Largo, FL 33773                               Tampa, FL 33602
Valrico, FL 33596
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                                          Orta, Ruth                                   Ortagun, Patricia
Orta, Ruth                                406 South Hubert Avenue                      Hakan Ortagun
4804 Culbreath Isles Rd.                  Tampa, FL 33609                              103 Winged Foot Ln.
Tampa, FL 33629                                                                        Boca Raton, FL 33431



Orthwein, Frederick                       Ortiz, Antonio                               Ortiz, Cecil
4004 Worcester Rd.                        Deborah Ortiz                                Luis Ortiz
Sarasota, FL 34231                        17620 Pasture Rd.                            471 Rayford St.
                                          Odessa, FL 33556                             LeHigh Acres, FL 33974



Ortiz, Harry James                        Ortiz, Luis                                  Ortiz, Maria
12515 Chenwood Ave.                       6295 River Run Place                         2958 Pembridge St
Hudson, FL 34669                          Orlando, FL 32807                            Kissimiee, FL 34747




Ortiz, Milka                              Ortiz, Tony                                  Orzechowski, Rick
Frank Ortiz                               17620 Pasture Rd.                            3207 Gloria Ave.
9606 Nathaniel Lane                       Odessa, FL 33556                             Plant City, FL 33563
Land O'Lakes, FL 34638



Osorio, Niisa                             Ostander, Layne                              Otero, Esteban
Felix Osorio                              Erica Ostrander (wife)                       10010 North Hyaleah Road
5340 Great Egret Drive                    6603 W. 29th Ave                             Tampa, FL 33617
Leesburg, FL 34748                        Bradenton, FL 34209



Otto, Steven                              Outlaw, Bryan                                Overbey, Daryl
5401 Silver Charm Ter                     2777 Algonquin Dr.                           Belinda Overby
Wesley Chapel, FL 33544                   Melbourne, FL 32935                          9506 Letterstone court
                                                                                       Tampa, FL 33615



Owens, Jaunda                             Owens, Theresa                               Owinski, Stephen
Janne Winters                             2170 86th Avenue                             708 Brenton Leaf Drive
8065 142nd Street                         Vero Beach, FL 32966                         Ruskin, FL 33570
Sebastian, FL 32958



Pacheco, Mark                             Pacheco, Richard                             Pack, Sheila
1419 NE Juanta Place                      1167 Hallcrest Ave.                          5243 SE 110th Ave.
Cape Coral, FL 33909                      Spring Hill, FL 34608                        Belleview, FL 34420




Packett, Kenneth                          Page, John                                   Pahlck, Will
Colleen Packett                           17401 1st St. E.                             Lindsey Pahlck
4320 24th Ave N                           Redington Shores, FL 33708                   3627 Morgons Castle Ct.
St. Pete, FL 33713                                                                     Land O'Lakes, FL 34638



Palacio, Maria                            Palacios, Edward                             Palermo, Christopoher
Christian Dupart                          12305 Bramfield Dr.                          Tina Palmermo
10463 Greenwich Court                     Riverview, FL 33569                          1915 Green Meadow
East Boca Raton, FL 33428                                                              Lutz, FL 33549
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                                           Palma, Jennifer                               Palmer, Chrystal
Palisi, John
                                           2729 North Dellwood Drive                     4045 Davenport Lane
Lorraine Palisi
                                           Eustis, FL 32726                              Mount Dora, FL 32757
11412 Nest Court
Port Richey, FL 34668-2030



Palomino, Danae                            Panella, Dante                                Pankau, Robert and Helen
2318 Dae Court                             Jillene Panella                               5628 Dark Star Loop
Orlando, FL 32839                          17221 Breeders Cup Dr                         Wesley Chapel, FL 33544
                                           Odessa, FL 33556



Pankey, Christine                          Panneri, Peter                                Panov, John
630 Stone Drive                            644 Vallance Way NE                           Sharon Panov
Brandon, FL 33510                          St. Petersburg, FL 33716                      1118 2nd Ave South
                                                                                         St. Petersburg, FL 33715



Papageorgiou, Juan                         Papasidero, Elvera                            Pappas, Karen
518 South Rainbow Drive                    Robert Canter and Michael Papasidero          5107 Arlington Rd.
Hollywood, FL 33021                        9154 Autumn Haze Dr.                          Cocoa, FL 32927
                                           Naples, FL 34109



Pardue, Danielle                           Paris, Susan                                  Parish, Jessika
9005 Heritage Inlet Place                  118 Upper Tuskeegee Road                      David Parish
Bradenton, FL 34212                        Robbinsville, NC 28771                        8470 Lantana Dr
                                                                                         Seminole, FL 33777



Parishy, Ronald                            Park, Kenneth                                 Park, Larry
Marlene Parishay                           285 Sunshine Dr.                              Suzanne Park
4 Santabel Lane                            St. Augustine, FL 32086                       6742 Runner Oak Drive
Trenton, NJ 08691                                                                        Wesley Chapel, FL 33545



Parker, Douglas                            Parker, Malissa                               Parker, Michelle
Kathryn Parker                             12723 Evington Point Drive                    20839 NW 17th Street
20522 Marlin Street                        Riverview, FL 33579                           Pembroke Pines, FL 33029
Orlando, FL 32833



Parker, Patrica                            Parker, Richard                               Parker, Robert
Alden Parker                               13541 Jennita Drive                           Meridith Parker
8018 Darlington Circle                     Hudson, FL 34667                              4074 65th Street East
Lakeland, FL 33809                                                                       Sarasota, FL 34243



Parkhurst, Daniel                          Parkinson, Reubel                             Parkman, Rick
Lynne Parkhurst                            11574 Misty Isle Lane                         Cheryl Parkman
2608 Dartmouth Ave N                       Riverview, FL 33569                           4254 Gardenspring Dr.
St. Pete, FL 33713                                                                       Clemmons, NC 27012



Parmley, Dennis                            Parrilla, Anna                                Parrish, Stefanie
Jennifer Parmley                           600 Callahan St.                              Parrish, Donald
10716 Dalton Ave                           Winter Park, FL 32789                         9334 Tom Costine Rd
Tampa, FL 33615                                                                          Lakeland, FL 33809
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                                          Parsaeian, Seyed                           Pasanen, Helena
Parrott, Edward
                                          Iran Mirzania                              19125 2nd Ct NW
Julia Parrott
                                          18039 Java Else Drive                      Lutz, FL 33548
13919 Chalk Hill Pl.
                                          Tampa, FL 33647
Riverview, FL 33579



Pasco County Clerk of Court               Pasco, Sebastian                           Pasquariello, David
38053 Live Oak Ave.                       Thomas Joy                                 Kathryn Pasquariello
Dade City, FL 33523                       3119 River Cove Dr                         923 Academy Dr.
                                          Tampa, FL 33614                            Brandon, FL 33511



Patch, Tina                               Patel, Beemal                              Patel, Kapilaben
Robert Patch                              Sapna Patel                                Kanti Bahai
6734 Clair Shore Drive                    2610 Night Rains Dr.                       2796 Judge Island Way
Apollo Beach, FL 33577                    Lutz, FL 33559                             Naples, FL 34119



Patel, Mohan                              Patel, Nilan                               Patel, Nootan
Ushaben Patel                             11255 SE 33th Court                        Shree Patel
19316 Water Naple Dr                      Ocala, FL 34840                            5105 W. Grace St.
Tampa, FL 33647                                                                      Tampa, FL 33607



Patel, Sanjay and Aprita                  Paten, William                             Patsch, Charles
5350 Cypress Links Blvd.                  Julie Paten                                1705 Floyd St
Elkton, FL 32033                          10 Old Grove Lane                          Sarasota, FL 34239
                                          Altamonte, FL 32701



Pattalino, Hal                            Patterson, Barry                           Patterson, David
423 Melrose Ave.                          10321 Frog Pond Drive                      7618 Par ave.
Maple Shade, NJ 08052                     Riverview, FL 33569                        St. Pete, FL 33710




Patterson, Russell                        Patton, Roberta                            Paul, Kevin
Viviane Patterson                         Christopher Patton                         147 8th St. N.,
225 Sandkey Estate Drive                  3253 Mount Tami Dr.                        St. Petersburg, FL 33701
Clearwater, FL 33767                      San Diego, CA 92111



Paula                                     Pauska, Jason                              Pawlus, Mark
516 Cedar Grove DR.                       98 S. Winter Park Dr                       Gail Pawlus
Brandon, FL 33511                         Casselberry, FL 32707                      16210 2nd St. E
                                                                                     Redington Beach, FL 33708



Payne, Cedric                             Payne, Karen                               Payne, Kathy
Margaret Payne                            8574 W. Egret Ct.                          13108 Early Run Drive
450 Grainary Ave.                         Homassa, FL 34448                          Riverview, FL 33578
Tampa, FL 33624



Payne, Kevin                              Peak, Patricia                             Pean, Kenny
Lucia Payne                               2912 Witley Ave.                           2735 Conch Hollow Dr
18398 Arapahoe Cir.                       Palm Harbor, FL 34685-1327                 Brandon, FL 33511
Port Charlotte, FL 33948
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                                          Pearson, Daniel                                Peck, Clayton
Pearen, John
                                          970 Boca Ciega Isle Drive                      Paula Peck
Nadine Pearen
                                          St. Pete Beach, FL 33706                       579 Setting Sun Drive
36750 US Highway 19 N
                                                                                         Winter Gardens, FL 34787
Palm Harbor, FL 34684



Peck, Shane                               Pecorelli, Richard                             Peeler, Gerald
Susan Peck                                Doloria Pecorelli                              Krista Peeler & Robyn Peeler
10242 Douglas Oaks Circle #104            797 Oak Bend Way                               4490 Marsalis Court
Tampa, FL 33610                           Sarasota, FL 34240                             Spring Hill, FL 34609



Peinado, Winston                          Peirson, Robert                                Pelaez, anthony
Rosa Restrepo                             Kimberly Peirson                               Lorena Pelaez
8101 SW 144th St                          2157 E. Citrus Way                             10017 Parsons Street
Palmetto Bay, FL 33158                    Palm Harbor, FL 34683                          Tampa, FL 33615



Pelletier, Carole                         Pelley, Cindy                                  Pemberton, Nellie
515 64th Ave W                            Kevin S. Pelley                                3819 N. 38th Ave.
Bradenton, FL 34207                       305 W. Frances Ave.                            St. Petersburg, FL 33713
                                          Tampa, FL 33602



Pena Jr, Gregorio                         Pena, Dejon                                    Pena, Luis
Migdalia Pena                             Marcos Pena                                    Maris Penn Pena
12505 Blazing Star Drive                  2513 Hollowrideg Drive                         1762 Nestlewood Trail
Tampa, FL 33626                           Denton, TX 76210                               Orlando, FL 32837



Penrod, Shane                             Penteado, Adalberto                            Perales-Male, Carrie
915 Terra Mar Dr.                         4405 Loraine Ave                               2473 Andre Court
Tampa, FL 33613                           LeHigh Acres, FL 33976                         Orange, FL 34761




Percy, Jennifer                           Perez & Perez                                  Perez & Perez
Richard Falls                             4507 Wishart Blvd                              4807 Culbreath Isle Rd
6971 North Deltona Blvd                   Tampa, FL 33603                                Tampa, FL 33629
Citrus Springs, FL 34434



Perez & Perez                             Perez, Debra                                   Perez, Eloy
Don Perez                                 Frank Perez                                    Gloria Perez
836 Desert Mountain Ct.                   2955 W. Mustang Blvd.                          2817 W. Broad St.
Kissimmee, FL 34747                       Beverly Hills, FL 34465                        Tampa, FL 33614



Perez, Frank                              Perez, Gustavo                                 Perez, John Charles
Debra Perez                               Magalis Bencome                                Mary Frances Lopez
2955 W. Mustang Blvd.                     4927 33rd Street North                         179 Longview Ave.
Beverly Hills, FL 34465                   St. Petersburg, FL 33714                       Kissimmee, FL 34747



Perez, Linda                              Perez, Maritza                                 Perez, Miguel
11216 Moonvalley Way                      8913 N. Locust Ave.                            11245 NW 87th Ter
Tampa, FL 33635                           Tampa, FL 33604                                Doral, FL 33178
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                                          Perez-Prieto, Julio                           Pericone, Laura
Perez, Peter
                                          7103 Princeton Place                          206 South Melville Ave
Robin Perez
                                          Tampa, FL 33619                               Tampa, FL 33606
5114 N. Rome Ave.
Tampa, FL 33603



Perignon, Lydia                           Peritore- Larson                              Perkins, Roy
1649 Idle Lane                            129 West Grapefruit Circle                    4814 Jeanette Court
Sarasota, FL 34231                        Clearwater, FL 33759                          Saint Cloud, FL 34771




Perrin, Teresa                            Perry, Franklin                               Perry, John
3225 SE 21st Ave                          1414 Eastwood Dr.                             8749 Elm Leaf Court
Ocala, FL 34471                           Lutz, FL 33549                                Port Richey, FL 34668




Perry, Joseph                             Perry, Lonnie                                 Persad, Davendra
Carol Perry                               Nichole Perry                                 Sydonna Persad
316 141 St. Court NE                      9434 Sunbeam Dr                               10452 Lucaya Drive
Bradenton, FL 34212-1676                  New Port Richey, FL 34654                     Tampa, FL 33647



Persaud, Mohan                            Persons, Brenda                               Peterson, Carla
539 Hibiscus Cove Drive                   David Persons                                 Christopher Peterson
Orlando, FL 32807                         10371 Flat Stone Loop                         12008 Glenhill Dr.
                                          Bonita Springs, FL 34135                      Riverview, FL 33569



Petterson, Christine                      Pfleger, Keat                                 Pfund, Susan
Michael Petterson                         Elizabeth Pfleger                             2120 Citrus Hill Lane
1212 Cressford Pl.                        407 Princess Place                            Palm Harbor, FL 34683
Brandon, FL 33511                         Lakeland, FL 33803



Pham, Julie                               Phillips, Andre                               Phillips, Ashley
4102 W. Bay Hills Blvd.                   36423 Grand Island Oaks Circle                14316 lelani Dr
Safety Harbor, FL 34695                   Grand Island, FL 32735                        Brooksville, FL 34614




Phillips, Denis                           Phillips, Denis                               Phillips, Lawrence
Lori Philips                              Lori Philips                                  Maggie Ventures, LLC
2032 N. Pointe Alexis Drive               1301 Indian Trail N                           P.O. Box 620802
Tarpon Springs, FL 34684                  Pam Harbor, FL 34683                          Las Vegas, NV 89162-0802



Phillips, Nathan                          Phillips, Samuel                              Phillos, Frances
8505 Sandy Beach St                       Selena Phillips                               15009 Naples Place
Tampa, FL 33634                           413 Kings Path Drive                          Tampa, FL 33624
                                          Seffner, FL 33584



Phommavong- maglio, Vanyvone              Pichardo, Clar-                               Pici, Gerardo-
Ann Phommavang                            Fausto Picahrdo                               711 Pinellas Street
1650 Papoose Way                          31314 West Burke Street                       Clearwater, FL 33756
Lutz, FL 33559                            Tampa, FL 33614
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                                          Pickens, Sarah                                Pigoni, David-
Pickens, Parker
                                          4202 N. Covina Cir                            Erica Pigoni
Galina Pickens
                                          Tampa, FL 33617                               5219 Jackson Street
3718 3rd Ave. Dr. E.
                                                                                        Hollywood, FL 33021
Palmetto, FL 34221



Piltz, Matt                               Pinckard, Roxanne                             Pinellas County Clerk of Court
Tori Piltz                                2021 Lee Dr.                                  Room 170, 315 Court St
1811 Bonita Bluff Court                   Valrico, FL 33594                             Clearwater, FL 33756
Ruskin, FL 33570



Pinellas County Tax Collector             Pipher, Tinothy A. and Pamela D.              Pisano, Thomas
P.O. Box 4006                             7635 South A1A                                Brenda Pisano
Seminole, FL 33775-4006                   Melbourne Beach, FL 32951                     183 Thorne Meadow Pass
                                                                                        Davenport, FL 33897



Pisecco, Gina                             Pita, David                                   Pita, David
Joe Irwin                                 7069 Catalpa Hill Cove                        Theresa Pita
5100 Counselor Drive #205                 Bartlett, TN 38135                            9060 Moonlit Meadows Loop
Zephyrhills, FL 33541                                                                   Riverview, FL 33578



Pitcher, Scott                            Pittman, Frank                                Pizarro, John
Heather Pitcher                           3201 River Grove Dr.                          Anna Pizarro
1710 W. Eldred Dr.                        Tampa, FL 33610                               6921 Spanish Moss Cir.
Tampa, FL 33603                                                                         Tampa, FL 33625



Pizarro, Valerie                          Place, Gary                                   Place, Joan
Mario M. Pizarro                          8148 Sutton Place                             122 Bimini Road
13040 SW 51st st.                         Jacksonville, FL 32217                        Cocoa Beach, FL 32931
Miramar, FL 33027



Placeres, Robert                          Plageman, Katherine                           Planadeball, Carmen
Virginia Robert                           3831 SW 28th Terrace                          1608 Golden Poppy Court
4528 La Carmen St.                        Gainesville, FL 32608                         Orlando, FL 32824
Tampa, FL 33611



Ploskova, Daniela                         Plotner, Craig                                Plumeri, Don
5231 S. Chamberlain Blvd                  9738 51st Ave N.                              6662 W.Candier Ct
North Port, FL 34286                      St. Petersburg, FL 33708                      Dunellon, FL 34433




Poblette, Jimmy                           Podloski, Jessica                             Poe, Michael
12533 Lake Vista Drive                    Joshua                                        Gay Poe
Gibsonton, FL 33534                       12616 White Cedar Trail                       12276 Paulee Place
                                          Jacksonville, FL 32226                        Seminole, FL 33772



Pohara, Edin                              Pohl, Cheryl                                  Pohle, Gabriele
Svetlana Pohara                           Jacqueline Pohl                               Andrew Pohle
10848 65th St.                            6608 Northhaven Court                         1704 Baxter Ave.
Pinellas Park, FL 33782                   Riverview, FL 33578-8755                      Orlando, FL 32806
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                                            Policherla, Prasad                            Polimirova, Jozefina
Pokrowski, Richard
                                            Bala T. Policherla                            6210 Flagfish Court
Tina Pokrowski
                                            838 Deerwood Dr. #CA3                         Bradenton, FL 34202
3251 Ogden Drive
                                            Defiance, OH 43512
Mulberry, FL 33860



Polito, James                               Pollard, Samuel                               Pollice, Benedetto
7 Hathaway Lane                             Selina Pollard                                Marion Pollice
Wilton Manners, FL 33305                    824 Hallmark Ave                              9459 Mississippi Run
                                            Lake Placid, FL 33852                         Weeki Wachee, FL 34613



Pomplun, Chris                              Poole, Connie                                 Pope, Jeremy
6572 Black Mangrove Dr,                     Curtis Poole                                  Laura Pope
Tampa, FL 33773                             2913 Dunhill Cir.                             1617 Ledgestone Drive
                                            Lakeland, FL 33810                            Brandon, FL 33511



Porche, Gloria                              Porter, Daniel                                Porter, Sandra
1401 East Pinelock Ave.                     800 James Street                              5120 Log Cabin Drive
Orlando, FL 32806                           Dunedin, FL 34698                             Lakeland, FL 33810




Portoff, Howard                             Poteet, James                                 Potts, David and Debra
Dawn Marie Portoff                          Constance Poteet                              10807 Australian Pine Drive
38 S. St.                                   256 Margate Drive                             Riverview, FL 33579
Milford, CT 06460                           Davenport, FL 33892



Pouncy, Dwayne                              Powell, Dallas                                Powers, Stephen
Connie Pedroff                              1585 Coluso Drive                             Zoya Powers
1854 76th Ave N.                            Winter Garden, FL 34787                       204 Lake Charles Drive
St. Pete, FL 33702                                                                        Davenport, FL 33837



Pownall, Ronald                             Pownall, Ronald                               Poythres, Terri
9241 Merrimoor Blvd.                        8349 Monarch Circle                           10561 53rd Ave.
Largo, FL 33777                             Pinellas Park, FL 33781                       St. Petersburg, FL 33708




Pozniakowski, Andrew                        Pozo, Marco                                   Prague, Kimberly
Marzena Pozniakowski                        Elba Pozo                                     19748 South hampton Terrace
PO Box 36                                   7619 La Mesita Court                          Boca Raton, FL 33434
Crytsal Beach, FL 34681-0036                Tampa, FL 33615



Pratt, Thomas                               Preciado, Jon                                 Preiss, Maria
Francisa Oliveira                           Michelle Preciado                             Andrrzej Preiss
3400 Capland Ave                            2803 Winding Trail Drive                      616 Parsons Terrace
Clermont, FL 34711                          Valrico, FL 33596                             Dundein, FL 34698



Preist, Kimberly                            Premorel, William                             Prentice, Paul
5740 - 47th Avenue North                    Ramona Simpson-Premorel                       Tawny Prentice
Saint Petersburg, FL 33709                  1167 Garfield Ave.                            7400 S.W. 14th Place
                                            Masaryktown, FL 34604                         North Lauderdale, FL 33068
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                                           Preza, Tanya                                  Prezioso, William
Presvot, Jerry                             126 Goins Drive                               Tabatha Shears
1631 NW 19th Street #7                     Seffner, FL 33584                             608 Sinset Lane
Miami, FL 33125                                                                          Lutz, FL 33549



Price, Milo                                Prim, John                                    Prince, Lauren
Price, Jennifer                            38744 Tall Dr                                 Horace Prince
10105 Alambra                              Zephyhills, FL 33540                          1102 Cross Country Rd.
Tampa, FL 33619                                                                          Winter Garden, FL 34787



Prince, Steven                             Princiotta, Drew                              Prindle, Bradford
Margaret Prince                            7415 Mulligan Court                           890 Dry Creek Rd
17384 SE 280th Court                       Port Richey, FL 34669                         Jonesbrourgh, TN 37659
Umatilla, FL 32784



Prindle, Christopher                       Prine, Warren                                 Printz, Mark
1420 Buckner Rd.                           Darlene Prine                                 Brenda Printz
Valrico, FL 33596                          3480 Milwaukee Ave.                           1845 Mahogany Drive
                                           Melbourne, FL 32904                           Orlando, FL 32825



Proenza, Renay                             Professionla Organization Properties          Proult, Norman
1052 Ivey Lake Drive                       Adam Price                                    100 Bluff View Drive #608A
Orange City, FL 32763-9221                 505 Pine Ave South                            Belleair Bluffs, FL 33770
                                           Oldsmar, FL 34677



Proulx, James                              Provencher, George                            Prusinski, Kelli- f/k/a Kelli Barry
Kimberly Proulx                            Margaret Provencher                           Gerald Prusinski
15815 Golden Club St.                      1802 Jeri Kay Lane                            18685 SW 51st Lane
Clermont, FL 34711                         Sebring, FL 33870                             Dunnellon, FL 34432



Puckett, Samantha                          Puentes, Florinda                             Puerling, Dean
Brent Puckett                              Cesar Sanchez                                 Candise Puerling
234 37th Ave NE                            1201 SW 24th Ave                              3874 52nd Ave N
St. Petersburg, FL 33704                   Miami, FL 33135                               St. Petersburg, FL 33714



Puga-Graciola Morales                      Pugh, CJ                                      Pugliese, Michael
Claudia Puga                               5536 15th Ave. N.,                            2216 SE 16th Street
6670 South Biscayne Drive                  St. Petersburg, FL 33710                      Cape Coral, FL 33990
North Point, FL 34287



Purdy, Glen                                Purvis, Christopher                           Pyle, Rodney
Ellen Purdy                                4033 Crews Lane                               1949 Foxhollow Drive
1001 Victoria Ave.                         Lakeland, FL 33813                            Auburndale, FL 33823
Port Charlotte, FL 33948



Quammie, Bolina                            Quinn, Jennifer                               Raccha, Frederick and Sandra
9970 Colonial Dr.                          Martin Quinn                                  12303 Langshaw Drive
Miami, FL 33157                            7278 Landmark Drive                           Thonotosassa, FL 33592
                                           Spring Hill, FL 34606
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                                          Radhacharan, Veronica                        Radstrom, Ron
Radford, Robert
                                          9043 Lost Mill Dr.                           Debbie Radstrom
Denise Radford
                                          Land O'Lakes, FL 34638                       1533 Long Street
8714 Hidden Green Lane
                                                                                       Clearwater, FL 33755
Tampa, FL 33647



Radtke, Melvin                            Radune, Martha Ann & Richard M. Dreyer       Raff, Bernice and Robert
Nancy Radtke                              R. Dekker Dreyer & Julia H. Howe             404 SE 13th Avenue
5410 Fuirmont Rd                          919 Magnolia Street                          Cape Coral, FL 33990
Lake Whales, FL 33898                     New Smyrna Beach, FL 32168



Ragan, Keith                              Raghubar, Sookdeo                            Raines, Henry
8202 Nundy Ave.                           507 Little Wekiva Road                       Susan Raines
Gibsonton, FL 33534                       Altamonte Springs, FL 32792                  5211 West 11th Ave
                                                                                       Bradenton, FL 34209



Raisler, Heather                          Rakstis, Eric                                Ramdas, Chakravarty
Gregory Raisler                           Katya Lenehan                                14507 Musket Fire Lane
5215 Denver St NE                         13743 68th Street N                          Orlando, FL 32837
St. Petersburg, FL 33703                  West Palm Beach, FL 33412



Ramirez, Elkin                            Ramirez, Monique                             Rampersaud, Oma
Maritza Vazquez                           4133 Amber Ridge Lane                        8536 Snowfired Drive
106 Snapdragon Court                      Valrico, FL 33594                            Orlando, FL 32814
Kissimmee, FL 34743-5611



Ramsey, Harold                            Ramus, Charles and Michelle                  Randall, David
Tracey Ramsey                             15834 Dawson Ridge Drive                     Lani Randall
30501 Wrencrest Drive                     Tampa, FL 33647                              27241 Lajolla Way
Wesley Chapel, FL 33543                                                                Wesley Chapel, FL 33544



Randolph, Ida                             Ranzola, Victor Luis                         Rapczynski, Billie
Timothy Douglas                           15634 SW 50th Terrace                        Ronald Rapczynski
5308 E. 20th Ave.                         Miami, FL 33185-4131                         2713 Willow Oaks Dr.
Tampa, FL 33619                                                                        Valrico, FL 33594



Raphael, Michael                          Rasmussen, Cegal                             Rath, Angela
Joanne Raphael                            10608 Horizon Dr.                            20 Brickyard Drive, Apt. G5
6304 Spoonbill Drive                      Spring Hill, FL 34608                        Bloomington, IL 61701
New Port Richey, FL 34652



Rawls, Ruth                               Raymond, June                                Razzani, Russ
2505 Thonotosassa Rd #107                 601 Alice St                                 125 S Swoope Ave #203
Plant City, FL 33563                      Plant City, FL 33563                         Maitland, FL 32751




Reagan, Seth                              Reagan, Todd                                 Reale, Thomas
Erica Reagan                              3308 Azalea Blossom Dr.                      6342 5th Avenue North
PO Box 252                                Plant City, FL 33567                         St. Petersburg, FL 33710
Mascotte, FL 34753-0252
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                                          Reddish, Maxie                               Redgrave, Ryane
Recker, Matthew
                                          Melanie Reddish                              Richard Redgrave
Nancy Recker
                                          5001 Barrowe Place                           240 Robbins Rest Circle
2704 Bullion Loop
                                          Tampa, FL 33624                              Davenport, FL 33896-5204
Sanford, FL 32771



Reed, Douglas                             Regus                                        Rehman. Akhlaq
Pamela Reed                               2202 N. Westshore Blvd., Suite 200,          43 Desert Thorn
2140 Roosevelt St                         Tampa, FL 33607                              Rancho Santa margarita, CA 92688
Wimauma, FL 33598



Reidenbach, Brian                         Reintjes, Hendrika                           Remington, Keith
39500 Meadowood Loop                      72 Wye Drive                                 Jennifer Remington
Zephyrhills, FL 33542                     Ormond Beach, FL 32176                       7438 South Lamar Street
                                                                                       Littleton, CO 80128



Rendon, Jaime                             Renee Hendricks                              Renner, Jacqueline
12823 Flamingo Parkway                    11012 Wembley Landing Drive                  a/k/a Jacqueline Velez
Spring Hill, FL 34610                     Lithia, FL 33547                             4214 Edenrock Place
                                                                                       Wesley Chapel, FL 33543



Rennie, Robert                            Repka, David and Tanya                       Resch, LaShondra
Rosemarie Quiles                          735 Arlington Avenue North #110              Richard Resch
3804 N. Arlington Ave.                    St. Petersburg, FL 33701                     615 East Weber Drive
Tampa, FL 33603                                                                        Tempe, AZ 85281



Ressutti, Victoria and Wilson             Retenski, Stacey                             Revilla, John
5219 NW 117 Avenue                        Unk. heirs of John L. Maier                  Claudia Revilla
Coral Springs, FL 33076                   111 East Barrett Road                        900 79th Street South
                                          Middle Island, NY 11953                      St. Petersburg, FL 33707



Reyes, Angela                             Reyes, Julius-Vincent & Maria Teresa         Reyes, Stefani
Darrell Reyes                             2238 Camp Indianhead Rd.                     525 Bonita Dr.
1201 Alhambra Crest Dr.                   Land O'Lakes, FL 34639                       Lady Lake, FL 32159
Ruskin, FL 33570



Reyna, Eric                               Reynolds, Angel                              Reynolds, Brian
Tracee Reyna                              David Reynolds                               Simona Goman
7007 Mintwood Court                       5943 10th St                                 1589 Arnold Drive
Tampa, FL 33615                           Zephyrhills, FL 33542                        Melbourne, FL 32935



Reynolds, Douglas                         Reynolds, Henry                              Ribot, Maria
Ruth Reynolds                             1039 N. Macon St.                            Nehemias Figueroa
13443 Balboa Drive                        Ludowich, GA 31316                           HC-1 Box 7452
Largo, FL 33774                                                                        Luguillo, FL 00773



Ricci, Charles                            Rice, Debrea                                 Richard Gassman
Rebekah Ricci                             4319 Tony Street                             750 Heathrow Lane
912 Eastwood Drive                        Orlando, FL 32808                            Palm Harbor, FL 34683
Brandon, FL 33511
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                                          Richards, Lloyd                               Richardson, Anthony
Richards, Felicia H. and Lawrence S.      7514 Hunnicot Dr.                             Anicette Richardson
2451 Palesta Dr                           Port Richey, FL 34668                         8733 Boysenberry Dr
Trinity, FL 34655                                                                       Tampa, FL 33635



Richardson, Tammy (Traini)                Richner, Karen                                Richter- Beaman
341 83rd Ave                              Stephen Richner                               8374 Market St., #423
St. Pete Beach, FL 33706                  7016 Muck Pond Rd.                            Bradenton, FL 34202
                                          Seffner, FL 33584



Richters, Barbara                         Ridge, Richard                                Riesdorph Reporting Group, Inc.
Willard Fleetwood                         1850 Sexton Drive                             201 E. Kennedy Blvd., Suite 712
6408 Ridge Top Drive                      Clearwater, FL 33763                          Tampa, FL 33602
New Port Richey, FL 34655



Riley, Michael                            Riley, Randy                                  Rimmer, Mark
Antonette Riley                           Phyllis E. Riley                              Marielle Rimmer
526 Trotter Lane                          3413 70th Glen E.                             P.O. Box 554
Mcdonough, GA 30252                       Palmetto, FL 34221                            Lake Hills, TX 78063-0554



Riney, Timothy                            Rinzivillo, Melinda                           Riordon, Michael
Rosalinda Riney                           85 Silver Oaks Circle #6202                   Lorelei Keif
1812 Weatherstone Drive                   Naples, FL 34119                              703 Court Street
Saftey Harbor, FL 34695                                                                 Clearwater, FL 33756



Rising, Hope                              Ristoff, Darla                                Ritson, Donald
5120 Flamingo Dr. N.,                     David Ristoff                                 Ian Ritson
St. Petersburg, FL 33714                  218 Sanctuary Drive                           16 Chequerfield Ave.
                                          Crystal Beach, FL 34681                       Pontefract, UL



Ritter, Eric                              Ritter, Jimmy                                 Rittinger, Martha
6423 River Lodge Lane                     Ritter, Lynda                                 Brian Rittinger
Weeki Wachee, FL 34607                    PO Box 429                                    2485 Stanton Ave
                                          Homossasa, FL 34487-0429                      Spring Hill, FL 34609



Rive, Dale                                Rive-Perez, Tammie                            Rivera, Andrea
4007 West Waterman Ave.                   6007 N. Ola Ave.                              106 Greenpoint Ave Apt 4R
Tampa, FL 33609                           Tampa, FL 33604                               Brooklyn, NY 11222




Rivera, Antonio                           Rivera, Catherine                             Rivera, Ernesto
Linda Rivera                              17917 Machair Ln.                             Delsy Ajo Santos
1034 Branchwood Dr.                       Land O'Lakes, FL 34638                        PO Box 629
Apopka, FL 32703                                                                        Land O' Lakes, FL 34639-0629



Rivera, Irving                            Rivera, Jason                                 Rivera, Joanne
Sylvia Rivera                             Marilyn Rivera                                Paul Costanzo
6526 Spanish Moss Circle                  107 Lisa Loop                                 3125 30th Ave N.
Tampa, FL 33625                           Winter Springs, FL 32708                      St. Petersburg, FL 33713
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                                         Rivera, Juan                                  Rivera, Norman
Rivera, Jose
                                         PO Box 1164                                   Sheila Reyes
Denise Rivera
                                         Highland City, FL 33846-1164                  748 Palaiseau
P.O. Box 474
                                                                                       Kissimmee, FL 34759
Brandon, FL 33509-0474



Rivera, Pedro                            Rivera, Rafeal                                Rivera, Ricardo
Vanessa Rivera                           2315 W. Kentucky Ave                          13367 SW 2nd Ct
2917 Ariel Ave                           Tampa, FL 33607                               Ocala, FL 34473
Kissimmee, FL 34743



Rivera, Secundino                        Rivera, Stacy                                 Rivera, Thomas
6455 Rewick Circle                       Daniel Rivera                                 13804 Caden Glen Dr.
Tampa, FL 33647                          10213 Cody Lane                               Hudson, FL 34669
                                         Orlando, FL 32825



Rivera, Tomas, Sr.                       Rivera, Vanessa                               Rivera-Martinez, Guillermo
683 Hartley Ave.                         Pedro Rivera                                  Marilyn Velazquez
Deltona, FL 32725                        2917 Ariel Ave                                1210 Bayshore Blvd.
                                         Kissimmee, Fl 34743                           Indian Rocks Beach, FL 33785-2830



Rivera-Vega, Pablo                       Roach, Rachelle                               Robbins, Alice
Teresa Irene Ayoroa Castro               11226 Wheeling DR.                            Donald Robbins
12701 N 53rd St                          Tampa, FL 33625                               3520 NW 25th Street
Temple Terrace, FL 33617                                                               Ft. Lauderdale, FL 33311



Roberson, Amy                            Robert Berman                                 Robert Horst & Gina Hirst
Mike Roberson                            Donna Berman                                  40406 Grays Airport Rd.
6010 Firefly Lane                        1621 80th St. N.                              Lady Lake, FL 32159
Apollo Beach, FL 33572                   St. Petersburg, FL 33710



Robert L. Jones                          Roberts, Caroline                             Roberts, John
PO Box 6415                              Nigel Roberts                                 Dawn Roberts
Clearwater, FL 33758-6415                19912 Bluff Oak Blvd                          1981 Tall ridge Rd
                                         Tampa, FL 33647                               Melbourne, FL 32935



Roberts, Ronald                          Roberts, Trevor                               Robertson Anschutz & Schneid
Terry Roberts                            Beverly Roberts                               3010 N. Military Trail, #300
4100 68th Ave                            8195 Woodvine Cir.                            Boca Raton, FL 33431
Pinellas Park, FL 33721                  Lakeland, FL 33810



Robertson, Verna Eileen                  Robey, David                                  Robins, Lon
c/o Prashad                              Gena Robey                                    Sally Robins
13575 58th St N Ste 300                  3118 Whitehead Lane                           12115 Bishopsford Drive
Clearwater, FL 33760                     Land O'Lakes, FL 34638                        Tampa, FL 33626



Robinson, Darrin                         Robinson, Jennifer                            Robinson, Karyn
9830 West Park Village Drive             1505 E. Emma Street                           Jose Garcia
Westchase, FL 33626                      Tampa, FL 33610                               4433 NW 67th Ave.
                                                                                       Coral Springs, FL 33067
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                                           Robinson, Mark                                Robinson, Michele
Robinson, Lewis
                                           Valarie Robinson                              P.O. Box 504
Tammy Robinson
                                           16120 NW Hwy 17                               Sarasota, FL 32189-0504
1808 122nd Ave. E.
                                           Williston, FL 32696
Parrish, FL 34219



Robinson, Nicole                           Robison, Deborah                              Robles, David
3825 Cortez Way South                      5045 37th Way South                           Suzanne Artiles
St. Petersburg, FL 33712                   St. Petersburg, FL 33711                      6412 Oyster Island Cove
                                                                                         Apollo Beach, FL 33572



Rocco, Ameneh                              Roddy, Greg                                   Roden, Ty
PO Box 10074                               Wendy Roddy                                   SanJyLea Roden
Santa Ana, CA 92711-0074                   108 Hope Circle                               112 W. 12th St
                                           Orlando, FL 32811                             Leesburg, FL 34748



Rodgers, Danny                             Rodman, Paul                                  Rodriguez Hernandez, Magaly
Pamela Rodgers                             Cassandra Rodman                              6011 Venetian Blvd. NE,
39400 Grays Airport Road                   928 Arbor House Drive                         St. Petersburg, FL 33703
Lady Lake, FL 32159                        Indian Rocks Beach, FL 33785



Rodriguez, Alfredo                         Rodriguez, Emma                               Rodriguez, Erasmo
Cassandra Rodman                           928 Catherine Street                          Gloria Rodriguez
1205 Crystal Terrace                       Kissimmee, FL 34741                           2420 SW 80th Trail
Plant City, FL 33563                                                                     Miramar, FL 33025



Rodriguez, Juan and Maria                  Rodriguez, Louis                              Rodriguez, Louis and Esther
18042 Ayrshire Boulevard                   Yalili Rodriguez                              2107 W. Cluster Avenue
Land O'Lakes, FL 34638                     4106 Kipling Ave                              Tampa, FL 33604
                                           Plant City, FL 33566



Rodriguez, Marcia                          Rodriguez, Myra                               Roebuck, Cynthia N.
3103 Emerson Place                         3209 35th St. West                            Lager, Fay
Plant City, FL 33566                       Lehigh Acres, FL 33971                        43 Halley Drive
                                                                                         Pomona, NY 10970



Roesch, John                               Rogers, Daniel                                Rogers, Danny
13650 66th St N                            c/o Prashad                                   Penela Rogers
Largo, FL 00033-3771                       13575 58th St. N. Suite 300                   36709 Brook Road
                                           Clearwater, FL 33760                          Fruitland, FL 34731



Rogers, James                              Rogers, Lance                                 Rogers, Regina
Guadalupe Rogers                           7336 Oak Crest Drive                          1332 Foxboro Dr.
1610 Prowmore Drive                        Port Richey, FL 34668                         Brandon, FL 33511
Brandon, FL 33511



Rogers, Susan-                             Rohan, Jane E.                                Rohde, Brent
Paul Rogers                                5609 Gaspar Oaks Drive                        Christine Rohde
208 Sweetbrier Branch Lane                 Tampa, FL 33611                               5649 Spectacular Bid Dr
St. Johns, FL 32259                                                                      Wesley Chapel, FL 33544
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                                          Roland, Marion                                Roldan-Perez
Rojas, Alberto
                                          3379 Crescent Oak Blvd.                       Edna Roldman
Blanca E. Rojas
                                          Tarpon Springs, FL 34688                      4416 West Oklahma Ave
8507 Seven Coves Ct.
                                                                                        Tampa, FL 33616
Tampa, FL 33634



Rolle, George                             Roman, Carmelo                                Roman, Diamar Martinez and Ricardo
3414 N. 56th st                           3901 Chipping Sparrow Lane                    11577 Misty Isle Lane
Tampa, FL 33619                           Plant City, FL 33567                          Riverview, FL 33579




Romano, Daniel                            Romano, Michael and Palma                     Romero, Robert
Michele Romano                            10226 Glen Moore Lane                         1328 El Pardo Drive
612 Bay Harbor Terrace                    Port Richey, FL 34668                         New Port Richey, FL 34655
Sebastian, FL 32958



Romeus, Salomon                           Rondon, Dwayne                                Rooney, David
Fanie Romeus                              Nancy Rondon                                  7905 Monarda Drive
6 Sawfish Lane                            4023 Braemere Drive                           Port Richey, FL 34668
Kissimmee, FL 34759-4814                  Spring Hill, FL 34609



Roquet, David                             Rosamond Anthony                              Rosas, Manuel
1905 NW Ashland Pkwy                      6140 94th Ave N                               3012 N. 46th St.
Ankeny, IA 50023                          Pinellas Park, FL 33782                       Tampa, FL 33605




Rosati, Joseph                            Rose, Linda Joy                               Rose, Terri
Carmel Rosati                             3853 Northdale Blvd. Suite 145                9214 Dalwood Court
7999 North Causeway                       Tampa, FL 33624                               Tampa, FL 33615
St. Petersburg, FL 33707



Rosenau, Arnold                           Rosenberger, Rainey                           Rosenblatt, Pedrita
504 4th Ave SW                            2427 Blind Pond                               2021 66th Ave S
Ruskin, FL 33570                          Lutz, FL 33549                                St. Petersburg, FL 33712




Rosenfield, Daniel                        Rosenthal, Steve                              Ross, Brian
6630 LaPine Ct.                           Maria Rosenthal                               Christine Ross
Boca Raton, FL 33433                      3239 Glenwood Circle                          5606 Osprey Park Pl.
                                          Holiday, FL 34691                             Lithia, FL 33547



Ross, Louis                               Ross, Mary, Estate of                         Ross, Rohan
Arnetta Ross                              Arther Ross                                   Jennifer Ross
4283 Booker St                            1320 N. W. 19th Street                        5475 Paladin Way
Orlando, FL 32811                         Fort Lauderdale, FL 33311                     Orlando, FL 32810



Ross-Johnson, Ian                         Rossi, Rebecca                                Rotter, Randall
Kathy Ross-Johnson                        Patrick Rossi                                 804 Fairmont Street
302 East Leigh Dr                         661 Dartford Court                            Clearwater, FL 33755
Belleair, FL 33756                        Debary, FL 32713
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                                          Rowden, Christine                             Rowe, Barry
Roughley, Colin
                                          1665 Chippewa Way                             319 Whitcomb Dr
Cristi Roughly
                                          Mt. Pleasant, MI 48858                        Geneva, FL 32732
7574 Colony Palm Drive
Boynton Beach, FL 33436



Rowe, Jeanette                            Rowe, John                                    Rowe, Shirley
19 West Street                            Kelley Rowe                                   Kelly Rowe
Orlando, FL 32801                         4323 S. Clarke Ave.                           2496 NW 87th Lane
                                          Tampa, FL 33611                               Sunrise, FL 33322



Rowe, William                             Roy, Brien                                    Royal, Michael
Suzanne Rowe                              Shana Roy                                     Katina Royal
10356 Fix Sparrow Ave                     4025 SW Mackemer Road                         1651 Palm Leaf Dr.
Brooksville, FL 34613                     Port St. Lucie, FL 34953                      Brandon, FL 33510



Rozell, Troy                              Rubino,Paul                                   Rudolph, Dustin
Amanda Rozell                             3839 Berkshire Court                          39650 US Hwy 19 N #736
8724 Imperial Ct.                         Palm Harbor, FL 34684                         Tarpon Springs, FL 34689
Tampa, FL 33635



Ruggiero, William                         Ruiz, Aldofo                                  Ruiz, Joanthon
Karla Ruggiero                            464 Pine Croft Lane                           Nicolett Moskover
3580 5th Ave. SW                          Maitland, FL 32751                            20114 Weeping Laurel Place
Naples, FL 34117                                                                        Tampa, FL 33647



Ruiz, Julio                               Rukes, Amiee                                  Rukes, Amiee
Shri Prashad                              Danny Rukes                                   Danny Rukes
13575 58th St. N. Suite 300               16330 Lakeshore Dr.                           614 East Hwy 50 #401
Clearwater, FL 33760                      Clermont, FL 34715                            Clermont, FL 34711



Runnels, Jerold                           Russell, Kim                                  Russell, Michelle
320 Marisco Way                           David Russell                                 600 42nd Ave NE
Jacksonville, FL 32220                    2151 23rd Ave N                               St. Petersburg, FL 33703
                                          St. Petersburg, FL 33713



Russell, Thomas                           Russo, Frank                                  Rutherford, James
PO Box 1151                               350 Magnolia Road                             50989 Hwy 27 Lot 359
Hillsborough, FL 33680-1151               Venice, FL 34293                              Davenport, FL 33897




Rutland, Valerie                          Rutland, Valerie                              Rutledge, John
369 Montezuma Ave.#562                    Nicole Sapien                                 Stacey Rutledge
Santa Fe, NM 87501                        1302 Delaney Ave.                             12005 Perry Court
                                          Orlando, FL 32806                             Tampa, FL 33635



Rutledge, John                            Ryan, Annette                                 Ryder, Robert
Stacey Rutledge                           7312 Willow Park Drive                        Christina Ryder
12005 Peony Court                         Tampa, FL 33637                               484 South Ridge Rd.
Tampa, FL 33635                                                                         Clermont, FL 34711
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                                           Sack, Debra                                 Sack, Lori
Sabatino, Ann Marie                        P.O. Box 4027                               3500 73rd St. N.
12147 Rockford Street                      Enterprise, FL 32725-4027                   St. Petersburg, FL 33710
Spring Hill, FL 34608



Sacks, Randall                             Sacks, Randall                              Sadler, Mart and Cari
2607 Griffin View Dr.                      14613 Eagles Crossing Drive                 4515 Wescott Lane
Lady Lake, FL 32159                        Orlando, FL 32837                           Tampa, FL 33624




Sager, James Anthony                       Sagide, Rachid                              Said, Maria
1734 7th St S                              Lori Sagide                                 3117 Doune Way
St. Pete, FL 33701                         11170 105th Ave N                           Clermont, FL 34711
                                           Largo, FL 33778



Said, Said                                 Saint Eloi, Tony and Mireille               Saladino, Linda
Feryal Said                                Mr. and Mrs. Louis                          4601 66th St. West Unit 1111
2582 Maguire Road Unit 254                 211 Roosevelt Avenue                        Bradenton, FL 34210
Ocoee, FL 34761                            Freeport, NY 11520



Salazar, Victor                            Salcedo, Alberto                            Saldana, Leonel
Yessica Salazar                            Gloria Salcedo                              Virgelina Saldana
30931 Sonnet Glen Dr.                      9706 King Canyon Place                      4943 Wildflower Dr
Wesley Chapel, FL 33543                    Tampa, FL 33634                             Lakeland, FL 33811



Saldivar, Jose                             Saleem, Bibi                                Salinas, Alfredo
Anita Hope Saldivar                        Abdool Saleem                               Guadaloupe Salinas
6851 East Banks Ct.                        13212 Bainbridge Way                        PO Box 3613
Inverness, FL 34453                        Spring Hill, FL 34609                       Lake Whales, Fl 33853-3613



Saling, Gabriel                            Salla, Matthew                              Sallie, Kelli
Amanda Saling                              2648 Kavalier Drive                         7221 Woodbrook Drive
12020 Running Fox Cir.                     Palm Harbor, FL 03468                       Tampa, FL 33625
Riverview, FL 33569



Salmons, Eric and Carol                    Saltzman, Stuart                            Salvas, Ralph
26831 Palm Street                          240 Winward Passage #403                    811 Bahama Drive
Bonita Springs, FL 34135                   Clearwater Beach, FL 33767                  Tallahassee, FL 32305




Salvo, Len                                 Salyer, Jimmie                              Samburgh, Richard
5638 Orexel Rd                             Tani Salyer                                 2372 Anza Ave.
Land O'Lakes, FL 34638                     15412 Lakeshore Road #232                   Spring Hill, FL 34609
                                           Tampa, FL 33613



Samedy, Dallen                             Samson, Richard                             Sanchez, Armando III and Virginia Ann
8269 Peak Ave.                             Katherine Samson                            34638 Ruffing Rd.
Lakeland, FL 33810                         14907 Fosgate Road                          Dade City, FL 33523
                                           Monteverde, FL 34756
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                                           Sanchez, Gary                                 Sanchez, Lynette
Sanchez, Cesar
                                           Kimberly Sanchez                              8826 Tessara
Florinda Puente
                                           3180 Marsh Harbor                             Tampa, FL 33647
1201 SW 24th Ave
                                           Orlando, FL 32827
Miami, FL 33135



Sanchez, Mary Anne                         Sanchez, Mary Anne                            Sanchez, Yisel
4319 E. Arlington Street                   Jihyun Sanders                                3605 Edna Court
Iverness, FL 34453                         12522 Evington Point Drive                    Tampa, FL 33614
                                           Riverview, FL 33579



Sandacres Properties                       Sanders, Michael                              Sandoval, Santiago
1629 Concord St                            Tammy Wain Wright                             Simeon Sandoval
Dunedin, FL 34698                          13700 Fish Eagle Drive West                   7723 Seafield Lane
                                           Jacksonville, FL 32226                        Wesley Chaple, FL 33545



Sandy, Tonya                               Sanek, Lawrence                               Sanoguet, Brenda
Sam Sandy                                  Carole Sanek                                  41516 Preston Woods Drive
2868 Homewood St.                          15449 Burbank Dr.                             Valrico, FL 33594
Clearwater, FL 33759                       Brooksville, FL 34604



Santana, Jose                              Santana-Hyler, Balbina                        Santarsieri, Anthony
Johanna Fraguada                           4201 45th Ave.N.                              1414 Tallahassee Drive
3902 Trapnell Ridge Dr.                    St. Petersburg, FL 33714                      Tarpon Springs, FL 34689
Plant City, FL 33567



Santeliz, Alexis                           Santiago, Christine                           Santiago, Cynthia
Ana Santeliz                               3128 West Varn Ave                            23211 Cascade Place
2942 Falling Tree Cir.                     Tampa, FL 33611                               Land O'Lakes, FL 34639
Orlando, FL 32832



Santiago, Jose                             Santisteban, Francisco                        Santucci, Mary and Anton
Maria Santiago                             1223 East idlewild Ave                        11220 Rice Creek Road
272 Cherry Laural lane                     Tampa, FL 33604                               Riverview, FL 33569
Winter Haven, FL 33880



Sapien, Manny                              Sargent, David                                Sariol, Hugo
Nicole Sapien                              PO Box 196                                    3437 Ithaca St. N.
7320 Olfd Kings Road                       Hope, IN 47246-0196                           St. Petersburg, FL 33713
Jacksonville, FL 32217



Sarmiento, Jesse                           Sasso, Marc                                   Satchel, Yolanda
Patricia Sarmiento                         Merlita Sasso                                 1177 Bent Creek Loop
1631 NW 19th Street #6                     4017 NE 21st Place                            Ft. Myers, FL 33916
Miami, FL 33125                            Cape Coral, FL 33909



Satkowski, Alan                            Satori, Steven                                Sauer, John
433 35th Ave NE                            10433 Idleworth Ave.                          3308 W. Lawn Avenue
St. Petersburg, FL 33704                   Tampa, FL 33647                               Tampa, FL 33611
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                                           Saunders, Dolores                             Saunders, John
Saunders,                                  203 W. 108th Ave.                             8143 Canterbury creek blvd
2429 Castilla Island                       Tampa, FL 33612                               Tampa, FL 33619
Fort Lauderdale, FL 33301



Sawicki, Daniel                            Saxon, Thomas -                               Scaglione, Andrew
5100 NE 27th Ave.                          4401 7th Ave. N.                              Bonnie Scaglione
Lighthouse Point, FL 33064                 St. Petersburg, FL 33713                      777 Duque Rd.
                                                                                         Lutz, FL 33549



Scaglione, Andrew                          Scaglione, Andrew                             Scaglione, Troy A.
Bonnie Scaglione                           Bonnie Scaglione                              Victoria Scaglione (wife)
2811 N. Morgan St.                         9408 N. 19th St.                              2811 N Albany Ave
Tampa, FL 33602                            Tampa, FL 33612                               Tampa, FL 33607



Scalzo, Alfredo                            Scangarello, Karen                            Scanio, Yvette
Michelle Scalzo                            506 Lakewood Drive                            1906 W. Erna Dr
3718 Jacmel Way                            Oldsmar, FL 34677                             Tampa, FL 33603
Palm Harbor, FL 34685



Scarborough, Vanessa                       Scarritt, Francis                             Schack, Hal
Christopher Scarborough                    708 Columbus Drive                            Sarah Schack
3257 Masonville Loop                       Tierra Verde, FL 33715                        2200 Lake Pointe Cir.
Holiday, FL 34691                                                                        Leesburg, FL 34748



Schaefer, Angela                           Schaefer, Angela                              Schaller, Ramela
5126 Clover Mist Dr.,                      Scott Schaefer                                Michael Gdovic
Apollo Beach, FL 33572                     739 Murphy Ave. N.                            3601 NE 4th Ave
                                           St. Petersburg, FL 33703                      Boca Raton, FL 33431



Schaneville, Lori                          Schaneville, Lori                             Schever, Francis
Kyle Schaneville                           Kyle Schaneville                              PO Box 1341
4494 16th Ave N                            4644 West Gandy Blvd.                         Sarasota, FL 34230-1341
St. Petersburg, FL 33710                   Tampa, FL 33611



Schewe, Martha Lynne                       Schiff, James                                 Schiller, Alex
408 West 27th St.                          Jeannette Schiff                              1303 Barnsdale Street
Bradenton, FL 34205                        2613 Trinity Circle NW                        Lehigh Acres, FL 33936
                                           Winter Haven, FL 33881



Schmall, Brian                             Schneider, Barry                              Schnibben, Jill
3551 Magnolia Ridge Circle # 704           June Schneider                                Brian Schnibben
Palm Harbor, FL 34684                      452 Scrubjay Way                              765 Park Springs Court
                                           Davenport, FL 33896                           Port Orange, FL 32128



Schofield, Tracy                           Schorger, Alison                              Schuholz, Michael
5713 Legacy Cresent Place                  PO Box 12826                                  2520 Sunny Breeze Ave
Riverview, FL 33578                        St. Pete, FL 33733-2826                       Largo, FL 33770
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                                          Schultz, Richard                              Schultz, Sharla
Schultz, Cindy                            Laurie Ann Schultz                            5023 Sanderling Ridge Drive
1215 NW 52 Court                          6605 Bowdoin Place                            Lithia, FL 33547
Coral Springs, FL 33076                   Bradenton, FL 34207



Schuman, Katherine                        Schwenk, David                                Sciandra, James
1321 NW 49th Terrace                      33732 Sabal Way                               Vincent Sciandra
Gainesville, FL 32605-4597                Leesburg, FL 34788                            3248 70th St. North
                                                                                        St. Pete, FL 33710



Sciandra, Joseph                          Sciarra, Karie                                Sciarra, Kimberly
Lisa Sciandra                             Robert Sciarra                                Barbara Sciarra
11167 Tradewinds Blvd.                    11596 Captiva Kay Drive                       3971 East Arbor Lakes Drive
Largo, FL 33773                           Riverview, FL 33569                           Hernando, FL 34442



Sciulara, Giuseppe                        Scott, Beverly                                Scott, Christine and Craig
4688 72nd Ct. E.                          PO Box 48743                                  Jaden Scott - Son
Bradenton, FL 34203                       Sarasota, FL 34230-8743                       11320 9th Street E
                                                                                        Treasure Island, FL 33706



Scott, Jennifer                           Scott, Michael                                Scott, Michael-
4329 61st Ave E                           Dixie & Jennifer Scott                        Jennifer Scott
Bradenton, FL 34203                       615 Ruskin Road                               2100 Calumet Street # 308
                                          Clearwater, FL 33765                          Ckearwater, FL 33765



Scott, Rosa                               Scott, Stacey                                 Scott, Timothy
Michele Cascio                            6710 36th Ave E. #97                          10637 Oakhill Drive
6601 Callaghan Lane                       Palmetto, FL 34221                            Port Richey, FL 34668
North Port, FL 34291



Scramm, James                             Scutt, Peter                                  Sears, Lisa K.
Kristina Schramm                          Leila Scutt                                   7444 Pomel Place
5445 Winhawk Way                          19384 SW 79th Ave.                            Zephyhills, FL 33541
Lutz, FL 33558                            Cutier Bay, FL 33157



Sears, Lisa K.                            Sears, Todd                                   Sease, Judy
3605 Devon Street                         14115 Cattle Egret Place                      Richard Sease
Tampa, FL 33605                           Bradenton, FL 34202                           8313 Fantasia Park Way
                                                                                        Riverview, FL 33578



Sebban, Marc                              Seguin, Lisa                                  Seidl, Elroy
Anna Sebban                               Donald Seguin                                 4360 Pompano Rd.
1061 Kent Ln.                             7542 Dunbridge Dr.                            Venice, FL 34293
Palm Harbor, FL 34683                     Odessa, FL 33556



Seitman, Jeremy                           Sekeres, Eric                                 Seleske, Kathy
1512 S. Washington Ave.                   Pamela Sekeres                                Mark Seleske
Clearwater, FL 33756                      11004 102nd Ave                               24266 McCaw Rd
                                          Seminole, FL 33778                            Brooksville, FL 34601
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                                         Selph, Robert                               Semelaigne, Lisa
Selph, Nathan
                                         Elenor Selph                                Bernice Irvin
Dara Selph
                                         1718 NE 28th Place                          5239 Mobil Aire Drive
733 Carpenters Way # 8
                                         Ocala, FL 34470                             W. Palm Beach, FL 33417
Lakeland, FL 33809



Serina, Dawn                             Serna, John                                 Session, Tiffany
Bob Serina                               Cheryl Serna                                319 East Hanlon Street
10603 Juliano Drove                      3405 Old Mulberry Rd                        Tampa, FL 33604
Riverview, FL 33569                      Plant City, FL 33566



Setree, Jason                            Setser, Terry                               Sexton, Joan
2601 Goldcrest Place                     Lisa Setser                                 2065 North Highlands Ave
Valrico, FL 33594                        3117 S. Canal Dr.                           Clearwater, FL 33755
                                         Palm Harbor, FL 34684



Sexton, Marsha                           Sexton, Shawn                               Sgambati, Karen
8210 North 10th St                       942 Valley View Circle                      Blake Patton
Tampa, FL 33604-3206                     Palm Harbor, FL 34684                       163 Overlook Drive
                                                                                     Chuluota, FL 32766



Shaffer, Stanley                         Shah, Mital                                 Shammos, Samuel
Elizabeth Shaffer                        Dipaben Shah                                Samuel Shammos, Jr., Maha Shammos, Micha
2729 West Martha Avenue                  240 Country Cottage Lane                    9244 92nd St. North
Lakeland, FL 33805                       Winter Gardens, FL 34787                    Seminole, FL 33777



Shaneville, Lori                         Shanker, Ira Bruce                          Shapiro Fishman Gache
Kyle Shaneville                          HRLD Enterprise inc                         4630 Woodland Corporate B, #813
4644 West Gandy Blvd.                    14119 Stonegate Drive                       Tampa, FL 33614
Tampa, FL 33611                          Tampa, FL 33624



Sharp, Ernest                            Shatraw, David                              Shaw, Brent
Staci Sharp                              7809 Sheppard Lane                          Amie Haught - Shaw
5059 NE 121st Road                       Zephyrhills, FL 33540                       14210 Edinburgh Moor Dr.
Oxford, FL 34484                                                                     Wimauma, FL 33598



Shaw, Herb                               Shay, Robert                                Sheeran, Michael
Sharon Shaw                              Yvette Shay                                 5607 Tanagerlake Rd.
2386 Dora Drive                          19450 Sunset Bay Dive                       Lithia, FL 33547
Clearwater, FL 33765                     Land O'Lakes, FL 34638



Sheky, Michael                           Shelton, Cathy                              Shelton, Dianne
Meredita Shekey                          James Shelton                               5930 Riverside Drive
18112 Fall Creek Drive                   171 84th Ave N                              Melbourne Beach, FL 32965
Lutz, FL 33558                           St. Pete, FL 33702



Shelton, Jermaine                        Shelton, John                               Sheppard, Laura
c/o Shri prashad                         Sonia Shelton                               Embassy Drive LLC
10413 Goshawk Dr                         601 Highview Terrace Ave.                   1383 Embassy Drive
Riverview, FL 33578                      Brandon, FL 33510                           Clearwater, FL 33764
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                                          Sherman, Martin                             Sherman, Martin
Sheppard, Vanessa
                                          Rhonda Sherman                              Rhonda Sherman
Kenneth Sheppard
                                          1001 B. Magnolia Drive                      3109 Carter Ave
11214 Gardfield Court
                                          Clearwater, FL 33756                        Marina del Rey, CA 90292
Seffner, FL 33584



Short, Timothy                            Shrader, Matthew                            ShredQuick, Inc.
Vera Short                                Stephanie Shrader                           8374 Market St., Box 503
2721 Sidney Ave.                          10276 Oasis Palm Drive                      Bradenton, FL 34202
Orlando, FL 32810                         Tampa, FL 33615



Shwartz, Carolina                         Sicillano, Edward                           Sidhu, Raj
Lenny Shwartz                             Kerry Schinella                             8 Malthouse
6215 Shadow Tree Lane                     2770 Tasha Dr.                              Meadow, Solihull b913dr
Lake worth, FL 33463                      Clearwater, FL 33761                        United Kingdom,



Siever, Jared                             Signoracci, Emily                           Sills, Edward and Debra Sills
804 31 St. W.                             Steve Signoracci                            11014 Hedges St.
Bradenton, FL 34205                       411 Arrowhead Ct.                           New Port Richey, FL 34654
                                          Oldsmar, FL 34677



Silva, Fernando                           Silva, Juan                                 Silver, Michael
4009 Triggerfish Dr.                      Silva, Betsy                                Bonnie Silver
Hernando Beach, FL 34607                  7609 S. Sanibel Circle                      11626 East Laurel Court
                                          Tampa, FL 33637                             Floral City, FL 34436



Silvernail, Robert                        Silverthorn, Crystal                        Simmons, Quartures
Amanda Silvernail                         James Thedford                              2613 East 10th Ave
126 New Hamshire Street                   2347 Covington Ave                          Hillsborough, FL 33605
Edgewater, FL 32132                       Spring Hill, FL 34608



Simons, Jennifer                          Singleton, Michael                          Sink, Randy
519 West Jersey Ave.                      Felicia Singleton                           4508 State Road 60 West
Brandon, FL 33510                         1751 58th Circle South                      Plant City, FL 33567
                                          St. Pete, FL 33712



Siwicki, Jessica                          Skidgell, Sandy                             Skinner, Robert
827 North Highlands Ave                   Paulette Skidgell                           Deborah Skinner
Arlinton Heights, IL 60004                19111 Vista Bay Drive # 201                 812 45th Ave N.
                                          Indian Shores, FL 33785                     St. Petersburg, FL 33703



Skyway Media                              Slater, Bruce                               Sloan, Cynthia
1029 Central Ave., Suite 200              3645 Winderwood Dr.                         13716 Forest Lake Dr.
St. Petersburg, FL 33705                  Sarasota, FL 34232                          Largo, FL 33771




Slotnick, Debra                           Smeaton, James                              Smeelink, Russell
Michael Nash and Sylvia Schwartz          Felicia Singleton                           908 East North St
17277 Hampton Blvd.                       12805 Pintail Court                         Tampa, FL 33604
Boca Raton, FL 33496                      Riverview, FL 33569-5776
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                                          Smith, Adam                                   Smith, Alfred
Smiley, Ron                               1157 Woodlawn St.                             6464 Bubia Circle
1355 Big Pine Dr                          Clearwater, FL 33756                          Apollo Beach, FL 33572
Valrico, FL 33594



Smith, Charles                            Smith, Christopher J.                         Smith, Constance
P.O. Box 924                              Smith, Kathleen P.                            PO Box 326
Wrightsville Beach, NC 28480-0924         340 89th Ave. NE                              Palm Beach, FL 33480-0326
                                          St. Petersburg, FL 33702



Smith, Constance                          Smith, Dale                                   Smith, Dale
P.O. Box 924                              126 NE 2 Street                               P.O. Box 924
Wrightsville Beach, NC 28480-0924         Crystal River, FL 34429                       Crystal River, FL 34429-0924




Smith, David                              Smith, Elaine                                 Smith, Eli and Mildred
Kathyrn Smith                             Hezedean Smith                                7326 Fieldcrest Avenue
5307 Island Gypsy Drive                   701 Gentry Court                              Winter Park, FL 32792
Green Acres, FL 33643                     Gotha, FL 34734



Smith, Harold                             Smith, John                                   Smith, Joseph Lee
Smith, Gail                               Julie Smith                                   Candice Smith
1323 Tenby Way                            12202 Meadow Lane                             1830 32nd Ave. N.
Palm Harbor, FL 34683                     San Antonio, FL 33756                         St. Petersburg, FL 33713



Smith, Lon                                Smith, Michael                                Smith, Michael
Nancy Smith                               Sandra Smith                                  Darla Smith
12944 Herrmann Road                       1142 47th Ave N                               18508 Sugarberry Lane
San Antonio, FL 33576                     St. Petersburg, FL 33703                      Spring Hill, FL 34610



Smith, Nicole                             Smith, Richard                                Smith, Robert and Dana
843 Bay Point Dr                          19200 Adirondack Terr                         Melanie Smith
Madeira Beach, FL 33708                   Dade City, FL 33526                           16537 Kingsletridge Ave
                                                                                        Lithia, FL 33547



Smith, Steve                              Smith, Terence                                Smith, Thomas
Stevn Smith LLC                           5141 Pond View Ct                             Smith, Treana
6909 North Rome Ave                       Zephyhills, FL 33541                          4696 80th Street North
Tampa, FL 33604                                                                         St. Petersburg, FL 33709



Smith, Tracey                             Smuck, James                                  Snow, K.
9126 Prosperity                           1364 Pine St                                  600 Nissan Drive, Apt 34
Port Richey, FL 34668                     clearwater, FL 33756                          Smyrna, TN 37167




Snow, Stephen                             Snow, Stuart                                  Snyder, Beverly
Karina Snow                               Jennifer Snow                                 7205 Nia Lane
4350 Dartmouth Ave North                  19102 Nature Palm Lane                        Tampa, FL 33625
St. Petersburg, FL 33713                  Tampa, FL 33647
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                                           Soloff, Sherie                             Soloman, Thomas
Snyder, David
                                           1320 16th St NE                            Cynthia Soloman
Pamela Snyder
                                           Naples, FL 34120                           10124 Alexander Ave
2269 Round Lake Hwy
                                                                                      Englewood, FL 34228
Manitou Beach, FL 49253



Solomon, Raymond                           Somers, Elena                              Somers, Gerald David
2200 3rd Ave. N., Apt 3,                   4094 Blue Ridge St.                        PO Box 1343
St. Petersburg, FL 33713                   Nort Port, FL 34287                        Webster, FL 33597-1343




Sopher, Michael                            Soprano, Joe                               Sorensen, Steven
1st Street                                 6410 Longlake Drive                        Catherine Sorensen
Indian Rocks Beach, FL 33785               Port Orange, FL 32128                      812 Scott Lake Village North
                                                                                      Lakeland, FL 33813



Soto, Audrey                               Soto, Audrey                               Soto, Paco
Moises Soto                                1022 N. 29th St.                           Gloria Ortiz
10222 N. 29th St.                          Tampa, FL 33612                            8345 Paddlewheel
Tampa, FL 33612                                                                       Tampa, FL 33637



Soule, Steven                              Southammavong, Osoth                       Souvannarath, Phonphit
37134 Kinsman Dr.                          1682 Winners Circle                        Saeng-Dao B.
Zephyrhills, FL 33541                      Tarpon Springs, FL 34689                   2585 - 59th Avenue South
                                                                                      St. Petersburg, FL 33712



Sowders, Robert                            Soyka, Eve                                 Spangler, Michael
Gina Sowders                               3937 Saint Armens Cir                      5435 60th Way North
8011 Winter St.                            Melbourne, FL 32934                        St. Pete, FL 33709
Brooksville, FL 34613



Sparks, David                              Spear, Valerie                             Spear, Valerie
Michelle Sparks                            2664 Bentley Dr                            646 Spring Lake Circle
12713 Thonotosassa Road                    Palm Harbor, FL 34684                      Tarpon Springs, FL 34688
Thonotosassa, FL 33592



Spears, Shane                              Spectrum                                   Spellman, Frank
5107 Johnnie Rd                            PO Box 790450                              1 Marsh Court
Tampa, Fl 33624                            Saint Louis, MO 63179-0450                 Ponce Inlet, FL 32127




Spencer, Isaiah                            Sperbeck, Jerrold                          Spero, Joseph
Shatika Spencer                            Brenda Sue Sperbeck                        Nancy Spero
7145 Waterside Dr.                         13251 Don Loop                             3053 Gregor Ct.
Tampa, FL 33617                            Spring Hill, FL 34609                      Palm Harbor, FL 34684



Spicer, Michael                            Spies, Derek                               Spinner, William
6224 Stanwin Drive                         Melissa Spies                              Stephanie Spinner
Apopka, FL 32712-5233                      1218 E. Knollwood St.                      1543 Elmwood St.
                                           Tampa, FL 33604                            Clearwater, FL 33755
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                                           Spowage, Mark                               Springer, Barbara
Spor, Jamie                                7535 South Lake Ridge Drive                 2135 Foxchase Blvd.
3780 82nd Ave Circle East Unit 102         Seattle, WA 98178                           Palm Harbor, FL 34683
Manatee, FL 34243



Sprinkman, Jeffrey                         Sreekumar, Rajkumar                         Srzedzinski, Joseph
3728 20th Street                           Saritha Sreekumar                           555 Webster Street
St. Pete, FL 33713                         9133 Delemar Street                         Lae Mary, FL 32746
                                           Wellington, FL 33414



St. Amour, Abel                            St. Clair, David                            St. Hilaire, Daniel
Shirley St. Amour                          10901 Burnt Mill Road # 1502                Linda L. St. Hilaire
PO Box 2122                                Jacksonville, FL 32256                      103 Windy Pl.
West Palm Beach, FL 33412-2122                                                         Brandon, FL 33511



St. Pierre, Lynda                          St. Vincent, David                          Stacy, Barbara
3038 Eastland Blvd. # F201                 1716 Magnolia Ave                           9411 Glen Moor Ln
Clearwater, FL 33761                       The Villages, FL 32159                      Port Richey, FL 34668




Stallbaum, Daniel                          Stallbaum, Matthew                          Stamper, Thomas
Carol Stallbaum                            Jessica Stallbaum                           Eileen Meier-Stamper
1560 Carmen Street                         963 Bellaire Lane                           513 Maple Street
Merritt Island, FL 32952                   Rockledge, FL 32955                         Litchfield, CT 06759



Stananought, Neil                          Stanciu, Cecile                             Standing Bear, Jeanine
Cindy Stananought                          3529 2nd ave North                          1465 Maranatha Dr.
19211 Blunt Road                           St. Pete, FL 33713                          Fort Myers, FL 33903
Lutz, FL 33558



Stanford, Catherine                        Stanger, Kevin                              Stanley, Martin and Araseli
4301 Holland Grove Way                     Nerida Stranger                             Martin, Araseli, Nick, Kendall Stanley
Plant City, FL 33567                       3217 Keswick court                          26203 SR 64 E
                                           Land O'Lakes, FL 34638                      Myakka City, FL 34251



Stanton, Kyle                              Stark, Jeffrey                              Stark, Keith
Lisa Stanton                               2810 West Price Ave.                        Melissa Stark
3640 Beaumont Loop                         Tampa, FL 33611                             212 Gray Oak Drive
Spring Hill, FL 34609                                                                  Tarpon Springs, FL 34689



Starkey, John                              Starr, James                                Staton, Fred
Heather Starkey                            10525 Beneva Dr.                            Edith Staton
16214 Barrineau Place                      Tampa, FL 33647                             2495 Raywood Ave
Lutz, FL 33549                                                                         New Port Richey, FL 34286



Stauch, Thomas                             Steckel, Laurie                             Steele, David
13249 Boca Ciega Ave., Apt. 1              1717 S. Manhattan Ave.                      1340 Windsor Drive
Madiera Beach, FL 33708                    Tampa, FL 33629                             Clearwater, FL 33756-1335
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                                           Steele, Scott                                Stein, Neil
Steele, Rachel                             Robin Steele                                 Michelle Stein
7732 N. Mobley Rd.                         7562 85th Ln.                                2907 Elysium Way
Odessa, FL 33556                           Largo, FL 33777                              Clearwater, FL 33759



Steinhardt, Lawrence                       Steinhoff, Ellen                             Stephens, Kelvin
Corinne Steinhardt                         PO Box 294498                                Javonah Stepehens
3944 Arlington Drive                       Boca Raton, FL 33429-4498                    2239 NW 58th Street
Palm Harbor, FL 34685                                                                   Miami, FL 33142



Stephens, Richard                          Stephens, Shawn                              Stephens, Tracy
4020 Southern Manor Ct                     1712 East Maple Ave                          PO Box 347
Sarasota, FL 34233                         Tampa, FL 33604                              Webster, FL 33597-0347




Stephenson, Joseph                         Sterk, James                                 Steven & Joseph Terry
Victoria Stephenson                        Lesly Sterk                                  8008 East Leigh Court
1024 Elkman Blvd.                          10841 McFarland St.                          Temple Terrace, FL 33637
Cocoa, FL 32927                            Dunedin, FL 34698



Stevens-Anderson, Valerie J.               Stewart, Cary                                Stewart, Kelly
3533 Anniversary Ct                        13174 Madison Avenue                         Karen Stewart
New Port Richey, FL 34653                  Largo, FL 33773                              7103 24th Avenue
                                                                                        Bradenton, FL 34209



Stewart, Richard                           Stewart, Woodrow                             Stewart-Butler, Sandra
1119 Somerset Circle South                 Donna Marie Stewart                          John Butler
Dunedin, FL 34698                          3040 Taunton Ave.                            5582 Superior Drive
                                           North Port, FL 34286                         Lakeland, FL 33875



Stiles, John                               Stilley, Tony                                Stipp, Tom
Veronica Stiles                            Tamika Stilley                               Susan Stipp
6896 Criswell Ave. N.                      19502 Sunset Bay Drive                       19915 SW 93rd Road
St. Petersburg, FL 33709                   Land O'Lakes, FL 34638                       Dunnellon, FL 34432



Stisser, Aaron                             Stone, Dorothy                               Stone, Richard and Nancy Miller
5590 Baywater Dr.                          3400 Thomas Street                           16615 Sounding Shores Drive
Tampa, FL 33615-3528                       Hollywood, FL 33021                          Odessa, FL 33555




Stone, Ronald                              Stopa, Mark P.                               Stoppe, Gould
Jeanine Stone                              7351 Sawgrass Pt. Dr.                        204, 212 & 220 Arlanie Rd.
6300 Loonie Lee Ln.                        Pinellas Park, FL 33782                      Masaryktown, FL 34604
Hudson, FL 34667



Storts, Gwendolyn Ruth                     Story, Margo                                 Stowell, Zach
David Paul Storts                          4617 Stone Ridge Trail                       Katie Stowell
327 Country Vineyard Drive                 Sarasota, FL 34232                           5418 19th Ave. N
Valrico, FL 33594                                                                       St. Petersburg, FL 33710
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                                            Strange, Peter J.                             Stratton, Dawn
Stracuzza, Anthony and Antoinette           Cynthia Strange                               6 Karena Lane
421 Augustine Court                         29509 Crossland Dr.                           Lawrenceville, NJ 08648
Oviedo, FL 32765                            Wesley Chapel, FL 33543



Streeter, Benjamin                          Strisko, Robert                               Stroup, Michael
Amanda Streeter                             1220 John Circle                              Joann Stroup
1835 Green Springs Circle                   Merrit Island, FL 32952                       77 Spring Glen Drive
Orange Park, FL 32003                                                                     Debary, FL 32714



Strozinsky, Sally                           Stuart, Donald                                Stuart, Michael
1411 8th Street                             Juliet Stuart                                 Denise Stuart
Reedsburg, WI 53959                         5703 Spencer Parrish Rd.                      6601 Spanish Moss Circle
                                            Parrish, FL 34219                             Tampa, FL 33625



Studt, Christie                             Sturgeon, Carl                                Stutler, Christopher
David Campbell                              359 Cressida Circle                           Rebecca Stutler
1027 Roberta St.                            Spring Hill, FL 34609                         13921 Downing Street
Venice, FL 34285                                                                          Dover, FL 33527



Stutler, Melissa                            Styrcula, Yvonne                              Su, Andres
PO Box 2504                                 13014 N. Dale Mabry Hwy #357                  Krystal Su
Dunedin, FL 34697-2504                      Tampa, FL 33618                               2265 6th Ave SW
                                                                                          Largo, FL 33770



Suarez, Artemio and Karen Fiscubach         Suarez, Atisha                                Suhar, Jason
1621 E. 4th Avenue, # 203                   207 W. Linebaugh Avenue                       Jessica Suhar
Tampa, FL 33605                             Tampa, Fl 33612                               4921 Stelle Dust Lane
                                                                                          Lutz, FL 33559



Sukie, Gwendoly                             Sullivan, John                                Sullivan, Raymond
Errol Sukie                                 37524 Tucker Rd                               820 Camargo Way #112
8126 Woodvine Cir.                          Zephyrhills, FL 33541                         Altamonte Springs, FL 32714
Lakeland, FL 33810



Sult, David                                 Summers, Kerry                                Sun State Group LLC
Candace Sult                                Cynthia Summers                               c/o Mike Ramsay
742 Southwest Blvd. N                       8916 North Lagoon Drive                       1003 Sand Piper Ct
St. Petersburg, FL 33703                    Panama City Beach, FL 32408                   Dunedin, FL 34698



Sunden, Donna (a/k/a Stogner)               Suppa, Chris                                  Sutcliffe, III, William and Anja
3230 Kathleen Drive                         Sara Busquets                                 720 Forest Park Drive
Orlando, FL 32810                           3114 Bellericay Ln.                           Deland, FL 32720
                                            Land O'Lakes, FL 34638



Swain, Victoria                             Swartz, Jennifer                              Swayze, Linda
101 Cayle Ave                               12760 Burning Tree Lane West                  Leonard Swayze
Longwood, FL 32750                          Jacksonville, FL 32223                        915 New Hampton Way
                                                                                          Merritt Island, FL 32953
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                                           Sweet, Amarilis                               Swope, Paulen
Sweat, Patrick                             6611 N. Manhattan Ave                         233 Aralia Lane
6939 Stonesthrow Circle # 6204             Tampa, FL 33614                               Jacksonville, FL 32216
St. Petersburg, FL 33710



Sygrove, Martin                            Sykes Grady                                   Sykes, Douglas
Carol Sygrove                              3004 West Bay Court                           2244 NW 72nd Terrace
9480 Miracle Drive                         Tampa, FL 33611                               Pembroke Pines, FL 33204
Spring Hill, FL 34608



Sykes, Grady                               Synstad, Eric                                 Szal, Michael
3004 West Bay Court                        PO Box 25306                                  1928 Oro Court
Tampa, FL 33611                            Scottsdale, AZ 85255-5306                     Clearwater, FL 33764




Szasz, Robert                              Szczesniak, Mary                              Szymanski, Scott
Bonnie Szasz                               Szczesniak, Ted                               Elizabeth Szymanski
1951 Brightwaters Blvd. NE                 44 Circle End Dr                              14604 Turning Leaf Court
St. Pete, FL 33704                         West Seneca, WY 14224                         Tampa, FL 33626



Taberes, Melina                            Taboada, Arthur                               Tagarelli, Michael
9412 Lake Chase Island Way                 4919 Chancellor St.                           PO Box 6101
Tampa, FL 33626                            St. Petersburg, FL 33703                      Palm Harbor, FL 34684-6101




Tagarelli, Michael                         Takacs, Thomas                                Tallent, Tiffany
PO Box 2394                                Roger & Linda Takacs                          8400 49th St. N., Apr 704,
Oldsmar, FL 34677-2394                     3224 Mayflower St.                            Pinellas Park, FL 33781
                                           Sarasota, FL 34231



Tally, James                               Tamara Young                                  Tan, Bernard
Cordelie Talley                            1056 George Ave                               Cyril Tan
2254 9th Place                             Rockledge, FL 32955                           1607 Humbold Street
Lehigh Acres, FL 33936                                                                   Lemoore, CA 93245



Tarnoi, Laszlo                             Tarnoi, Laszlo                                Tassinari, Michael
Maria Tarnoi                               Maria Tarnoi                                  Tina Tassinari
1001 Silver Palm Way                       16134 Carlton Lake Dr                         2909 South Lemos Ave.
Apollo Beach, FL 33572                     Wimauma, FL 33598                             Seffner, FL 33584



Tate, Michael                              Taveres, Angela                               Taylor, Allan
Valenda Tate                               4211 SW 36 street                             3845 Stornoway Driive
3006 West Robison Street                   Hollywood, FL 33023                           Land O'Lakes, FL 34638
Tampa, FL 33614



Taylor, Mallory                            Taylor, Peter                                 Tchotchev, Toni
74 W. St. John St.,                        Andrea Taylor                                 Mariana Tchotchev
Tampa, FL 33607                            7513 Yandley Way                              4544 Ingerson Pl
                                           Tampa, FL 33647                               New Port Richey, FL 34652
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                                          Teague, Earl                                Teeling, Robert
Teague, Ayasha                            Ray Elzy                                    7205 San Moritz Drive
4045 Hanging Moss LP                      7979 Sailboat Key Blvd. South Unit 403      Port Richey, FL 34668
Spring Hill, FL 34609                     South Pasadena, FL 33710



Teeple, John                              Tejada, David                               Telvin, Joann
Roseanne Teeple                           2355 Woodway Dr.                            Michael Telvin
6000 Glen Harwell Rd                      Orlando, FL 32837                           1404 A St.
Plant City, FL 03566                                                                  Conway, SC 29526



Tenney, Fred                              Terp, Kenneth                               Terry, Kristen
Susan Tenney                              Carla Terp                                  8201 Columns Circle
714 9th St.                               6849 Cancun Ct                              Seminole, FL 33772
Ft. Meade, FL 33841                       Land O'Lakes, FL 34637



Tessensohn, Jeffrey                       Thach, Kim To                               Tharpe, Willie
3459 Seagrape Drive                       Debbie Thach                                PO Box 7335
Winter Park, FL 32792                     3493 White Adler Ct.                        Tampa, FL 33673-7335
                                          Kissimmee, FL 34741



Thayer, Roger                             Therfelder, Robert                          Thiede, Stacy
Elisabeth Thayer                          64 Spring Lake Blvd.                        Franklin Thiede
3913 Lone Eagle Place                     Waretown, NJ 08758                          3408 Pleasant Lake Dr.
Sanford, FL 32771                                                                     Tampa, FL 33618



Thieme, Brian                             Thoma, John                                 Thomas, Allegra
Martha Thieme                             4507 Mohican Trail                          7403 Kingston Dr.
7526 SW 8th St.                           Valrico, FL 33594                           Tampa, FL 33619
North Lauderdale, FL 33068



Thomas, Avril                             Thomas, Calvin                              Thomas, Courtney
2015 Samantha Lane                        1012 Pinebrook Drive                        Darcel Thomas
Valrico, FL 33594                         Clearwater, FL 33755                        713 Gordonia Court
                                                                                      Deland, FL 32724



Thomas, Derek                             Thomas, Jennifer                            Thomas, Robert
Patricia Blake                            38130 Timberlane Drive                      Jennifer Thomas
190 Ibis Drive                            Umatilla, FL 32784                          13221 Via Roma Cir.
Melbourne Beach, FL 32951                                                             Clermont, FL 34711



Thomas, Sunae                             Thomason, Rodney                            Thompson, Allan and Anne
Robert Golphin                            521 S. Matanzas Ave.                        11464 Palomar Street
7627 Pimmit Hills Drive                   Tampa, FL 33609                             Spring Hill, FL 34609
Jacksonville, FL 32244



Thompson, Brian                           Thompson, Carl                              Thompson, Duane
Lillian Thompson                          Cheryl Thompson                             Lethea Thompson
616 Stone St                              8019 Cessna Drive                           1851 Virginia Lee Circle
Owensboro, KY 42303                       Spring Hill, FL 34606                       Brooksville, FL 34602
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                                           Thompson, Julianne                           Thompson, Justin
Thompson, Elisa                            Antoine Thompson                             2730 Silvermoss Dr.
26 Cove Road South                         1434 Highwood Place                          Wesley Chapel, FL 33544
South Hampton, NY 11968                    Wesley Chapel, FL 33543



Thompson, Micheal and Karen                Thorson, Joshua                              Threatts, Herman
38 Purple Martin Cove                      6443 Axeitos Ter #108                        Hazel Threatts
Crawfordville, FL 32327                    Orlando, FL 32835                            2109 Annona Aveune
                                                                                        Tampa, FL 33612



Tibaudo, Al                                Tiblis, Lawrence                             Tillman, William
Yuki Tibaudo                               4359 Bayridge Court                          Robin Tillman
9376 Mustard Leaf Dr.                      Spring Hill, FL 34606                        3116 Tangle Wilde Ave.
Orlando, FL 32827                                                                       Lake Placid, FL 33852



Tilson, Jeff                               Tinker, Vincent                              Tinsley, Jay and Tracey
9499 119th Way                             Linda Tinker                                 8426 Belmont Road
Seminole, FL 33772                         1926 Exeter Dr                               Spring Hill, FL 34606
                                           Cocoa, FL 32922



Tipton, Jake                               To, Bruce                                    Tobin, James
8218 L Serena Dr.,                         Be Thi Nguyen                                11266 Windsor Place Circle
Tampa, FL 33614                            P.O. Box 1005                                Tampa, FL 33626
                                           Pinellas Park, FL 33780-1005



Todd, Jane C.                              Toledo, Josh                                 Tolmie, Victoria
263 N. Hidden Tree Drive                   Jessica Toledo                               8252 Wild Oaks Way
St. Augustine, FL 32086                    3810 Evergreen Oaks Drive                    Largo, FL 33773
                                           Lutz, FL 33558



Tolson, John                               Tolson, Steven                               Tomorelli, Erick
Janice Tolson                              7975 126th Street North                      7520 Bulls Head Drive
8420 140th Street                          Seminole, FL 33776                           Wesley Chapel, FL 33545
Seminole, FL 33776



Torpey, Michael and Catherine              Torres, Angel                                Torres, Francisco
5311 Carson Street                         Victoria Vinas                               3166 Stonewater Drive
St. Cloud, FL 34771                        8501 Northton Groves Blvd. #B                Lakeland, FL 33803
                                           Odessa, FL 33556



Torres, Gregg                              Torres, John                                 Toth, Dezso
224 S. Lincoln Ave.                        Janeth Tapias                                Agnes Valinth
Tampa, FL 33602                            8134 Westmont Ave.                           5373 San Juan Dr.
                                           Lakeland, FL 33810                           Sarasota, FL 34235



Towe, Charles                              Towey, Andrew & Susan                        Towne, Charles
Claudette Towe                             No. 3 Oanaark Dr.                            15912 Armistead Lane
934 Streamlet Avenue                       Mexborough, South Yorkshire, UK              Odessa, FL 33556
Sebastian, FL 32958                        S640QY,
                          Case 8:18-bk-08436-RCT       Doc 1         Filed 10/02/18   Page 115 of 126

                                          Tracey, Marlyn                                Tracy, Brian
Tozier, Joanthon
                                          957 Eldorado Ave.                             Tracy, Lilla
Angela Tozier
                                          Clearwater Beach, FL 33767                    1324 Falconcrest Blvd
15726 Garden Slide Lane
                                                                                        Apopka, FL 32712
Tampa, FL 33624



Tran, Hai                                 Trancucci, Anthony                            Trask, Thomas
12516 Sugar Pune Way                      Debbie Trancucci                              21100 Los Cabos
Tampa, FL 33624                           11303 Wolf Court                              Land O'Lakes, FL 34637
                                          Port Richey, FL 34668



Travelers (Work Comp)                     Tretter, Douglas                              Trevino, Linda (Sessums)
PO Box 2927                               819 Lakeside Terrace                          302 Lakeview Blvd.
Hartford, CT 06104-2927                   Palm Harbor, FL 34683                         Winter Haven, FL 33880




Trezza, Philip L. Jr., and Pamala M.      Trimm, John                                   Trimm, Michael
11217 Blacksmith Drive                    Linda Trimm                                   Karen Trimm
Tampa, FL 33626                           5513 Island Creek Pl.                         22464 Labrador St.
                                          Tampa, FL 33611                               Boca Raton, FL 33428



Trinagli, John                            Tronolone, Samantha                           Trott, Robert and Susan
6661 NW 2nd Ave. #201                     1000 Douglas Ave. Apt. 167                    P.O. Box 97
Boca Raton, FL 33487                      Altamonte Springs, FL 32714                   Riverview, FL 33568-0097




Trotter, Heather                          Trowbridge, Steven                            Tschupp, Hanspeter
1005 Barbour Dr.                          Brooke L. Trowbridge                          Susi Tschupp
Plant City, FL 33563                      1226 Shorecrest Circle                        3021 Crest Drive
                                          Clermont, FL 34711                            Clearwater, FL 33759



Tucci, Daniel                             Tucker, Christopher                           Tucker, garry
Alice Tucci                               Kimberly Tumbry                               Dorinda Tucker
2178 Park Road                            43 Meridan Ave                                8355 Queen Road
Venice, FL 34293                          Oswego, NY 13126                              Seminole, FL 33777



Tucker, Launa                             Tuft, Jon                                     Tulloch, Baldwin
3460 Oberry Road                          740 Captiva Ct. NE                            Tasha Tulloch
Kissimmee, FL 34746                       St. Petersburg, FL 33702                      1602 Robin Lane
                                                                                        Brandon, FL 33510



Tumer, Suna                               Tuner, John and Belinda                       Tunison, Phillip
Huseyin Tumer                             225A 140th Avenue East                        Olga Tunison
14801 Lake Forest Drive                   Madiera Beach, FL 33708                       301 Mariva Ave.
Lutz, FL 33559-3267                                                                     Clearwater, FL 33755



Turan, John                               Turcotte, Mark                                Turgeon, Jeffrey
Mercedes Turan                            7745 E Pasadena Ave                           Wendy Turgeon
PO Box 1929                               Scottsdale, AZ 85250                          10218 Belgrove Place
Summerfield, FL 34492-1929                                                              Orlando, FL 32817
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                                           Turner, Fred                                 Turner, John and Belinda
Turner, Benjamin                           Lauren Turner Daughter/POA                   225A 140th Avenue East
3211 Doe Court                             1060 Sherwood Forest Dr                      Madiera Beach, FL 33708
Brandon, FL 33511                          Sarasota, FL 34232



Turner, Robert                             Turner, Stephen                              Turner-Hahn, Carla
10704 Rangeview Pl                         Amanda Turner                                Jeffrey M. Hahn
Tampa, FL 33625                            2222 Arch McDonald Dr.                       1517 Jungle Ave N
                                           Dover, FL 33527                              St. Pete, FL 33710



Turner-Hahn, Carla                         Turner-Watkins, Kerin                        Turro, Stephanie
Jeffrey M. Hahn                            7501 Regents Garden Way                      6904 Seton Lane
4004 Park St. N.                           Apollo Beach, FL 33572                       Tampa, FL 33634
St. Petersburg, FL 33709



Turton, Kyrle                              Tweady, Nancy                                Tyre, Gary Reyno
Heather Turton                             Linda Tweady                                 Deborah Lynn Tyre
434 Bella Vida Blvd                        26 Violet Street                             1188 Buttonwood Circle
Orlando, FL 32828                          Plant City, FL 33563                         Altamonte Springs, FL 32714



Tyson, Gary                                Ulery, Kelly                                 Ulman, Charles W. and Joy N.
Lisa Tyson                                 Ashley Suarez                                5240 Sailwind Circle
1720 Dahlia Terrace                        918 Seburn Road                              Orlando, FL 32810
Sebring, FL 33875                          Apopka, FL 32703



United Healthcare                          United Healthcare                            Universal Court Reporting
UHS Premium Billing,                                                                    888 E. Las Olas Blvd., Suite 508
PO Box 94017                               Duluth, MN 55811                             Ft. Lauderdale, FL 33301
Palatine, IL 60094-4017



Uno, Dean                                  Upchurch Watson White & Max Mediation Gr     UPS
1701 Lakewood Loop                         1400 Hand Ave., Suite D                      PO Box 1012
Brandon, FL 33510                          Ormond Beach, FL 32174                       Horsham, PA 19044-1012




Upthegrove, Reese                          Urban-Hodge, Paula and Mark                  Urena, Rolando
Wendy Upthegrove                           P. O. Box 636                                Sylvania Vega/Urena
810 Square Lake Drive                      Lacooche, FL 33537-0636                      1751 Shady Leaf Drive
Bartow, FL 33830                                                                        Valrico, FL 33596



Urquhart, Scott                            US Legal Support, Inc.                       Valdes, Arturo
Kristina Urquhart                          PO Box 4772-12                               4509 West Fern Street
3044 Blown Feather Lane                    Houston, TX 77210-4772                       Tampa, FL 33614
Mulberry, FL 33860



Valdez, Jose                               Valdez, Micael                               Valenti, Anita
Marisabel Valdez                           Quisheena Valdez                             Linda Bemis
11523 Ashton Field Ave                     5473 Lochdale Drive                          766 Sun Top Lane
Riverview, FL 33579                        Orlando, FL 32818                            Boynton Beach, FL 33436
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                                           Vallandingham, Jason                          Valtcheva, Milko
Valere, Marcus and Juliette                Scott Vallandingham                           Maria Valtchev
9017 Cormorant Court                       780 South Robin way                           17970 Villa Creek DR.
Clearwater, FL 33647                       Satellite Beach, FL 32937                     Tampa, FL 33647



Van De Cruz, Eunice                        Van Den Abbeel, Frederick                     Van Hout, Denise
1119 Axlewood Circel                       2997 Santos Ln. Apt. 301                      John E. Van Hout
Brandon, FL 33511                          Walnut Creek, CA 94597                        4732 W. Trilby Ave.
                                                                                         Tampa, FL 33616



Van Maele, Dennis                          Van Skyhawk                                   Van Slee, Jodi
4791 Shore acres Blvd NE                   Amy Van Skyhawk                               Andre Van Slee
St. Petersburg, FL 33703                   5312 10th Ave South                           11137 Hyde Street
                                           Gulfport, FL 33707                            Weeki Wachee, FL 34614



Vandaveer, Robb                            Vanderhayden, John                            Vanderwest, Laura
6002 North Central Ave                     Randi Vanderhayden                            4295 Ellinwood Blvd.
Tampa, FL 33604                            10680 NW 6th Court                            Palm Harbor, FL 34685
                                           Coral Springs, FL 33071



Vanderwiede, Richard                       Vanecek, Angela                               Vanesa, Jay
Rachel Vanderwiede                         James Vanecek                                 Rita Patel
114 Rue Des Chateux                        10405 Soaring Eagle Drive                     17105 Journeys End
Tarpon Springs, FL 34688                   Riverview, FL 33578                           Odessa, FL 33556



Vanessa Manuel                             VanHook, Donald and Beverly                   Vargas, Hugo
3927 Creekwoods Drive                      1410 Glenmere Drive                           2818 West Marquette Ave
Plant City, FL 33563                       Brandon, FL 33511                             Tampa, FL 33614




Vargas, Martha                             Varghese, Glory                               Vasilakos, Polytimi
7433 Oxford Garden Circle                  George Varghese                               2049 N Pointe Alexis Dr
Apollo Beach, FL 33572                     2373 Chesterfield Circle                      Tarpon Springs, FL 34689
                                           Lakeland, FL 33813



Vasquez, Gustavo                           Vaughan, James                                Vaughn, Petra
20132 NOB Oak Ave                          Caroll Vaughan                                3318 Carlisle Ave S
Tampa, FL 33647                            3907 Ryalwood Ct                              St. Petersburg, FL 33712
                                           Valrico, FL 33596



Vazquez, Carlos                            Vazquez, Christopher                          Vazquez, Julio
Yeanori Vazquez                            Yeanori Vazquez                               12608 Midpointe Dr.
2305 50th Street                           4727 E. 100th Dr.                             Riverview, FL 33578
Tampa, FL 33619                            Parrish, FL 34219



Vazquez, Patricia                          Vealzquez- Spiller, Yvonne                    Veenstra, Diane
Hector Vazquez                             Brian Spillers                                6211 43rd Terrace N.,
12583 SE 178th Pl                          627 Porta Rosa Circle                         Kenneth City, FL 33709
Summerfield, FL 34491                      St. Augustine, FL 32092
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                                           Vega, Hector                                  Veilleux, Debra
Vega, Danielle
                                           18305 Holland House loop                      Victor Veilleux
James Vega
                                           Land O'Lakes, FL 34638                        2276 SE 27th Terrace
17914 Hanna Road
                                                                                         Cape Coral, FL 33904
Lutz, FL 33549



Veit, Forrest                              Veladzic, Vahida                              Velazquez, Juan
4750 Steel Dust Lane                       Fadil Veladzic                                Sary Donato
Lutz, FL 33559                             10297 112th St N                              1305 Blossom Brook Ct.
                                           Largo, FL 33778                               Brandon, FL 33511



Velazquez-Spillers, Yvonne                 Velez Vazquez Mendoza, David                  Velez, Vanessa
Brian Spillers                             Rosa Gonzalez                                 1329 Byron Drive
627 Porta Rosa Circle                      3602 Elk Ridge Lane                           Clearwater, FL 33756
St. Augustine, FL 32092                    Valrico, FL 33596



Verastegui, Raul                           Verdejo, Heriberto                            Verica, Thomas
Renate Verastegui                          Sorrida Verdejo                               Betty Verica
4737 Ayrshire Drive                        3404 Westfield Dr.                            7135 Kensington Court
Spring Hill, FL 34609                      Brandon, FL 33511                             University Park, FL 34201



Veritext Corp                              Vernet, Nadege                                Vernis, Ralph
2 S. Biscayne Blvd., Suite 2250            John Vernet                                   3612 W. Pearl Ave.
Miami, FL 33131                            3105 East Elm Street                          Tampa, FL 33611
                                           Tampa, FL 33610



Vestal, Jason                              Villa, Judson                                 Villa, Laurie
Janet Vestal                               1219 S East Ave Suite 304                     Michael Villa
6511 NE 21st Drive                         Sarasota, FL 34239                            11408 Donneymoor Drive
Ft. Lauderdale, FL 33308                                                                 Riverview, FL 33569



Villa, Robert                              Villafane, Anthony                            Villagomez, Noe
86 Ventura Drive                           8009 Heatherstone Ct                          Maria Villagomez
Dunedin, FL 34698                          Tampa, FL 33615                               112 Kent Road
                                                                                         Lakeland, FL 33804



Villanueva, Edgardo                        Vinas, Victoria                               Vinson, Karen
PO Box 7785                                8501 Northton Groves Blvd. #B                 7726 Canterbury Circle
Ponce, PR 00732-7785                       Odessa, FL 33556                              Lakeland, FL 33810




Vinson, Matthew                            Vinson, Robert                                Violette, Keith
233 Lake Davenport Blvd.                   Rhonda Vinson                                 350 69th St. North
Davenport, FL 33897                        2151 21st Ave North                           Clearwater, FL 00033-7654
                                           St. Petersburg, FL 33713



Violette, Keith                            Visaggio, Dean                                Vitale, Nicole
PO Box 5441                                Kim Visaggio                                  179 Sunward Ave
Clearwater, FL 33758-5441                  15662 Lemon Fish Dr.                          Palm Harbor, FL 34684
                                           Lakewood Ranch, FL 34202
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                                           Vivero, Edgard & Glenda                      Vivero, Jennifer
Vitaliy, Rush
                                           14745 Huntcliff Parkway                      1473 Piedmonte Dr
Joulia Vitaliy
                                           Orlando, FL 32824                            Deltona, FL 32725
2827 Riddle Drive
Winter Park, FL 32789



Vivero, Jennifer                           Vivian Patterson                             Vivona, Marco
1467 East Hartley Circle                   225 Sandkey Estate Drive                     1406 Bloomingdale Trails Blvd
Dehoria, FL 32725                          Clearwater, FL 33767                         Brandon, FL 33511




Vogel, Gregory                             Vojakovic (Sivertsen), Nancy                 Vojtko, Angel
182 69th Avenue North                      3527 Richboro Drive                          8530 Heyward Rd
St. Petersburg, FL 33702                   Holiday, FL 34691                            Tampa, FL 33635




Vold, Royce                                Von Ahn Associates, Inc.                     Vose, Stephen
Michael Vold                               2271 McGregor Blvd., 2nd Floor               15912 Dawson Ridge Dr.
2222 Indian Key Drive                      Ft. Myers, FL 33901                          Tampa, FL 33647
Holiday, FL 34691



Wade, Susan                                Wadsworth, Robert                            Wagner, Don
165 2oth Ave. SE                           Claudia Wadsworth                            Peggy Wagner
St. Petersburg, FL 33705                   1504 Little Hawk                             5091 38th St. S
                                           Ruskin, FL 33570                             St. Petersburg, FL 33711



Wagner, Roy                                Wagner, Tami                                 Wagoner, Richard
121 E. Quemasia Ave. - #321                Jack Wagner                                  2394 Nash Street
McAllen, TX 78504                          2853 Mayflower Loop                          Clearwater, FL 33765
                                           Clermont, FL 34714



Waibel, Michael                            Wainwright, Danielle                         Wakeen, Pamela
Jennifer Waibel                            1312 Sugar Maple Ln                          David Wakeen
5231 Corvette Drive                        Brandon, FL 33511                            525 Richards Ave
Tampa, FL 33624                                                                         Clearwater, FL 33755



Waldron, Louis                             Waldron, Roger                               Walker, Clearice
Suzzette Waldron                           Norman Waldron                               2750 NW 56th Ave. Apt 322
13180 St. Rd 62                            15890 Country Rd. Unit 675                   Lauderhill, FL 33313
Parrish, FL 34219                          Parrish, FL 34219



Walker, George                             Walker, Gregory                              Walker, Tammi
1222 Citrus Hill Court                     Judith Walker                                Tyrone Fisher (Jail)
Seffner, FL 33584                          13286 75 Ave N.                              1209 Alhambra Crest Dr.
                                           Seminole, FL 33776                           Ruskin, FL 33570



Wallace, Bonnie                            Wallace, Tammara                             Wallace, Trevor
1401 Georgia Ave                           Patrick Charles                              Loretta Wallace
Rockledge, FL 32955                        1406 Oak Pond St                             3271 NW 103rd Terrace
                                           Ruskin, FL 33570                             Sunrise, FL 33351
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                                           Walter, Brenda-                              Walter, Lawrence
Walsh, Patrick
                                           Shawn Walter                                 Angel Walter
Catherine Walsh
                                           8999 55th Street                             2896 Magnolia Blossom Circke
3616 Stephen Road
                                           Pinellas Park, FL 33782                      Clermont, FL 34711
Lady Lake, FL 32159



Walters, Gene                              Walton, Christopher                          Walton, Paul
10030 Colonnade Drive                      8500 Belcher Rd Apt 1501                     Barbara Walton
Tampa, FL 33647                            Pinellas Park, FL 33709                      PO Box 6360
                                                                                        Sefner, FL 33583-6360



Ward, James                                Ward, Kenneth and Lauren McFaul              Ward, Michael
Gloria Ward                                199 Antigua Dr.                              Martha Ward
7028 40th Ct. E.                           Cocoa Beach, FL 32931                        497 Seacrest Ave.
Ellenton, FL 34222                                                                      Merritt Island, FL 32952



Warfield, Eldon                            Wark, Wendy                                  Warkenthien, Pamela
Kimberly Shaw; Walter Middlekauff, Janet   2508 Chateau Dr                              William Warkenthien
2617 Cove Cay Drive # 101                  Lutz, FL 33559                               17922 Glenapp Drive
Clearwater, FL 33760                                                                    Land O'Lakes, FL 34638



Warman, Thomas                             Warminski, Jami                              Warner, David
Mary Harley                                11182 Lakeland Circle                        Tracy Warner
14900 East Orange Lake Blvd                Ft. Myers, FL 33913                          6405 Yorkshire Rd.
Kissimmee, FL 34711                                                                     Tampa, FL 33634



Warner, Stephen                            Warnock, Pamela Diane                        Warren, Patricia
Pamela Warner                              581 Sidney Drive                             Todd Warren
4110 7th St SW                             Lake Helen, FL 32744                         13439 Drayton Drive
Lehigh Acres, FL 33976                                                                  Spring Hill, FL 34609



Warren, Samuel                             Washington, Daphne                           Waterman, Duane
Edith Warren                               d& D academy                                 Deanna Waterman
2500 6th St. W                             19240 Wood Sage Dr.                          1500 Tawny Berry Ct.
Lehigh Acres, FL 33971                     Tampa, FL 33647                              Trinity, FL 34655



Wathey, John                               Watson, Valerie                              Watters, Jeffrey and Debra
6802 Wellington Ave                        Amos Watson                                  4550 Rocky River Rd. W
Tampa, FL 33604                            12912 Big Sur Drive                          Jacksonville, FL 32224
                                           Tampa, FL 33625



Watts, Jessica                             Watts, Robert                                Watts, Robert
6339 Magnolia Trails Lane                  Ashley Watts                                 Ashley Watts
Cape Coral, FL 33990                       3017 13th Ave. W.                            5 Partridge Lane
                                           Bradenton, FL 34205                          Sudbury, MA 01776



Watts, Yovonni                             Wayne, Allen                                 Weaver, Carl
6339 Magnolia Trails Lane                  Violet Wayne                                 3814 SW 1st St
Gibsonton, FL 33534                        18096 Celia Ave.                             Cape Coral, FL 33991
                                           Brooksville, FL 34604
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                                          Webb, John                                   Webber, Sally
Weaver, Nathan and Jody                   810 Lotus Path                               15061 Cloverdale Drive
4711 W Trapnell Road                      Clearwater, FL 33756                         Ft. Myers, FL 33919
Plant City, FL 33566



Weeks, Dale                               Weiler, Robin a/k/a Robin Nolan              Weintraub, Bernie
1803 Kim Acres Lane                       Kevin Nolan                                  3757 Leeds Ct., Apt 101,
Dover, FL 33527                           7152 Grand Blvd.                             Palm Harbor, FL 34685
                                          New Port Richey, FL 34652



Weintraub, Steven                         Weir, Sylvia                                 Weis, Stephen
Jessica Weintraub                         Lennox Weir                                  PO Box 234
7808 Bay Drive                            1730 Bay Berry Drive                         St.Pete, FL 33731-0234
Tampa, FL 33635                           Pembroke Pines, FL 33024



Weissburg, Philip                         Welch, Adelia                                Welch, Pacita
508 Clear Rd                              David Welch                                  7537 Humboldt Ave
Ocala, FL 34472                           11071 62nd Street                            New Port Richey, FL 34658
                                          Pinellas Park, FL 33782



Welch, Resper                             Wellington, Lauren                           Wells, Daniel
1202 SE 5th Ave                           136 village Green Ave                        Kaatjeluke Wells
Crystal River, FL 34429                   St. Johns, FL 32259                          6401 East Tenison St.
                                                                                       Inverness, FL 34452



Wells, Jack                               Welters, Dawn                                Wencka, John
1059 Hemingway Drive                      205 Tifton Street                            6819 Spencer Circle
Deltona, FL 32725                         Winter Haven, FL 33880                       Tampa, FL 33610




Wendland, Keith                           Wenninger, Al                                Wenzel, Tammy
Raquel Wendland                           10221 Garden Alcove Dr.                      Corey Wenzel
1118 Lakemont Drive                       Tampa, FL 33647                              819 17th Ave. N.
Valrico, FL 33594                                                                      St. Petersburg, FL 33704



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Lucy Werner                               1325 Calathea Drive                          Peggy Wesner
9808 Carr Road                            Orlando, FL 32718                            111 92nd Ave NE
Riverview, FL 33569                                                                    St. Petersburg, FL 33702



West, Kenneth Jerome                      Westergom, William                           Weston, Melissa
Tamekia West                              Jennifer Westergom                           12111 Corinithian St.
8218 Natchez Street                       4006 Lake Haven Blvd.                        Spring Hill, FL 34609
Tampa, FL 33633                           Sebring, FL 33875



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Scott Whetstone                           8305 Canterbury Lake                         3204 Geneva Circle
6767 Kenwood Dr.                          Tampa, FL 33619                              Plant City, FL 33563
North Port, FL 34287
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                                        White, Marc                                   White, Nancy
White, Delores Kay and Larry Edward     Donna White                                   1250 Gladstone Drive
5558 N Carnation Drive                  PO Box 4677                                   Deltona, FL 32725
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White, Sean                             White, Shawn                                  White, Wiley
1000 Doyle Road                         Kysha Mordica                                 Wanda White
Deltona, FL 32725                       30110 Emmetts Court                           12821 Pecan Tree Dr.
                                        Wesley Chapel, FL 33543                       Hudson, FL 34669



Whitehurst, William                     Whitfield, Barton                             Whitlock, Anne
2483 Bentley Drive                      Tannette whitfield                            William Whitlock
Palm Harbor, FL 34684                   755 Bayou Blvd S.                             3603 Omar Ave.
                                        St. Petersburg, FL 33705                      Tampa, FL 33629



Whitlock, Krystal                       Whitlow, Daniel                               Whittington, Doug
311 S. Arrawana Ave Unit 3              Michele Whitlow                               Stacey Whittington
Tampa, FL 33609                         2605 Raehn Street Unit 1 & 2                  5111 28th Ave. N.
                                        Orlando, FL 32806                             St. Petersburg, FL 33710



Whittington, Kevin                      Wickens, John                                 Widunas, George
8723 Sandy Plains Dr.                   Shonna Wickens                                6469 Shoal Creek Street Circle
Riverview, FL 33578                     2820 Tulane Drive                             Bradenton, FL 34202
                                        Cocoa, FL 32926



Widunas, George                         Wiebe, Peter                                  Wiedman, Bonnie
3110 Cedar St.                          816 E. Flag Lane                              William Wiedeman
Ellenton, FL 34222                      Kissimmee, FL 34759                           4618 37th St East
                                                                                      Bradenton, FL 34203



Wiesner, Paul H.                        Wikkeling, Wilfred                            Wilfong, Heather
127 Brent Circle                        Brunilda Reyes                                12033 Gandy Blvd. N., Unit 175,
Oldsmar, FL 34677                       743 Marion Oak Lane                           St. Petersburg, FL 33702
                                        Ocala, FL 34473



Wilkerson, Pamela                       Wilkinson, Edgar                              Wilkinson-Manning, Judine
345 Bayshore Blvd. #1207                Janet Wilkinson                               1418 Trail Boss Ln.
Tampa, FL 33606                         11899 Remson Road                             Brandon, FL 33511
                                        Jacksonville, FL 32223



Willette, Eliza                         Williams T Merrell                            Williams, Alligray
5729 Sweet William Terrace              11711 Geil Drive                              3504 S. 78th Street
Land O'Lakes, FL 34639                  Temple Terrace, FL 33677                      Tampa, FL 33619




Williams, Almantia                      Williams, Andrina                             Williams, Brandi
11113 North 21st                        2218 E 113th Ave                              Jonathon Williams
Tampa, FL 15433                         Tampa, FL 33612                               2734 Pankau Lane
                                                                                      Valrico, FL 33596
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                                           Williams, George                          Williams, Jimmy
Williams, Eugene
                                           3504 Westfield Drive                      Martha Williams
Lynne Williams
                                           Brandon, FL 33511                         3844 17th Ave S
16203 Glenury Ct
                                                                                     St Pete, FL 33711
Tampa, FL 33625



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Williams, Osoth                            Williams, Patrick                         Williams, Roberta
1682 Winners Circle                        10347 River Bream Drive                   7530 Lamplighter Ave.
Tarpon Springs, FL 34689                   Riverview, FL 33569                       North Port, FL 34287




Williams, Shelley                          Williams, Stephen and Ava                 Williams, Steven
David Williams                             5413 Rainbow Drive                        3421 Eagleridge Ct.
3447 Windknob Ct.                          Temple Terrace, FL 33617                  Valrico, FL 33596
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Williams, Suzanne                          Williams, T Merrell                       Williams, William
Demetric Williams                          11711 Geil Drive                          Norene Williams
2890 Dunhill Circle                        Temple Terrace, FL 33677                  12428 Windtree Blvd.
Lakeland, FL 33810                                                                   Seminole, FL 33772



Williamson, Kristie                        Williger, Cathy                           Willis, Adam
1314 25th St                               William Williger                          Christina Willis
Galveston, TX 77550                        700 Starkey Road                          2424 Navarez Ave.
                                           Largo, FL 33710                           Safety Harbor, FL 34695



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Willis, Julie                              Stacy Wills                               1106 Frederick Lane
225 Golf Aire Blvd                         29924 Morningmist Drive                   Brandon, FL 33511
Haines City, FL 33844                      Wesley Chapel, FL 33543



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Siam Wilson                                2772 Capwood Lane                         302 Lakeview Blvd.
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2817 Laurel Leaf Dr.                       Nilza Wilson                              1211 Royal Palm Drive South
Valrico, FL 33594                          955 Wicketron Drive                       St. Petersburg, FL 33707
                                           Brandon, FL 33510



Wilson, Susan                              Wilson, Thomas and Judith                 Wilson, Todd
2101 SE Beach Drive                        6719 Lockwood Rodge RD                    Tanya Wilson
St. Petersburg, FL 33705                   Sarasota, FL 34231                        6636 Royal Forest Drive
                                                                                     Lakeland, FL 33811
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                                         Wiltse, James                                Winant, Geoff
Wilson, Victor
                                         PO Box 1528                                  Rhia Winant
Lori Shank- Wilson
                                         Titusville, FL 32781-1528                    17323 Linda Vista Cir
4660 5th Ave South
                                                                                      Lutz, FL 33548
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Sherry Windsor                           Jason Winoker                                DR, David Windsor
1082 Brielle Court                       5658 Tughill Dr.                             4200 Eagle Nest Court
Oviedo, FL 32765                         Tampa, FL 33624                              Port Charlotte, FL 33948



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1459 Ridgelone Road                      61 Brown Street                              Deann Winters
Clearwater, FL 33755                     Waltham, MA 02453                            4501 Horse shoe Lake Way
                                                                                      Plant City, FL 33565



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Tampa,, FL 33634                         Hudson, FL 34669                             1512 Seagull Drive South
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4465 Feather St                          8426 Silver Way Unit 36A                     145 Highland Ave
Cocoa, FL 32927                          Tampa, FL 33615                              Auburndale, FL 33823




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570 Ave East SE                          1926 Papaya Drive                            Rosa Wooden
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                                                                                      Tampa, FL 33605



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2215 Snow Flake Place                    53530 Puliver Road                           Tara Woomer
Riverview, FL 33578                      Three Rivers, FL 49093                       320 Carnation Lane
                                                                                      Hurst, TX 76053



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6084 Lamont St.                          Diana Wright                                 6703 South Himes Ave
St. Cloud, FL 34771                      96 Adalia Ave                                Tampa, FL 33611
                                         Tampa, FL 33606
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                                           Wright, Jerry                               Wright, Jessica
Wright, Gerald
                                           Ann Wright                                  1319 Versant Dr., Apt 202,
Audrey Garcia
                                           3519 Umber Road                             Brandon, FL 33511
3724 Harbor Heights Dr.
                                           Holiday, FL 34691
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Orlando, FL 32804                          19106 Cormonant Cove Place                  Geneva, FL 32732
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Maria Wurst                                Elizabeth Moore                             11240 Cedar Hollow Lane
14404 Grassy Cove Circle                   9020 Lido Lane                              Tampa, FL 33618
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Linda Yates                                6516 Nad Dr.                                James Yelvington
1181 South Sumter Blvd #275                Jacksonville, FL 32216                      3115 Sleepy Hill Rd
North Port, FL 34287                                                                   Lakeland, FL 33810



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Orange Park, FL 32065                      Tampa, FL 33624                             21122 Tangor Rd.
                                                                                       Land O'Lakes, FL 34637



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8305 Summer Grove Rd.                      Sun Young                                   Sun Young
Tampa, FL 33647                            5926 Candytuft Pl.                          5725 Justicia Loop
                                           Land O'Lakes, FL 34639                      Land O'Lakes, FL 34639



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Sun Young                                  Shirley Young                               Karen Young
5821 Justicia Loop                         9299 91st St                                1508 Nittany Ct.
Land O'Lakes, FL 34639                     Seminole, FL 33777                          Valrico, FL 33596
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                                            Yulee, Faith                                Yuth Mar, Som
Yuki Tibaudo                                6390 Colonial Grand # 205                   5412 57th Ave North
9376 Mustard Leaf Dr.                       Tampa, FL 33647                             St. Petersburg, FL 33709
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Zaben, Reyad                                Zadoorian, Jan                              Zajac, Steve
Lamih Abdelqader                            Joanne Zadoorian                            1741 Atwater Drive
18013 Forest Retreat Lane                   9307 Van Allen Way                          North Port, FL 34288
Tampa, FL 33647                             Spring Hill, FL 34608



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                                                                                        Land O'Lakes, FL 34639



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20223 Still Wind Drive                      Marianna Zeitler                            Doreen Zerne
Tampa, FL 33617                             1121 16th Street NE                         955 Steeple Chase Lane
                                            Naples, FL 34120                            Orange Park, FL 32065



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James Ziede                                 3130 Shady Lily Lane                        6808 Dickinon Court
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3748 22nd Ave. S.                           3117 Oyster Bayou Way                       Katherine Zoeller
St. Petersburg, FL 33711                    Clearwater, FL 33759                        11601 Addison Chase Drive
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4601 South Clark Ave                        Katie Battaglia                             Nancy Rayborn
Tampa, FL 33611                             33125 O'Dell Ave                            1013 Winchester Lane
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